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2
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7
     Attorney for Plaintiffs MELODY J. RODGERS; JUDY G. RODGERS; LUCILLE D.
8
     GAY; MELONY RODGERS; HARMONY RODGERS; SYMPHONY BROWN; and
9    PRESTON BROWN
10                        UNITED STATES DISTRICT COURT
11
                         CENTRAL DISTRICT OF CALIFORNIA
                          WESTERN DIVISION-LOS ANGELES
12                                       )                                            Formatted Table

     MELODY J. RODGERS; JUDY G.          )
13                                       ) CASE NO.: 2:22-cv-02418-FMO-PLA
     RODGERS; LUCILLE D. GAY;            ) Courtroom: 6D
14   MELONY RODGERS; HARMONY             )
                                           Dist. Judge: Hon. Fernando M. Olguin
     RODGERS; SYMPHONY BROWN; and )
15                                       ) Complaint Filed: January 25, 2022
     PRESTON BROWN, individuals,         )
16                                       )
                                         ) FIRSTSECOND AMENDED
17                           Plaintiffs, ) COMPLAINT FOR DAMAGES, and
                                         ) DECLARATORY AND INJUNCTIVE
18      vs.                              )
                                         ) RELIEF
19                                       )    1. VIOLATION OF 42 U.S.C. 1983
                                         )    2. VIOLATION OF 42 U.S.C. 1985
20   STATE OF CALIFORNIA; LOS            )    3. VIOLATION OF 42 U.S.C. 1986
     ANGELES COUNTY; DEPARTMENT )             4. MONELL RELATED CLAIMS –
21                                       )
     OF CHILDREN AND FAMILY              ) (LAW ENFORCEMENT EXCESSIVE
22   SERVICES; LOS ANGELES POLICE        ) FORCE/FALSE IMPRISONMENT/
     DEPARTMENT and CHILDREN’S LAW ) SOCIAL WORKER MISCONDUCT/
23
     CENTER; KERNELL BROWN; and          )
                                         ) PROSECUTORIAL MISCONDUCT)
24   DOES 1 through 10, Inclusive,       )    5. MALICIOUS PROSECUTION/
                                         )
25                                       ) ABUSE    OF PROCESS
                            Defendants.  )    6. INTENTIONAL INFLICTION OF
26                                       ) EMOTIONAL DISTRESS
                                         )
27                                       )    7. DEFAMATION OF CHARACTER
                                         ) – SLANDER –FALSE LIGHTand LIBEL
28
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                 FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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1                                                )   8. BREACH OF FIDUCIARY
                                                 )   9. BREACH OF IMPLIED
2                                                )
                                                 ) COVENANT OF GOOD FAITH & FAIR
3                                                ) DEALING
                                                 )   10.9.     LEGAL MALPRACTICE
4                                                )
                                                 )   11.10.    FRAUD UPON THE
5                                                ) COURT
                                                 )   12.11.    ULTRA VIRES ACTS
6                                                )
                                                 )   13.12.    DECLARATORY RELIEF
7                                                )   14.13.    TEMPORARY
                                                 ) RESTRAINING ORDER, PRELIMINARY
8                                                ) AND PERMANENT INJUNCTION
                                                 )
9                                                )   15. VIOLATION OF RICO ACT under
                                                 ) 18 USC § 1962 [d]
10                                               )
                                                 )
11                                               )
                                                 )
12                                               ) JURY TRIAL DEMANDED
                                                 )
13                                               )
                                                 ))
14                                               )
                                                 )
15                                               )
                                                 )
16                                               )
                                                 )
17

18

19

20                              I.   JURISDICTION AND VENUE

21      1. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

22
     1343(3) and (4).

23
        1. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (action arising under the

24
     laws of the United States), 28 U.S.C. § 1346 (civil action against the United States

25
     founded upon the Constitution, an Act of Congress, or an executive regulation), 28

26
     U.S.C. § 1361 (action to compel officer or agency to perform duty owed to Plaintiff), and
     5 U.S.C. §§ 701-706 (Administrative Procedure Act). An actual controversy exists
27
     between the parties within the meaning of 28 U.S.C. § 2201(a), and this Court may grant
28
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                   FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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     declaratory relief, injunctive relief, and other relief pursuant to 28 U.S.C. §§ 2201-2202
2    and 5 U.S.C. §§ 705-706.
3       2. The United States District Courts shall have original jurisdiction of all civil actions
4    where the matter in controversy exceeds the sum or value of $75,000, exclusive of
5    interest and costs… pursuant to 28 U.S.C. § 1332 (a).
6       3. Many of the acts and conduct complained herein, occurred in substantial part in
7    this District, including the dissemination and recording of Documents, which contained
8    material misstatements and omissions, complained of herein. 28 U.S.C. § 1391(b)(1)(2).
9

10

11

12      3. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e), because this is a
13   judicial district in which the State of California resides and this action seeks relief for the
14   State against federal agencies and officials acting in their official capacities.
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16    II.    CERTIFICATION OF COMPLIANCE CALIFORNIA TORT NOTICES &                                     Formatted: Font color: Auto

                           CLAIM FORM REQUIREMENTS                                                     Formatted: Font color: Auto
17
                                                                                                       Formatted: Font color: Auto

18      4. I, MELODY J. RODGERS, hereby declare that claimClaim for damage notices                     Formatted: Font color: Auto
                                                                                                       Formatted: Font color: Auto
19   weren’t Damage Notices were not mailed to the “Clerk of the Board of Supervisors” for
                                                                                                       Formatted: Font: Not Bold, Font color: Auto

20   the County of Los Angeles.                                                                        Formatted: Font color: Auto
                                                                                                       Formatted: Font: Italic, Font color: Auto
21      5. However, EXHAUSTION OF STATE REMEDIESIn addition, civil rights
                                                                                                       Formatted: Font: Italic, Font color: Auto

22   actions the exhaustion of state remedies is NOT A PRERQUISITE to bringing not a                   Formatted: Font color: Auto
                                                                                                       Formatted: Font color: Auto
23   prerequisite to the commencement of an action under 42 USC § 1983. Seein federal
                                                                                                       Formatted: Font color: Auto

24   court. Cf. Patsy v. Florida Board of Regents (1982), 457 USU.S. 496, 73 L Ed 2d 172,              Formatted: Font color: Auto
                                                                                                       Formatted: Font color: Auto
25   102 S .Ct. 2557., 73 L.Ed.2d 172 (1982). See Heath v. Cleary (9th Cir 1983) 708 2d
                                                                                                       Formatted: Font: Italic, Font color: Auto

26   1376, 1378 (concluding that contrary pre-Patsy decisions I Ninth Circuit are no longer            Formatted: Font color: Auto
                                                                                                       Formatted: Font color: Auto
27   authoritative). As the Court stated in Monroe v. Pope, 365 U.S. 167, 183, 81 S.Ct. 473,
                                                                                                       Formatted: Font: Not Bold, Font color: Auto

28                                                                                                     Formatted: Font color: Auto
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     482, 5 L.Ed.2d 492 (1961), "The federal remedy is supplementary to the state remedy,
2    and the latter need not be first sought and refused before the federal one is involved."
3       6. The doctrine of judicial exhaustion does not apply to § 1983 actions in federal
4    court and it is well established that a § 1983 plaintiff need not exhaust State remedies
5    prior to bringing a federal civil rights claim. Embury v. King, 191 F. Supp. 2d 1071,
6    1082-83 (N.D. Cal. 2001).
7       5.7.       Here, plaintiffsPlaintiffs have properly pled a cause of action under the          Formatted: Font color: Auto
                                                                                                      Formatted: Font color: Auto
8    Federal Civil Rights Act, in addition to other causes of action
9

10                                     III.   THE PARTIES
11      6.8.       MELODY J. RODGERS (“Plaintiff MJR”), a natural person, is a private                Formatted: Font color: Auto
                                                                                                      Formatted: Font color: Auto
12   individual within the meaning of California law and is a citizen of the United States, and       Formatted: Font color: Auto
13   at all times relevant hereto a resident of North Carolina. Plaintiff is the mother of minor
14   children, Melony Rodgers (hereinafter known as M.R.),, Harmony Rodgers (hereinafter              Formatted: Font color: Auto


15   known as H.R.),, Symphony Brown (hereinafter known as S.B.),, and Preston Brown                  Formatted: Font color: Auto
                                                                                                      Formatted: Font color: Auto
16   (hereinafter known as P.B.)..                                                                    Formatted: Font color: Auto

17      7.9.       JUDY G. RODGERS (“herein after known as J.R.”),Plaintiff JR”), a                   Formatted: Font color: Auto
                                                                                                      Formatted: Font color: Auto
18   natural person, is a private individual within the meaning of California law and is a
19   citizen of the United States, and at all times relevant hereto a resident of Alaska. Plaintiff
20   is the grandmother of minor children, Melony Rodgers (hereinafter known as M.R.),,               Formatted: Font color: Auto


21   Harmony Rodgers (hereinafter known as H.R.),, Symphony Brown (hereinafter known as               Formatted: Font color: Auto


22   S.B.),, and Preston Brown (hereinafter known as P.B.).Brow.                                      Formatted: Font color: Auto
                                                                                                      Formatted: Font color: Auto
23      8.10.      Plaintiffs and minor children, Melony Rodgers (hereinafter known as
24   M.R.), Harmony Rodgers (hereinafter known as H.R.), Symphony Brown (hereinafter
25   known as S.B.), and Preston Brown (hereinafter known as P.B.), natural persons, are

26   private individuals.                                                                             Formatted: Font color: Auto


27      11. Minor children Melony Rodgers (“Plaintiff MR”), Harmony Rodgers (“Plaintiff

28   HR”), Symphony Brown (“Plaintiff SB”), and Preston Brown (“Plaintiff PB”), natural
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                   FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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     persons, are private individuals within the meaning of California law and are citizens of
2    the United States. Plaintiffs SB and PB, at all times relevant hereto a resident of
3    California and children of Plaintiff MJR. Plaintiffs MR and HR, at all times relevant
4    hereto a resident of California and Alaska.
5       12. STATE OF CALIFORNIA (“Defendant CALIF”), acting under color of law, bears
6    responsibility, in whole or in part, for the acts complained of in this Complaint, is a
7    California government that bears responsibility, in whole or in part, for the acts
8    complained of in this Complaint, doing business in the County of Los Angeles, within the
9    laws of the State of California. It oversees official(s) to properly operate the Foster Care
10   System, including the portions of the system operated by Defendant DCFS, relating to
11   dependency cases, foster care, and termination of parental rights, inter alia, pursuant to
12   the Adoption and Safe Families Act and the Family First Prevention Services Act of
13   2018.
14      13. LOS ANGELES COUNTY (“Defendant LA COUNTY”), acting under color of
15   law, is a government that is defined and authorized under the California Constitution,
16   California law, and the Charter of the County of Los Angeles. The County government
17   provides countywide services such as … law enforcement, jails, and social services.
18   Defendant LA COUNTY bears responsibility, in whole or in part, for the acts complained
19   of in this Complaint.
20      14. LOS ANGELES COUNTY DEPARTMENT OF CHILDREN AND FAMILY
21   SERVICES (“Defendant DCFS”) is an agency of the government of Los Angeles
22   County, doing business within the laws of the State of California, acting under color of
23   law, bears responsibility, in whole or in part, for the acts complained of in this
24   Complaint, and has a special relationship with Plaintiff MJR and owed a duty to comply
25   with State laws, Federal Laws and the U.S. Constitution. Defendant DCFS's operations

26   involve investigating child welfare and abuse allegations, foster care, and adoption.

27   Defendant DCFS files child welfare allegations in Edmund D. Edelman Children's Court,

28   located in Monterey Park, California, and the Alfred J. McCourtney Juvenile Justice
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     Center in Lancaster, California. Defendant DCFS is represented by Los Angeles County
2    Counsel. Los Angeles Dependency Lawyers represents the parents and Children's Law
3    Center represents the children. Defendant DCFS breached its duties owed by taking
4    Plaintiff MJR’s children and placed them with foster parents or persons other than the
5    biological parents without probable cause. Defendant DCFS’s Deputy County Counsel,
6    Dependency Investigators, and Social Workers falsified reports and suppressed material
7    evidence.
8    15.      THE CITY OF LOS ANGELES POLICE DEPARTMENT (“Defendant LAPD”),
9    acting under color of law, a government agency that bears responsibility, in whole or in
10   part, for the acts complained of in this Complaint, doing business in the County of Los
11   Angeles, within the laws of the State of California. Defendant LAPD at accomplishing
12   its mission on behalf of Plaintiffs; its mission is of safeguard the lives and property of the
13   people they serve, to reduce the incidence and fear of crime, and to enhance public safety
14   while working with the diverse communities to improve their quality of life. Its mandate
15   is to do so with honor and integrity, while at all times conducting themselves with the
16   highest ethical standards to maintain public confidence.
17         9.16.    CHILDREN’S LAW CENTER (“Defendant”) CLC”), acting under color of                  Formatted: Font color: Auto


18   law, bears responsibility, in whole or in part, for the acts complained of in this
19   Complaint, doing business in the County of Los Angeles, provides legal representation            Formatted: Font color: Auto


20   for children and youth under the jurisdiction of the dependency court.; specifically,
21   Angela Torres, Jamie N. Kim, Margaret Lee, and Alyson Bashor. “Every staff member
22   at CLC contributes to infusing every proceeding and decision that’s made with the
23   premise that kids should be with their parents whenever possible.”                               Formatted: Font color: Auto


24         10. KERNELL BROWN (“Defendant”), natural person, is private individuals within
25   the meaning of California law and is a citizen of the United States, and at all times

26   relevant hereto a resident of California and father of Melony Rodgers (hereinafter known

27   as M.R.), Harmony Rodgers (hereinafter known as H.R.), Symphony Brown (hereinafter

28   known as S.B.), and Preston Brown (hereinafter known as P.B.).
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                    FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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        11. Defendants and each of them have denied and prevented plaintiffs from the right
2    to privacy, the right to familial association, the right to speak to each other freely, and the
3    due process right to bring up her child without government interference.
4       A. DEFENDANTS’ EMPLOYEES AND OTHERS
5       12. bobby D. Cagle (“Cagle”) was the Director of the Los Angeles County Department
6    of Children and Family Services (DCFS). At all times herein mentioned Defendant
7    “Cagle” was a government employee for the County of LOS ANGELES, that had a duty
8    to protect Plaintiffs and to ensure that Plaintiffs’ constitutional rights were not violated.
9       13. Cagle was the LOS ANGELES foster system official responsible for the proper
10   operation of the foster care system and ensuring that the system operated in accordance
11   with federal and state law, for which the federal government provides annual funding to
12   operate the system.
13      14. Cagle maliciously signed numerous false reports regarding Plaintiff M.R. and her
14   family and presenting them to the juvenile court to maliciously prosecute mother and
15   obtain an adverse action against her between the dates of March 2021 to present.
16      15. Cagle also negligently hired numerous social workers who were unlicensed,
17   unqualified and inexperienced for their jobs. DEFENDANT then failed to supervise and
18   oversee the unlicensed workers who were working under other unlicensed workers which
19   is a breach of DEFENDANTS duty of care to Plaintiffs.
20      16. During Cagle’s tenure as the head of DCFS he failed to respond to PLAINTIFFS’
21   numerous complaints and communication regarding social worker misconduct, and the
22   denial of minor children’s kinship care arrangement, which is a willful disregard for
23   correct policy and procedure.
24      17. Cagle harmed PLAINTIFFS by separating them without due process and using
25   perjury and false light misrepresentation of mom’s true character. On all occasions he

26   excluded exculpatory evidence surrounding incidents described in the social workers

27   report that were presented to the court.

28      B. GOVERNOR GAVIN NEWSOM
     ______________________________________________________________________________
                    FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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        18. Newsom is the Governor of the State of California, the head of the executive
2    branch of the California government and the person responsible for the proper operation
3    of the foster care system, including the portions of the system operated by the California
4    Department of Children and Families Services [DCFS]). By law Governor is responsible
5    for the proper administration of DCFS, assuring DCFS operates in conformity with State
6    and federal law and in compliance with the agreement with the federal government under,
7    inter alia, the Adoption and Safe Families Act and the Family First Prevention Services
8    Act of 2018.
9       19. Newsom as executive officer of California, the Governor is responsible not only
10   for the hiring and continued employment of Brandon T. Nicolson, Director of Los
11   Angeles County Department of Children and Family Services but also to make sure that
12   he and the DCFS personnel are not abusing their positions.
13      20. Newsom is also responsible under State law for oversight of DCFS compliance
14   with the mandatory provisions of the California law relating to dependency cases, foster
15   care, and termination of parental rights and is responsible for ensuring DCFS protects the
16   federally protected civil rights of foster children and their biological families by ensuring
17   that once children are removed from their biological parents, they are placed with
18   biological family members if they cannot be safely returned to their Birth Parents.
19      21. Newsom is also responsible for making sure that the Foster System Operators do
20   not provide perjured testimony to the dependency courts, do not withhold pertinent
21   information, or mislead the court about applicable law, and to make sure those operating
22   the California foster system follow the law, rather than ignoring it to unlawfully separate
23   foster children from their relatives, so they can be placed with nonrelative system
24   connected personnel.
25      22. Since Newsom assumed office in January 2019, he has overseen the operations of

26   the California foster care system and tolerated actions taken by the other foster system-

27   connected Defendants in a manner contrary to law.

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        23. MICHEL H. EISNER; MARY THERESA MEZA; CARVIN HALL; SONIA
2    VALIENTE and at all times herein mentioned, were government employees who were
3    employed by the County of Los Angeles, acting under color of law, who had a special
4    relationship with Plaintiffs and owed a duty, to comply with State laws, Federal Laws and
5    the U.S. Constitution, but breached their duties owed to Plaintiffs by taking Plaintiff’s
6    children and placing them into a foster home, without cause.
7       24. COUNTY OF LOS ANGELES; Los Angeles Department of Children and Family
8    Services; Superior Court of California for the County of Los Angeles were government
9    agencies and/or entities acting under color of law, who had a special relationship with
10   plaintiff and owed a duty, to comply with State laws, Federal Laws and the U.S.
11   Constitution, but breached their duties owed to Plaintiff by taking Plaintiff’s child and
12   placing the child with foster parents or persons other than the biological parents.
13      25. JERRY BROWN at such time was Governor for the state of California, who
14   lives in the Los Angeles County, and at all times herein mentioned resided in the County
15   of Los Angeles:
16      26. XAVIER BECERRA – Los Angeles Attorney General, employed for the Los
17   Angeles District Attorney’s Office;
18      27. ROB BONTO – Los Angeles Attorney General, employed for the Los Angeles
19   District Attorney’s Office
20      28. MARY C. WICKHAM Los Angeles Attorney General, employed for the Los
21   Angeles District Attorney’s Office
22      29. RODRIGO A. CASTRO-SILVA – Los Angeles County Counsel
23      30. GEORGE GASCON – Los Angeles District Attorney
24      conspired and colluded with Kernell Brown to assault, batter, harass, and stalk
25      Plaintiff mom. Gascon failed to prosecute K.B. for his attack

26      31. Defendant KERNELL BROWN (“K.B.) – Father of Plaintiff’s Children

27      32. MICHEL H. EISNER – Deputy County Counsel for DCFS

28      33. DAE YEON KIM – Deputy County Counsel for DCFS
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                   FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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        34. VERONICA J RANDAZZO # 292261- Deputy County Counsel for DCFS
2       35. JOSEPH S. LEE #295176 – Deputy County Counsel for DCFS
3           LEE acted as Suppressed information about the lengthy criminal record of
4           Defendant Kernell Brown which includes 7 felonies,
5       36. LINDA SUN #207108– Judge of Superior Court of Los Angeles County
6       17. At times relevant rethroughout this complaint, Plaintiffs will collectively be
7    referred to as “Plaintiffs.”
8       18. At times relevant thoughout this complaint, Defendants will collectively be
9    referred to as “Defendants.”
10      37. STEPHEN C. MARPET - Commissioner of Superior Court of Los Angeles                Formatted: Font: Courier New, Not Bold

11          County
12      38. MARY THERESA MEZA
13      39. CARVIN HALL – Social Worker
14      40. SONIA VALIENTE – Social Worker
15      41. GENET ABERA - Social Worker
16      42. HEIDI MARTINEZ - Supervising Social Worker
17      43. MIA DRAKE – Dependency Investigator Social Worker
18      44. TEELA ALLEN – Social Worker
19      45. LASEAN DAVIS – Children’s Social Worker
20          Authorized and Initiated medical procedures upon PLAINTIFF mom’s children
21          without consent. Around August 4, 2021 DAVIS
22      46. GREG CHASE – Supervising Social Worker
23      47. KENT BENNET - Supervising Social Worker
24      48. NICOLE WADE – Social Worker
25      49. RAE’SHONDA LEVINGSTON – Social Worker
26      50. REGINA MINOR – Children’s Social Worker
27

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        51. MARCAL MAYE-HENDERSON GH22S2217 – Dependency Investigator &
2          Supervising Children’s Social Worker
3       52. ALLANA DARTER – Dependency Investigator o
4       53. DARRYLLISHA BURCH-PARKER – Supervising Children’s Social Worker
5       54. NGIM LOCK - Social Worker
6       55. YVETTE RAMIREZ - Social Worker
7       56. MICHEL MOORE – Chief of Los Angeles Police Department
8       57. PAUL SANDATE #36567 Los Angeles Police Department
9          Failed to act as a reasonable police officer when he refused to take statements
10         from neighbors and witnesses to determine the facts of the incidents between
11         PLAINTIFF MOM and BROWN.
12      58. He also refused to acknowledge and enforce a restraining order PLAINTIFF
13         MOM had obtained from LOS ANGELES SUPERIOUR COURT.
14         Committed perjury on the stand.
15      59. Asked PLAINTIFF MOM embarrassing personal questions about her sexual
16         identity and preferences while she was handcuffed and falsely imprisoned.
17         Lied to PLAINTIFF MOM and detained children without a Social Worker present
18         while telling her there was one present and that she was
19      60. Police Officer of Los Angeles Police Department
20      61. OFFICER CORTEZ #38622–Police Officer Los Angeles Police Department
21      62. JOSEPH S. CASTIEL # - Mother’s Private Criminal Defense Attorney
22      63. JOE (last name unknown) – Mother’s Court Appointed Attorney
23      64. FRANK OSTROV – Mother’s Court Appointed Attorney
24      65. MELINEH HATAMIAN – Mother’s Court Appointed Attorney
25      66. NITI GUPTA – Mother’s Court Appointed Attorney

26      67. KREE DONALYN FILER – Mother Court’s Appointed Attorney

27      68. LESLIE S. HEIMOV - Executive Director of Children's Law Center of

28         California
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        69. ANGELA TORRES – Children’s Court Appointed Attorney of Children's
2          Law Center of California
3       70. JAMIE N. KIM – Children’s Court Appointed Attorney of Children's Law
4          Center of California
5       71. MARGARET LEE – Children’s Court Appointed Attorney of Children's
6          Law Center of California
7       72. ALYSON BASHOR – Children’s Court Appointed Attorney of Children's
8          Law Center of California
9       73. Michael Moore is the Chief of Police (COP) of the Los Angeles Police
10         Department (LAPD). As a general manager of the Police Department, the COP is
11         responsible for the planning, efficient administration and operation of the Police
12         Department under the authority of the Board of Police Commissioners.
13      74. Michael Moore, the COP directs, plans, and coordinates the enforcement of the
14         penal divisions of the City Charter, the ordinances of the City, and the laws of the
15         state and nation for the purpose of protecting persons and property and for the
16         preservation of the peace of the community. The COP is responsible for testifying
17         before the City Council, the state and national legislative bodies on law
18         enforcement matters of importance to the City of Los Angeles, as well as
19         proposing new or amending existing legislation which could have an impact on
20         law enforcement.
21      75. Leslie S. Heimov
22      76. Heimov is the Executive Director of the Children's Law Center of California.
23         Children's Law Center of California represents children who have been abused,
24         neglected, or abandoned that come under the protection of the Los Angeles,
25         Sacramento, or Placer County Juvenile Dependency Court systems.

26      77. Leslie S. Heimov; CLC is a public interest law firm that provides legal

27         representation for children impacted by abuse and neglect. CLC attorneys,

28         investigators, peer advocates and support staff advocate for their clients utilizing a
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          multidisciplinary model of representation. Every staff member at CLC contributes
2         to infusing every proceeding and decision that’s made with the premise that kids
3         should be with their parents whenever possible.
4       78. GAVIN NEWSOM – Governor of California
5       79. XAVIER BECERRA – California Attorney General
6       80. ROB BONTO – California Attorney General
7       81. MARY C WICKHAM – Los Angeles County Counsel (2016-2020)
8       82. RODRIGO A. CASTRO-SILVA – Los Angeles County Counsel
9       83. GEORGE GASCON – Los Angeles District Attorney
10      84. Defendant KERNELL BROWN – Father of Plaintiff’s Children
11      85. MICHEL H. EISNER – Deputy County Counsel of Los Angeles County
12        Department of Children and Family Services
13      86. DAE YEON KIM – Deputy County Counsel of Los Angeles County
14        Department of Children and Family Services
15      87. VERONICA J RANDAZZO # 292261- Deputy County Counsel of
16        Department of Children and Family Services
17      88. JOSEPH S. LEE #295176 – Deputy County Counsel for Los Angeles County
18      89. LINDA SUN #207108– Judge of Superior Court of Los Angeles County
19      90. STEPHEN C. MARPET - Commissioner of Superior Court of Los Angeles
20        County
21      91. BOBBY D. CAGLE - Director of Los Angeles County Department of                    Formatted: Font: Courier New, Not Bold


22        Children and Family Services
23      92. MARY THERESA MEZA - Emergency Investigator of Los Angeles County
24        Department of Children and Family Services
25      93. CARVIN HALL – Social Worker of Los Angeles County Department of
26        Children and Family Services
27

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        94. SONIA VALIENTE – Dependency Investigator of Los Angeles County
2          Department of Children and Family Services
3       95. GENET ABERA - Social Worker of Los Angeles County Department of
4          Children and Family
5       96. HEIDI MARTINEZ - Supervising Social Worker of Los Angeles County
6          Department of Children and Family Services
7       97. MIA DRAKE – Dependency Investigator Social Worker of Los Angeles
8          County Department of Children and Family Services
9       98. TEELA ALLEN – Social Worker of Los Angeles County Department of
10         Children and Family Services
11      99. LASEAN DAVIS – Children’s Social Worker of Los Angeles County
12         Department of Children and Family Services
13      100.     GREG CHASE – Supervising Social Worker of Los Angeles County
14         Department of Children and Family Services
15      101.     KENT BENNET - Supervising Social Worker of Los Angeles County
16         Department of Children and Family Services
17      102.     NICOLE WADE – Social Worker of Los Angeles County Department
18         of Children and Family Services
19      103.     RAE’SHONDA LEVINGSTON – Social Worker of Los Angeles
20         County Department of Children and Family Services
21      104.     REGINA MINOR – Children’s Social Worker of Los Angeles County
22         Department of Children and Family Services
23      105.     MARCAL MAYE-HENDERSON GH22S2217 – Dependency
24         Investigator & Supervising Children’s Social Worker of Los Angeles County
25         Department of Children and Family Services

26      106.     ALLANA DARTER – Dependency Investigator of Los Angeles County

27         Department of Children and Family Services

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        107.     DARRYLLISHA BURCH-PARKER - Supervising Children’s Social
2          Worker of Los Angeles County Department of Children and Family Services
3       108.     NGIM LOCK - Social Worker of Los Angeles County Department of
4          Children and Family Services
5       109.     YVETTE RAMIREZ - Social Worker of Los Angeles County
6          Department of Children and Family Services
7       110.     MICHEL MOORE – Chief of Los Angeles Police Department
8       111.     PAUL SANDATE #36567 – Police Officer of Los Angeles Police
9          Department
10      112.     OFFICER CORTEZ #38622 – Police Officer Los Angeles Police
11         Department
12      113.     JOSEPH S. CASTIEL # - Mother’s Private Criminal Defense Attorney
13      114.     JOE (last name unknown) – Mother’s Court Appointed Attorney
14      115.     FRANK OSTROV – Mother’s Court Appointed Attorney
15      116.     MELINEH HATAMIAN – Mother’s Court Appointed Attorney
16      117.     NITI GUPTA – Mother’s Court Appointed Attorney
17      118.     KREE DONALYN FILER – Mother Court’s Appointed Attorney
18      119.     LESLIE S. HEIMOV, Executive Director of Children's Law Center of
19         California
20      120.     ANGELA TORRES – Children’s Court Appointed Attorney of
21         Children's Law Center of California
22      121.     JAMIE N. KIM – Children’s Court Appointed Attorney of Children's
23         Law Center of California 1
24      122.     MARGARET LEE – Children’s Court Appointed Attorney of
25         Children's Law Center of California

26      123.     ALYSON BASHOR – Children’s Court Appointed Attorney of

27         Children's Law Center of California

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        124.       Plaintiff is currently ignorant of the true names and capacities, whether
2    individual, corporate, associates or otherwise, of the Defendants sued herein by fictitious
3    names, and therefore sues them as Does 1 through 10, inclusive, pursuant to California
4    Code of Civil Procedure, section 474. Plaintiff will amend this complaint to allege their
5    true names and capacities when ascertained. Plaintiff are informed and believe, and on
6    the basis allege, that each of such fictitiously named Defendant is responsible in some
7    manner for the wrongdoing alleged herein and/or liable to Plaintiff.
8       125.19.    Plaintiff is informed and believe, and on the basis allege, that during the     Formatted: List Paragraph, Widow/Orphan control, Tab
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9    times mentioned herein, Defendants collectively, and each of them are the agents,
10   employees, partners, joint venturers, representatives, coconspirators, and assigns of their
11   co-defendants and were, as such, acting within the scope, course, and authority of such
12   agency, employment, partnership, joint venture, representation, conspiracy, and/or
13   assignment, unless the context states otherwise.
14                                                                                                 Formatted: List Paragraph, Indent: Left: 0", Add space
                                                                                                   between paragraphs of the same style, Widow/Orphan
                                                                                                   control, Tab stops: Not at 0"
15                                      IV.    CONSPIRACY
                                                                                                   Formatted: Underline
16      20. Plaintiff MJR has demonstrated herein how Defendants conspired against her,
17   inflicting continuous emotional distress, for one cause, “to permanently separate Plaintiff
18   MJR’s children from her.” The scheme consisted of removing Plaintiff MJR’s children
19   from their home, denying reunification services, terminating parental rights without
20   cause, violating her Constitutional Rights, inter alia.
21      21. Defendants acted in concert and conspired together to commit the tortious acts
22   described herein. Accordingly, these Defendants should be held jointly and severally
23   liable for any damages awarded to Plaintiffs, as a result of this action.
24

25                             IV.V.     STATEMENT OF FACTS

26      126.       Plaintiff, Melody J. Rodgers (hereinafter Melody), MJR, has four minor

27   children: Melony Rodgers (born January 2013), Harmony Rodgers (born July 2015),

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     Symphony Brown (born February 2017),Plaintiffs MR, HR, SB, and Preston Brown (born
2    February 2018).
3       127.22.    PB. Plaintiff MJR is a college graduate of the University of North Carolina    Formatted: Left

4    at Chapel Hill and is currently a 2nd-year law student at the Northwestern California
5    University School of Law. Plaintiff is also an award-winning, well-respected, former
6    public-school teacher. She; she taught inner-city youth in Baltimore MD and Washington
7    DC for 5 years through non-profit programs “Teach for America, Education Based Latino
8    Outreach, and Financial Literacy Foundation. .”
9       128.23.    Plaintiff taught all elementary school subjects including the 1st Grade &
10   5th Grade, as well as, High School Finance, which is a category of the Home Economics
11   curriculum. All herPlaintiff MJR’s students passed the end-of-year testing regardless of
12   disability or aptitude.
13      129.24.    Furthermore, Plaintiff MJR is also a God-fearing mother of four whose aim
14   has always been to bringraise her children to be respectful, hardworking, and contributing
15   members of society with good morals and ethics based on the Holy Bible.
16      130.25.    Plaintiff's Civil Rights and Due Process rights have been violated by the
17   State of California Foster System Operatorsand Los Angeles County officials and
18   employees since 2016.
19

20      a)A.       MelonyPlaintiffs MR and Harmony RodgersHR                                      Formatted: Underline
                                                                                                  Formatted: Underline
21      131.       After the birth of her old daughter, Melody and the children were homeless     Formatted: Left, Numbered + Level: 1 + Numbering Style:
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22   until December 2015, when they moved into an apartment.                                      0.25" + Indent at: 0.5"

23      26. In fact, onPlaintiff MJR and her children became homeless due to financial
24   hardship.
25      132.27.    On February 2016, MelodyPlaintiff MJR told her therapist,; ER                  Formatted: Left


26   workerSocial Worker, Monica Rosenblum, (“Rosenblum”), that she has been doing

27   poorly in school and had wanted to drop her class. She; she told her therapist she needs a

28   doctor’s note stating that she could not handle the stress, in order to withdraw from her
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     classes at the university. Rosenblum falsely reported to Defendant DCFS that Plaintiff
2    MJR had expressed or implied that she planned on harming her kids, despite
3    MelodyPlaintiff MJR, during that time, denying all those statements. Moreover,
4    Rosenblum falsely stated she was a medical doctor.
5       133.28.    On February 23, 2016, Defendant DCFS conducted an assessment at             Formatted: Left, Indent: Left: 0", First line: 0.25"

6    Melody’sPlaintiff MJR’s apartment and the Department Defendant DCFS referred
7    MelodyPlaintiff MJR to Kedren Community Health Center.
8       134.29.    On or about Feb.February 29, 2016, DCFS Social Worker, Michel H.
9    Eisner, Deputy County Counsel, collectively with Co-Defendants filed a false Juvenile
10   Dependency Petition against Plaintiff MJR and her children. DCFS's basis for their
11   petition for Juvenile Dependency against the restrained children has based on an
12   allegation that the parents were not good parents. Plaintiff was denied due process and
13   was denied the right to present evidence on their behalf.
14      135.30.    On or about Feb.February 29, 2016, Commission Stephen Marpet
15   madeDefendant MARPET announced false statements to the public regarding
16   Plaintiffs’Plaintiff MJR’s criminal history, as means of preventing Plaintiff MJR from
17   obtaining gainful employment. Additionally, Defendants Defendant DCFS prevented
18   Plaintiff MJR from adequate visits with her children and never allowed "reunification
19   services" as normally provided under Welfare & Institutions Code § 300 et. seq..
20      136.       During the month of December 2016, Melody had online services with a
21          therapist.
22      137.31.    On March 22, 2016, the juvenile courtJuvenile Dependency Court              Formatted: Left, Indent: Left: 0", First line: 0.25"


23   unlawfully found that MelonyPlaintiffs MR and HarmonyHR were children described by
24   section 300, subdivision (b)(l) without a valid cause. The sustained section 300
25   petitionPetition documented that Plaintiff suffered from mental and emotional problems

26   that rendered her incapable of providing regular care for MelonyPlaintiff MR and

27   HarmonyHR.

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        138.32.    Plaintiff MJR was getting psychological counseling as wasand declared fit
2    by her psychologistPsychologist and the same was communicated in a letter to _______
3    Abera,Defendant DCFS’s Social Worker of the DCFS. It was written in the letter of
4    Plaintiff's psychologist to the Children Social Worker Department of Child and Family
5    Services that, "It appears that Melody has now corrected most of the areas of difficulty
6    and is a fully committed mother. She spent considerable time this Christmas season
7    making a nice holiday for her children but also for, and her neighbors in her new
8    apartment,; helping others who were alone."
9       139.33.    Plaintiff has evidence, in the In a report of from Plaintiff MJR’s
10   Psychologist, Sharon Valentino, which (“Valentino”), states that she began seeing
11   Melody inPlaintiff MJR, December 2016 until about the end of January. Valentino states
12   in her report that MelodyPlaintiff MJR saw her for issues relating to her children &and
13   her parenting of theher children &. It concluded that all problems that shePlaintiff MJR
14   previously had are now resolved &, that she is now able to be a good mother &, and she
15   could have them full time to properly raise her children. However, Defendant DCFS did
16   not communicate the latest medical update to the court and hence madeCourt, which
17   misled the court makeCourt in making a majorprejudicial error in its judgment.
18      140.34.    On March 27, 2016, after Melony indicated to theirPlaintiff MR informed
19   her mother the caregiver had, Plaintiff MJR, that her Foster Parent spanked her, Melody,
20   Plaintiff MJR refused to return the children to their shelter caregiver after a visitthe
21   Foster Parent; instead, Plaintiff MJR took the children to athe police station. The police
22   and an in-house social worker found no evidence of abuse and released the children to the
23   caregiver.
24      141.35.    On April 06, 2016, the juvenile court placed MelonyJuvenile Dependency
25   Court made an order placing Plaintiffs MR and HarmonyHR with their maternal

26   grandmother, Judy RodgersPlaintiff JR.

27      142.36.    From April through September 2016, MelodyPlaintiff MJR resumed

28   therapy at KeedrenKedren Community Health Center (“Kedren”) with a Psychiatrist,
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     where the assigned psychiatrist after evaluation did not recommend medication andshe
2    participated in at least seven sessions ranging in duration from 30 to 90 minutes; after
3    evaluation, she was not recommended medication.
4       37. On During the month of December 2016, Plaintiff MJR underwent online services
5    with a therapist.
6       143.38.    August 2017, a KeedrenKedren therapist reported that MelodyPlaintiff            Formatted: Left, Indent: Left: 0", First line: 0.25"

7    MJR had “been working on treatment goals which include utilizing positive coping skills
8    to manage daily stressors and positive parenting psycho-education.” He reported that
9    MelodyPlaintiff MJR had been compliant over the past four months with her mental
10   health treatment and that she denied ideations of self-harm and harm to others. The
11   therapist also reported that she presents engaged in sessions and motivated to complete
12   the court-ordered plan.
13      144.39.    On September 20, 2017, theDefendant DCFS recommended terminating
14   family reunification services. Despite the Department, Defendant DCFS acknowledging
15   that MelodyPlaintiff MJR appeared to be in literal compliance with her court-ordered
16   programs, including individual therapy and parenting classes, and relayed
17   Plaintiff’sPlaintiff MJR’s expression of love and affection for her daughters, it sustained
18   that it believed “mother's continued unpredictable behavior would be detrimental to
19   M.R.'sPlaintiffs MR and H.R.'sHR's health and safety, particularly at their young ages.”
20      145.40.    During the weekend of October 7 and- 8, 2017, MelodyPlaintiff MJR and
21   her maternal grandmother had an argument that led to a physical altercation. Mother
22   Plaintiff MJR had taken maternal grandmother's car to the carwash and, while there,
23   threw away some items that had beenwas in the car. Maternal grandmother became
24   outraged when she found out. The argument became physical and maternal grandmother
25   reported to Defendant DCFS that she had filed a police report. Melody Plaintiff MJR

26   immediately told toher DCFS social workersSocial Workers that, when her maternal

27   grandmother found out that she had thrown out her things, she pushed and scratched her

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     and was acting like "a crazy maniac".." This event would play a significant role in the
2    court'sCourt's ultimate decision regarding the removal of Plaintiff MJR’s children.
3       146.41.    On November 15, 2017, the DepartmentDefendant DCFS filed an ex-parte
4    applicationEx-Parte Application pursuant to section 385 to modify Plaintiff’sPlaintiff
5    MJR’s visitations from unmonitored to monitored.
6       147.42.    By January 2017 Melody hasPlaintiff MJR completed at least 12 sessions
7    of parental education classes.
8       148.43.    On February 13, 2018, the juvenile courtJuvenile Dependency Court
9    terminated Plaintiff’sPlaintiff MJR’s family reunification services stating that Melodyshe
10   failed to take responsibility for her actions and also failed to recognize how her behavior
11   was alarming and could potentially be harmful to her children.
12      149.44.    In May 2019, the Juvenile Dependency Court ordered legal guardianship
13   for MelonyPlaintiffs MR and HarmonyHR with their maternal grandmother, Plaintiff JR.
14                                                                                                 Formatted: Left


15      b)B.       SymphonyPlaintiffs SB and Preston BrownPB                                       Formatted: Underline
                                                                                                   Formatted: Underline
16          150.45.       Defendant Kernell Sterling Brown Jr. (hereinafter (“Kernell)”) is the    Formatted: Left, Numbered + Level: 1 + Numbering Style:
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17          father of SymphonyPlaintiffs SB and PrestonPB.                                         0.25" + Indent at: 0.5"
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18      151.46.    MelodyPlaintiff MJR met Defendant Kernell in 2016. At that time,
                                                                                                   Formatted: Left, Indent: Left: 0", First line: 0.25"
19   MelodyPlaintiff MJR was emotionally traumatized and devasted, because her first two
20   children MelonyPlaintiffs MR and Harmony hadHR were recently been taken by
21   Defendant DCFS, without cause.
22      152.47.    Defendant Kernell was nice to MelodyPlaintiff MJR on most occasions but,
23   as neighbors can testify, when he drank alcohol he became a completely different
24   person. HeKernell would become angry, used to get into arguments with the neighbors,
25   and physically abuse MelodyPlaintiff MJR for any reason. On one of these occasions,

26   Defendant Kernell demanded Melody's keysPlaintiff MJR's key to her white Ford

27   Explorer. When MelodyPlaintiff MJR refused to give him the keyskey, he hit her in the

28   head and made her give him the keyskey. After he took the keyskey, he drove
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     Plaintiff'sPlaintiff MJR's SUV into the neighbor's car that was parked in the same parking
2    lot by flooring the gas pedal and colliding with a neighbor’s car. . After the collision
3    with athe parked vehicle, Defendant Kernell fell asleep in the driver's seat and a. A male
4    neighbor had to comecame and pull him from the car, and put the vehicle brakes on. The
5    neighbor complained to Defendant Kernell that he had ruined her car and he promised to
6    pay her $100 a month for the car which was worth about $600. Defendant Kernell begged
7    MelodyPlaintiff MJR for the money to pay hertheir neighbor and when MelodyPlaintiff
8    MJR refused to give it to him, he smacked her, stole the debit card, and went to get
9    somestole her money.
10      153.48.    According to Cal. Pen. Code § 13701 (b), “Every law enforcement agency
11   in this state shall develop, adopt, and implement written policies and standards for
12   officers' responses to domestic violence calls by January 1, 1986. These policies shall
13   reflect that domestic violence is alleged criminal conduct. Further, they shall reflect
14   existing policy that a request for assistance in a situation involving domestic violence is
15   the same as any other request for assistance where violence has occurred.”
16      154.49.    Here, each time Defendant Kernell hit MelodyPlaintiff MJR, she called the
17   police and reported the incidents, but Defendant LAPD Officers refused to arrest
18   Defendant Kernell, because MelodyPlaintiff MJR didn't have any physical marks or
19   bruises. As to the records, there were seven domestic violence calls for this address, but
20   Defendant Kernell was never arrested.
21      155.50.    MelodyPlaintiff MJR, at that time, victim of domestic violence and without
22   law protection, began making plans to leave Defendant Kernell and started saving money
23   and looking for another apartment. Melody takes Plaintiff MJR had two jobs, she drove
24   for Uber on weekends, and worked as a substitute teacher for private schools on the
25   weekday. Defendant Kernell noticed MelodyPlaintiff MJR was making plans to leave and

26   started accusing her of adulterycheating.

27      156.51.    On September 19, 2018, MelodyPlaintiff MJR came home from the gym.

28   Defendant Kernell was drunk out of his mind and started accusing her of cheating.
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     Melody Plaintiff MJR kindly ignored the accusations and went into the kitchen to make
2    dinner for the family. Defendant Kernell started shouting obscenities and MelodyPlaintiff
3    MJR called him “a drunk.” Kernell went into the bedroom and got his baseball bat and
4    started hitting MelodyPlaintiff MJR with it on the bottom half of theher body. Each time
5    the baseball bat hit hisher body, MelodyPlaintiff MJR apologizes for calling him a
6    drunk. Kernell then dragged MelodyPlaintiff MJR by hisher braids, stripped her of
7    hisher house robe, and threw her outside completely naked. The upstairs neighbor heard
8    MelodyPlaintiff MJR screaming and threw her a house robe to wear so she would not be
9    naked outside. Alecia Ward, another neighbor, called the police and a third neighbor
10   allowed MelodyPlaintiff MJR to wait in her house until the police arrived. This time,
11   Kernell was finally arrested and taken to jail.
12      157.52.    While Kernell was in jail he sent his family members to harass
13   Melody.Plaintiff MJR. On October 20, 2018, MelodyPlaintiff MJR had to call the police
14   to get Kernell’s adult daughter to leave the home after Kernell givegave her the keys to
15   enter the housePlaintiff MJR’s home.
16      158.53.    On October 26, 2018, MelodyPlaintiff MJR was granted a restraining
17   orderRestraining Order against Kernell and his adult daugther, as well as, sole physical
18   custody of minor children Symphony, Plaintiffs SB and PrestonPB.
19      159.54.    On December 23, 2018, Kernell came back to Melody'sPlaintiff MJR 's
20   home despite a restraining order. He the Restraining Order. Kernell came back with his
21   adult daughters and tried to get into the home using force. Kernell drilled the locks off
22   the door and came in with his daughters. When MelodyPlaintiff MJR tried to shut the
23   door and keep them out, a physical altercation began to occur, and MelodyPlaintiff MJR
24   was forced to use physical force to expel the aggressors and protect herself. Kernell and
25   his daughter called the police and LAPD Officer SandateDefendant SANDATE arrested

26   MelodyPlaintiff MJR for PC-245(A)(1).

27      160.55.    According to Cal. Pen. Code § 13701 (b), LAPD Officers “shall encourage

28   the arrest of domestic violence offenders if there is probable cause that an offense has
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     been committed. These policies also shall require the arrest of an offender, absent exigent
2    circumstances, if there is probable cause that a protective order issued under Chapter 4
3    (commencing with Section 2040) of Part 1 of Division 6, Division 10 (commencing with
4    Section 6200), or Chapter 6 (commencing with Section 7700) of Part 3 of Division 12, of
5    the Family Code, or Section 136.2 of this code, or by a court of any other state, a
6    commonwealth, territory, or insular possession subject to the jurisdiction of the United
7    States, a military tribunal, or a tribe has been violated. These policies shall discourage,
8    when appropriate, but not prohibit, dual arrests. Peace officers shall make reasonable
9    efforts to identify the dominant aggressor in any incident. The dominant aggressor is the
10   person determined to be the most significant, rather than the first, aggressor. In
11   identifying the dominant aggressor, an officer shall consider the intent of the law to
12   protect victims of domestic violence from continuing abuse, the threats creating fear
13   of physical injury, the history of domestic violence between the persons involved,
14   and whether either person acted in self-defense.”
15      161.56.    Immunity does not apply when excessive use of force by a police officer or
16   negligent performance of a police officer's duties. (Robinson v. Solano County (9th Cir.
17   2002) 278 F.3d 1007, 1016.)
18      162.57.    A victim who has acted reasonably to defend oneself or another from harm
19   is not subject to arrest. This provision is intended to prevent police officers from arresting
20   the victim along with the abuser, and recognizes the fact that victims have the right and
21   may try to defend themselves without being subject to arrest. If an officer investigates         Formatted: Font color: Auto


22   and has probable cause to believe that a domestic abuse assault occurred but the victim
23   was not injured, the officer may arrest the abuser, although is not required to do so.
24   Moreover, the officer must find out if there are any no-contact or protective orders in
25   effect against the abuser, and enforce such orders. Here, Officer SandateDefendant

26   SANDATE did not arrest Kernell even though he knowknew that Kernell was the

27   dominant aggressor, that he was out on bail and had violated a restraining order; he

28   refused to hear MelodyPlaintiff MJR and the testimony of neighbors that would
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     immediately clarify the facts that she was acted in self-defense and he indeed arrested the
2    victim, MelodyPlaintiff MJR.
3       163.58.    On December 23, 2018, Defendant DCFS received a referral alleging
4    Symphonythat Plaintiffs SB and PrestonPB were victims of emotional abuse, due to a
5    reported altercation between mother and father, where mother attempted to attack father
6    with a butcher knife and she was arrested.
7       164.59.    On January 2019, the DCFS social workerDefendant DCFS’s Social
8    Worker reported completingafter an unannounced visit at Plaintiff’sPlaintiff MJR’s home
9    and found that the motherPlaintiff MJR and theher two minor children Preston, Plaintiff
10   SB and SymphonyPB were notno longer in the home. In fact, Melodyan effort to protect
11   herselfPlaintiff MJR and theher minor children from Kernell had already, Plaintiff MJR
12   moved to North Carolina, her home state.
13      165.60.     On February 14, 2019, Defendant DCFS filed an initial section 300
14   petitionPetition on behalf of thePlaintiff MJR’s children., Plaintiffs SB and PB. The
15   petitionPetition alleged that the children “were at substantial risk of suffering serious
16   physical harm based on the violent physical and verbal altercation between mother and
17   father (counts a-1 and b-1), and mother's mental and emotional problems (count b-2).”
18      166.61.    On February 15, 2019, at the detention hearing, neither parent, Plaintiff
19   MJR nor Kernell, appeared infor the juvenile court.Detention Hearing. The juvenile
20   court detainedJuvenile Dependency Court made an order to detain the children, Plaintiffs
21   SB and PB, from both parents and issued protective custody warrants for the children and
22   a no-bail arrest warrant for Melody.Plaintiff MJR.
23      167.62.    Notice of the date, time, and location of the hearing, with a copy of the
24   petition attached, must be served, as soon as, possible after the petition is filed and no
25   less than 24 hours in advance of the hearing if the child is detained. (§§ 290.1, 290.2.) If

26   the whereabouts of the parents are unknown, the agency must exercise due diligence (i.e.,

27   conduct a good faith inquiry that is thorough and systematic) to locate and notice the

28   parent. Failure to give notice to a parent of dependency proceedings violates due process
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     and is “fatal” to the court’s jurisdiction. (In re Claudia S. (2005) 131 Cal.App.4th 236.)
2    Insufficient notice would mean that the jurisdictional and subsequent findings are subject
3    to reversal on appeal. (In re Arlyne A. (2000) 85 Cal.App.4th 591, 598–600.) The court
4    cannot assume jurisdiction over a minor when his whereabouts were unknown. (In re
5    Baby Boy M. (2006) 141 Cal.App.4th 588, 601-602.)
6       168.63.    Here, Plaintiff, that MJR, who resides in North Carolina, was not present at
7    the Detention Hearing, because has no notice of the detention hearing.she had not
8    received Notice. Defendant DCFS, as reported, knowsknew that MelodyPlaintiff MJR
9    and her children were children’s whereabouts were unknown but; yet, did not make any
10   effortsperform due diligence in attempting to locate them andin order to giveprovide
11   appropriate notice to Plaintiff of dependency proceedings.Notice for the Detention
12   Hearing.
13      169.64.    On March 05, 2019, the father Kernell Brown Jr. informed Defendant
14   DCFS that “he is a Truck driver and he is currently in Oklahoma (where he’ll be for the
15   next two months); afterward, he will be in Texas. Father Kernell denied knowing the
16   mother and children’s exact whereabouts but reported that they were “somewhere in
17   North Carolina. Father Kernell was informed about the protective custody warrants on
18   the children and warrant offor arrest on the mother…. FatherKernell reported that the
19   children are safe and well cared by mother as she often FaceTime’s him so that he is able
20   to see/speak with the children. Father Kernell stated that he is not pressing criminal
21   charges against mother but mentioned that he is no longer in a relationship with mother
22   due to their discord.”
23      170.65.    On March 07, 2019, Melody'sPlaintiff MJR 's grandmother, Judy Rodgers,
24   reported “They (children) are with her (Melody) in North Carolina.”
25      171.66.    On July 17, 2019, Defendant DCFS received an immediate response

26   referral alleging Kernell sexually abused his granddaughter, R.B.

27      172.67.    On 31 July 31, 2019 Melody, Plaintiff MJR was in Los Angeles, California

28   to address criminal charges pending against her as a result of the same incident that
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     DCFS is referring to in their reports and allegations.. At the trial, MelodyPlaintiff MJR
2    was exonerated of all charges by an impartial jury who decided that MelodyPlaintiff MJR
3    was acting in self-defense in hisher own home. At the trial, LAPD Officer Paul Sandate
4    alsoDefendant SANDATE committed perjury during thehis testimony on the stand.
5       173.68.    After the trial, declared not guilty of any crime, MelodyPlaintiff MJR
6    returned to pick up his children from Kernell's sister's house who was helping her as a
7    babysitter, and found out that Kernell had taken histheir children. MelodyPlaintiff MJR
8    went immediately to Kernel'sKernell's house to retrieve histheir children and was forcibly
9    restrainedretrained/locked inside the bathroom by Kernell.
10      174.69.     On the same day, Commission Stephen MarpetDefendant MARPET sent
11   law enforcement, officer Sandate,Enforcement Officer, Defendant SANDATE and DCFS
12   social workersDefendant DCFS’s Social Workers to Kernell’s home who refused to let
13   them in without a warrant.
14      175.70.    On the sameThat evening, Commissioner MarpetDefendant MARPET
15   granted Defendant DCFS requests for an expedited removal order and requests to
16   dispense with noticeNotice of the removal orderRemoval Order to detainDetain the
17   children from mother and father. Defendant DCFS doesdid not present substantial
18   evidence that MelodyPlaintiff MJR was failing at fulfilling any of her responsibilities or
19   had any criminal record related to mental illness.
20      176.71.    Commissioner MarpetDefendant MARPET and Officer SandateDefendant
21   SANDATE were aware of the outcome of the criminal case against MelodyPlaintiff MJR
22   and knew that she did not pose any threat to hisher children based on actions taken in
23   self-defense. They; they were aware or should have been aware that MelodyPlaintiff MJR
24   has full custody of theher children and that they cannot remove custody from Kernell
25   who had already lost it. Therefore, the order was unsupported by probable cause and,;

26   therefore, violated Plaintiff's federal constitutional rightsPlaintiff MJR's Federal

27   Constitutional Rights against unreasonable searches and seizures.

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        177.72.    DCFS social workers Defendant DCFS’s Social Workers and law
2    enforcementLaw Enforcement Officer Sandate, as , Defendant SANDATE, witnessed via
3    the video recorded by Plaintiff, found Melody MJR, that Plaintiff MJR and her children
4    were locked in theKernell’s bathroom with her children. They know; they knew or should
5    knowhave known that Melody had already beenPlaintiff MJR was a victim of domestic
6    violence by Kernell and that Kernell had already segregated Melodyimprisoned Plaintiff
7    MJR at other times against hisher will but; however, instead of protecting
8    MelodyPlaintiff MJR and her children and keeping them safe from the aggressor,
9    DCFSDefendant DCFS’s Social Workers detained the children and Officer
10   SandateDefendant SANDATE arrested MelodyPlaintiff MJR pursuant to the no-bail
11   arrest warrant and violated again breached his duty to protect MelodyPlaintiff MJR.
12      178.73.    DCFS social workersDefendant DCFS’s Social Workers falsely declared on
13   their report that the parents actively concealed the children. In fact, as previously
14   reported, they know that MelodyPlaintiff MJR had been a resident inof North Carolina
15   for nearly seven (7) months and she had sole physical custody of theher children who
16   were also residents of Charlotte, North Carolina. They Defendant DCFS’s Social
17   Workers were aware that MelodyPlaintiff MJR had relocated to North Carolina
18   immediately after the attack from Kernell and was only visiting California temporarily to
19   fight aaddress the criminal case. Melody, which she was exonerated from all charges.
20   Plaintiff MJR relocating away from Kernell with children and supporting them
21   independently demonstrated a change in circumstance that the department Defendant
22   DCFS refused to acknowledge. Unless social servicesDefendant DCFS had a reason to
23   believe that the child waschildren were in danger, it did not have a compelling reason to
24   separate the childchildren from histheir mother. On information and belief, Defendant
25   LAPD Officer Sandate, Defendant SANDATE and DCFS Defendant DCFS’s Social

26   workerWorker acted with malice and with the intent to cause injury to Plaintiff MJR or

27   acted with a willful and conscious disregard to the rights of Plaintiff MJR in a despicable,

28   vile and contemptible manner.
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        179.74.    Making false statements in a dependency petition with the intent that the       Formatted: Indent: Left: 0", First line: 0.25"

2    court rely on it, causing the parents to temporarily lose custody, seriously infringes on a
3    parent’s constitutional rights. See Beltran, 2008 WL 193319, at *1 (no absolute immunity
4    where a social worker “fabricated evidence during an investigation or made false
5    statements in a dependency petition affidavit.”).
6           180.75.       According to California Code, Government Code - GOV § 820.21:            Formatted: Left

7           (a) “Notwithstanding any other provision of the law, the civil immunity of juvenile
8              court social workers, child protection workers, and other public employees
9              authorized to initiate or conduct investigations or proceedings pursuant to
10             Chapter 2 (commencing with Section 200) of Part 1 of Division 2 of the
11             Welfare and Institutions Code shall not extend to any of the following, if
12             committed with malice:
13             (1) Perjury.
14             (2) Fabrication of evidence.
15             (3) Failure to disclose known exculpatory evidence.
16             (4) Obtaining testimony by duress, as defined in Section 1569 of the Civil
17                 Code , fraud, as defined in either Section 1572 or Section 1573 of the Civil
18                 Code , or undue influence, as defined in Section 1575 of the Civil Code .
19          (b) As used in this section, “malice” means conduct that is intended by the person
20             described in subdivision (a) to cause injury to the plaintiff or despicable
21             conduct that is carried on by the person described in subdivision (a) with a
22             willful and conscious disregard of the rights or safety of others.”
23      181.76.    On August 2, 2019, forty-eight (48) hours after the kidschildren were           Formatted: Left, Indent: Left: 0", First line: 0.25"


24   detained, Plaintiff MJR was supposed to be an initial/detention hearing, in orderappeared
25   at the Initial Detention Hearing pursuant to meet federal legal time limitsprocedure;

26   however, after heading to the Edelman Children's Court on the bus from the detention

27   center, Melodyjail, Plaintiff MJR was told to return back to jail for the weekend, as the

28   matter had been continued without reason. (Cal. Juv. Rule 5.670).
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        182.77.    Here, Commissioner Stephen MarpetDefendant MARPET, after issuing a
2    warrant to arrest MelodyPlaintiff MJR on a non-arrestable offense, held Plaintiff MJR in
3    prison longer than the forty-eight (48 hours of detention) hour Detention hearing window;
4    thus, depriving herPlaintiff MJR of her substantive and procedural due process rights not
5    to be held without just cause and although herDue Process Rights. Although, Plaintiff
6    MJR case was set for hearing he, Defendant MARPET continued it without justification.
7    Defendants’Defendants MARPET, DCFS, AND SANDATE’s actions in detaining and
8    mistreating Plaintiff MJR were arbitrary, capricious, an abuse of discretion, or otherwise
9    not in accordance with the law, in violation of the constitutional right, power, privilege,
10   or immunity, and without observance of procedure required by law.
11      183.78.     On August 5, 2019, Commissioner Stephen MarpetDefendant MARPET
12   exacted cruel and unusual punishment upon Plaintiff MJR, when he refused to allow her
13   to return to the location that contained her clothing and personal property. Defendant
14   MARPET released Plaintiff MJR from juvenile court jail cells, where she had to wear a
15   black paper suit as clothing. As a result of this suit, MelodyPlaintiff MJR faced public
16   shame and humiliation and was regarded as a criminal although she never committed any
17   crime.
18      184.79.     On August 5, 2019, Frank Ostrov court-appointed attorney, Court-
19   Appointed Attorney for Plaintiff signMJR, signed a document from the countyDefendant
20   LA COUNTY, providing Plaintiff'sPlaintiff MJR's children’s personal information;
21   including their date of birth and social security numbernumbers, while shePlaintiff MJR
22   was behind bars, in a children’s court jail cell, and under duress. Moreover, Ostrov gave
23   to his clientPlaintiff MJR false information and bad legal advice when he stated that “it is
24   not possible to appeal the case until the end of the trial.” This essentially denied Plaintiff
25   MJR of effective legal counsel to preserve her right to a fair hearing.

26      185.80.     On August 23, 2019, Defendant DCFS filed the operative first amended

27   sectionan Amended Section 300 petitionPetition on behalf of the children. The amended

28   petitionAmended Petition contained the original counts and additional allegations that the
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     children were at substantial risk of suffering serious physical harm and sexual abuse
2    based upon the father's sexual abuse of his granddaughter and his adult children when
3    they were children (counts b-3, d-1, and j-1). DCFS perseveres with the same
4    allegationallegations against Plaintiff MJR by omitting with malice exculpatory evidence
5    on their records.
6       186.81.         On December 3, 2019, the juvenile courtCourt held a trial-setting
7    conference and appointed new counsel to represent the mother.Plaintiff MJR. Counsel
8    for Plaintiff MJR requested that the dependency investigatorDependency Investigator
9    (DI) and the social workerDefendant DCFS’s Social Worker be placed on call for the
10   adjudication hearing.Adjudication Hearing. The court ordered the DI on call.
11      187.82.     On December 17, 20202019, the Juvenile Court of Los Angeles, along with
12   its court officersOfficers of the Court, conspired together to prevent the courtCourt from
13   receiving evidence in the mother'sPlaintiff MJR's favor. According to W & 1 C SWIC §
14   317, providing for the appointment of counsel in dependency cases, a parent could waive
15   counsel at any point and had the right to represent him or herself. Here, Judge
16   SunDefendant SUN denied Plaintiff’sPlaintiff MJR’s request to proceed pro se and
17   refused to bearhear her case until MelodyPlaintiff MJR agreed for an appointed attorney,
18   Mel Hatamianto Court-Appointed Attorney, Defendant MEL HATAMIAN, to represent
19   her. Judge Sun Defendant SUN suppressed Plaintiff'sPlaintiff MJR's right to present
20   evidence and denied Plaintiff MJR’s her right to have a fair and unbiased hearing when;
21   Plaintiff MJR was not allowed witnesses presented to present before the Court by Melody
22   to testify. on behalf of Plaintiff MJR. Moreover, Judge Sun continuesDefendant SUN
23   continued the case beyond the statutory limits, which was to the convenience of the
24   partiesopposing side and to the detriment of Plaintiff'sPlaintiff MJR and her children who
25   are languishing in foster careFoster Care and removed from thetheir home and their

26   relatives' love.

27      188.83.     At this hearing, the Children's Law Center appointed attorneySection 300

28   Petition Hearing, Defendant CLC’s Appointed Attorney, Alyson Bashor, (“Bashor”),
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     breached hisher fiduciary duty to Plaintiff'sPlaintiff MJR's children by going along with a
2    scam that harmed them and was in direct opposition to their expressed and verbalized
3    wishes of the children. They. Bashor lied and said that the children could not talk and
4    therefore could not make a meaningful statement to the court when indeed they have
5    expressed their wishes to the attorney on several occasions. Plaintiff MJR has evidence
6    by way of phone recording of her children saying that they want to be returned home and
7    also the foster momFoster Parent, Nakeya Clark, (“Clark”), wanted to testify to that.
8       189.84.     On the same day, the children's appointed attorney deliberatelyDefendant
9    CLC’s Attorney, Alyson Bashor (“Bashor”) lied to the courtCourt in order to mislead the
10   courtCourt by stating for the record on December 17, 2021 that the children and foster
11   momFoster Mom, Clark, were not present to testify in court, when indeed they were
12   present in courtCourt and wanted to testify. When Melody called the foster mom during
13   court, she told Melody that she was still waiting to testify but Alyson Bashor Bashor had
14   in fact told them to leave and come back later when she called. However, shecalls.
15   Bashor, never called them to come back. When Plaintiff MJR called Clark, she told her
16   that she was still waiting to testify, but was told to come back later. Mother managed to
17   get Ms. Clark’s declarationClark admitted to court although her device was muted.
18      190.85.     Minor's Counsel carries a lot of weight with the courts. According to 2020          Formatted: Indent: Left: 0", First line: 0.25"


19   California Rules of Court Rule 5.242, Counsel is charged with the representation of the
20   child's best interest. Their role is to consider what is in the child's best interests. They are
21   a neutral voice for the child, without compromising the child's rights or emotional well-
22   being. According to 2020 California Rules of Court Rule 5.242, Counsel is charged with
23   the representation of the child's best interest. The role of the child's counsel is to gather
24   evidence that bears on the best interest of the child and present that admissible evidence
25   to the court in any manner appropriate for the counsel of a party. If the child so desires,

26   the child's counsel must present the child's wishes to the court.

27      191.86.     On February 15, 2020, DCFSDefendant DCFS’s Social Worker                            Formatted: Left, Indent: Left: 0", First line: 0.25"


28   Investigator, Teela Allen, (“Allen”), provided a report with knowingly false statements
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     and intentional omissions of exculpatory evidence in order to obtain a court judgment
2    against Plaintiff. She MJR. Allen specifically made misrepresentations to conceal the
3    fact that the aggressor and domestic violence perpetrator was Kernell, not
4    MelodyPlaintiff MJR and omitted a large portion of Kernell’s lengthy criminal record to
5    conceal his previous crimes of moral turpitude.
6       192.87.    Specifically, the DepartmentDefendant DCFS’s Social Worker falsely
7    asserted that in December 2018, motherPlaintiff MJR struck father’s back and chased
8    him while holding a butcher knife and was arrested for assault with a deadly weapon. The
9    Department Defendant DCFS’s Social Worker also asserted that on prior occasions
10   motherPlaintiff MJR refused to take her psychotropic medication and suffers from
11   paranoia, suicidal ideation, depression, anxiety, isolation, and erratic behavior. On this
12   basis, the DepartmentDefendant DCFS’s Social Worker alleged that the children were in
13   danger of suffering physical harm based on domestic violence between mother and their
14   father (counts a-1 and b-1), and mother’s mental and emotional problems (count b-2).
15      193.88.    Here, Defendants maliciously and fraudulently omitted exculpatory
16   evidence. Defendant knowsDefendants knew or should knowhave known that Plaintiff
17   MJR was declared not guilty by a jury, because she acted in self-defense and,; therefore,
18   she cannot be considered a danger to hisher children. DefendantDefendants maliciously
19   omitted to inform the Court that Plaintiff MJR had already obtained a restriction
20   orderRetraining Order against fatherKernell at the time of this eventthe incident and that
21   Plaintiff MJR has been relocated to North Carolina, far away from the aggressor, to
22   protect her and theher children. Moreover, regarding Plaintiff’sPlaintiff MJR’s purported
23   mental and emotional problems, the report of theDefendant DCFS’s Social Worker
24   InvestigatorInvestigator’s Report continues to refer to contested hearsay allegations of
25   2016, even if they knowwhen Defendant DCFS’s Social Worker Investigator knew or

26   should know that Melody hadPlaintiff MJR followed the plan orderedCourt Order and

27   had been observed by several psychiatrists who have always stated that MelodyPlaintiff

28   MJR has no mental and emotional problems and does not need drug therapy. Defendant
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     DCFS has never presented substantial evidence of Plaintiff’sPlaintiff MJR’s mental and
2    emotional problemshealth.
3       194.89.    Bobby Cagle, head of DCFSDefendant CAGLE, demonstrated bad faith
4    business practices under the UCC, when he signed the aforementioned reportreports that
5    did not contain any actual child abuse or neglect allegations to sustainsupport a
6    petitionPetition under the Welfare and Institutions Code of California.
7       195.90.     On February 20, 2020, after several contend continuancecontinuances and
8    without good cause of justification, the juvenile court Court proceeded with the combined
9    jurisdictionJurisdiction and disposition hearing.Disposition Hearing. The Court has
10   continued the casescase several times in defianceviolation of the California Welfare
11   Institutions Code Section 352 for the protection of children in order to give DCFS time to
12   find any speck of gossip and slander they can obtain from child abusers, perpetrators or
13   domestic violence, and other unreliable sources. Even, even though jurisdiction
14   hearingsthe Jurisdiction Hearings cannot be held past 6 months from when the children
15   were detained on July 31, 2019. Commissioner Marpet Defendant MARPET held a
16   hearing for a continuance on his own motion for a hearing well into, January 2021, more
17   than 18 months past theirthe children’s detention.
18      196.91.    At the hearing, the social worker reportDefendant DCFS’s Social Worker’s
19   Report and police reportreports were used as evidence to substantiate their claimfalse
20   claims and no witnesses were called. Plaintiff’s court-appointed attorney, Mel
21   Hatamian,Defendant HATAMIAN tried to convince MelodyPlaintiff MJR not to express
22   her true wishes to cross-examine theDefendant DCFS’s accusing social workers. Mel
23   Hatamian acted in her own Social Workers. Defendant HATAMIAN did not act in the
24   best interest and not in Plaintiff's best interestof Plaintiff MJR, when she gave herPlaintiff
25   MJR bad advice. However, MelodyPlaintiff MJR insisted that she intended toDefendant

26   HATAMIAN cross-examine the DI on the report that was submitted andto determine

27   where the DI obtained the evidence to support the allegations. The court denied

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     Plaintiff’sPlaintiff MJR’s request and said that it saw no basis to have the DI present
2    before the Court to be cross-examined.
3       197.92.     The courtCourt declared the children dependents and removedDependents
4    of the Court and made an order to remove them from both parents’ custody. The
5    courtCourt ordered “no family reunification servicesFamily Reunification Services for
6    Plaintiff MJR. However, according to section 361.5, subdivision (b)(l0) Cal. Rules of
7    Court, rule 1456(c), the court must find that the welfare of the child requires that she be
8    removed from parental custody because of substantial danger, or risk of danger, to her
9    physical health if she is returned home and that there are no reasonable means to protect
10   her without removing her. Moreover, Here, Defendant DCFS doesdid not present
11   evidence that MelodyPlaintiff MJR was filing atnot fulfilling any of her responsibilities
12   or had any actual allegations related to mental illness.
13      198.93.    The California Welfare & Institutions codeCode mandates the department
14   Defendant DCFS to make reasonable efforts to return the child home, when the danger or
15   threat no longer exists. Here, there is no evidence presented by the departmentDefendant
16   DCFS that theyit attempted to return the children and there is no evidence presented by
17   the DepartmentDefendant DCFS supporting the allegations against Plaintiff. This is not
18   referring to reunification services. MJR.
19      94. At the same hearing, DCFS submitted perjured testimony when they
20   statedalthough Plaintiff MJR was exonerated from all charges due to self-defense,
21   Defendant DCFS’s Social Workers committed perjury in open Court and announced that
22   Plaintiff MJR had been convicted of lesser charges. They
23      199.95.    Defendant DCFS’s Social Worker did not present evidence to substantiate         Formatted: Left, Indent: Left: 0", First line: 0.25"


24   this claim and deliberately misled the court in order to maliciously prosecute
25   Melody.Plaintiff MJR. Dependency proceedings are not to be prosecutorial in nature.

26   Defendant DCFS intentionally and willfully withheld exculpatory evidence that would

27   have proven that Plaintiff MJR was not mentally ill. They disregarded statements from all

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     parties that spoke favorably of MelodyPlaintiff MJR and attested to her intelligence and
2    mental health in order to distort character and true identity of Plaintiff MJR.
3       200.96.     Commissioner MarpetDefendant MARPET assisted the department in
4    making Defendant DCFS’s Social Workers make their argumentarguments by suggesting
5    they re-word phrases in such a way as to make it appear as if Plaintiff MJR was
6    physically violent. In this instance, the CommissionerDefendant MARPET expressed an
7    appearance of partiality. “Fraud or impartiality in a court makes the order and judgment
8    void, because the court is not impartial..”
9       201.97.    At each hearing and trial, setting MelodyPlaintiff MJR requested in open
10   Court that her children be placed with their grandmother, Plaintiff JR and siblings,
11   because it would be in the best interest of the children to be with family, who had; and
12   Plaintiff JR expressed a willingness to care for the children.her grandchildren. This
13   request was expressly denied until "after the dispositional hearingDispositional Hearing",
14   still not commenced to this day.
15      202.98.    Here, Judge SunDefendant SUN should have dismissed the case, because
16   the court must have subject matter jurisdiction in order to hear a case. (In re Nelson B.       Formatted: Font: Italic


17   (2013) 215 Cal.App.4th 1121, 1128.).
18      203.99.     Under section 300, subdivision (b), the court can assume jurisdiction if it
19   finds there is a substantial risk the child will suffer serious physical harm as a result of
20   the parent’s failure or inability to provide regular care. A finding of the parent abuses
21   substances is prima facie evidence the parent is unable “to provide regular care resulting
22   in a substantial risk of physical harm.” (In re Drake M. (2012) 211 Cal. App. 4th 754,
23   767; Welf. & Inst. Code § 300, subd. (b).)
24      204.100. However, a parent’s use of controlled substances, without something more,
25   is not itself sufficient. (In re Destiny S. (2012) 210 Cal.App.4th 999, 1003; In re Alexis E.

26   (2009) 171 Cal.App.4th 438, 453.) The Department must show the parent’s substance

27   abuse poses a “specific, non-speculative and substantial” risk the child will suffer serious

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     physical harm. (In re Drake M., supra, 211 Cal.App.4th at p. 767; In re Destiny S., supra,
2    at p. 1003; In re David M. (2005) 134 Cal.App.4th 822, 830.)
3         205.101. Domestic violence only supports the exercise of jurisdiction under section
4    300, subdivision (b) if there is substantial evidence the domestic violence is ongoing or
5    likely to continue and either directly harmed or placed the child at risk of suffering
6    physical harm. (In re Daisy H. (2011) 192 Cal.App.4th 713, 717.)
7         206.102. Removal at disposition may not be warranted due to the heightened
8    standard of proof1 or changes in circumstances during the passage of time2. Substantial
9    risk of future harm requires that this risk exists at the time of the jurisdictional hearing. In
10   re R.M. (2009) 175 CA4th 986, 989, 96 CR3d 655; In re Destiny S. (2012) 210 CA4th
11   999, 1004, 248 CR3d 800 (conduct occurred 9 years before current petition was filed).
12        207.103. Although jurisdiction may be established under Welf & I CWIC § 300 (a),
13   (b)(1), or (d), by a showing that the child has suffered prior physical harm under Welf & I
14   CWIC § 300(b)(1), jurisdiction may not be continued unless the risk of harm continues.
15   An allegation in a petition or evidence simply that there was a prior allegation of
16   unfitness is not substantial evidence without evidence the allegation was substantiated.
17   (In re Miguel E. (2004) 120 Cal.App.4th 521, 547.)
18        208.104. In In re I.R. (2021) 61 Cal. App. 5th 510, the Second Appellate District
19   found that there was insufficient evidence to justify removing a minor under section 361,
20

21   1 Even though jurisdictional finding may be based on substantial evidence, dispositional findings have a different
     focus and heightened burden of proof – clear and convincing evidence (§ 361, subd. (c)(1); Conservatorship of O.B.
22   (2020) 9 Cal.5th 989, 995-996, 1011.) This heightened standard is premised on the notion that even after parents
     have been found to have abused or neglected their children “keeping children with their parents while proceedings
23   are pending, whenever safely possible, serves not only to protect parents’ rights but also children’s and society’s best
     interest. (In re D.P. (2020) 44 Cal.App.5th 1058, 1066-1067.)
24   2 Even though children may be dependents of the juvenile court, they shall not be removed from their parents unless

     there is clear and convincing evidence of a substantial danger to the child’s physical health, safety, protection, or
25
     physical or emotional well-being and there are no “reasonable means” by which the child can be protected without
     removal. (§ 361, subd. (c)(1).) When considering if the child will be in substantial danger if permitted to remain in
26
     the parent’s custody, the court must consider not only the parent’s past conduct, but also current circumstances and
27
     the parent’s response to the conditions that gave rise to juvenile court intervention. (In re Alexzander C. (2017) 18
     Cal.App.5th 438, 451-452.)
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1
     subdivision (c)(1). Jurisdiction over the minor was based on a single incident of
2    domestic violence between the parents, where Father slapped Mother. By disposition,
3    Father no longer lived or communicated with Mother and did not display violent behavior
4    outside of the relationship with Mother. The Second Appellate District found that the sole
5    source of potential danger to the minor while in Father's care, which was supported in the
6    record, was his history of domestic violence with Mother, but the record did not contain
7    substantial evidence that the domestic violence between Mother and Father was
8    likely to continue. There had been no contact between Father and Mother since the
9    minor’s detention and neither Mother nor Father expressed an intention to
10   reconcile their relationship and there was no demonstrated unwillingness to stay
11   away from each other.
12      209.105. In addition, children may be found described by Welf & I CWIC §
13   300(b)(1) although they have suffered no direct harm when there is a pattern of domestic
14   violence that has not been corrected. In such situations of “secondary abuse,” evidence
15   that the child was present and witnessed domestic violence with the expected result that
16   the child suffered emotional abuse is sufficient to sustain a petition. In re Healther A.       Formatted: Font: Not Italic


17   (1996) 52 CA4th 183, 194, 60 CR2d 554 (mother had permitted unsupervised visit with
18   perpetrator of domestic violence). However, if the evidence does not establish that the
19   child was present and witnessed the violence, the fact of domestic violence in the home
20   may not be sufficient to sustain the petition. See, e.g., In re Alysha S. (1996) 51 CA4th
21   393, 398, 58 CR2d 494.
22      210.106. To determine whether domestic violence is ongoing and likely to continue,
23   courts look at a number of factors, including the proximity of the event to the filing of the
24   petition, whether the child was present or exposed to the violence, the number and
25   severity of the incidents, and the parents’ subsequent actions. (See e.g. In re Daisy H.,

26   supra, 192 Cal.App.4th at p. 717.)

27      211.107. Here, there is no substantial evidence that children assisted and that they

28   were posed inexposed to danger byor that Plaintiff. MJR posed a danager to her children.
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1
     Plaintiff MJR presented evidence of active restraining ordersoperative Restraining Order
2    for both Kernell and his adult daughter from the Los Angeles Superior Court.; yet,
3    ignored. Plaintiff MJR also presented evidence from the Clara Shortridge Foltz Criminal
4    Justice Court that proved she was acting in self-defense in the episode reported by
5    Defendant DCFS. Melody Plaintiff MJR took every legal remedy in the stateState of
6    California to protect herself and hisher children from the violent father and inKernell;
7    moreover, January 2017, moved to North Carolina far away from him. Moreover, Kernell
8    is restrained in jail, and MelodyPlaintiff MJR has a new and happy life in North
9    Carolina,; therefore, there are no possibilities that domestic violence is likely to continue.
10      212.108. Dependency may not be based on Welf & I CWIC § 300(b)(1) when any
11   mental disorder or substance abuse cannot be tied to any harm or risk of harm to the
12   children who are well cared for and loved, and when the parents’ problems do not impact
13   their ability to care for the children. In re David M. (2005) 134 CA4th 822, 829-839, 36
14   CR3d 411; see also In re A.L. (2017) 18 CA5th 1044, 1049-1051, 227 CR3d 3 (mental
15   illness alone not enough even with one incident of violence).
16      213.109. Mental illness alone is not enough for jurisdiction unless DCFS can show
17   it caused harm to the child. In re Matthew S. (1996) 41 Cal.App.4th 1311, 1318 [“The
18   Department has the burden of showing specifically how the minors have been or will be
19   harmed and harm may not be presumed from the mere fact of mental illness of a parent.”]
20      214.110. “‘Harm to the child cannot be presumed from the mere fact of mental
21   illness of the parent and it is fallacious to assume the children will somehow be
22   “infected” by the parent. The proper basis for a ruling is expert testimony giving specific
23   examples of the manner in which the mother's behavior has and will adversely affect the
24   child or jeopardize the child's safety. . . . It cannot be presumed that a mother who is
25   proven to be “schizophrenic” will necessarily be detrimental to the mental or physical

26   well-being of her offspring. . . . The social worker must demonstrate with specificity how

27   the minor has been or will be harmed by the parents' mental illness.’” (In re Jamie M.

28   (1982) 134 Cal.App.3d 530, 540; In re Heather P. (1988) 203 Cal. App. 3d 1214, 1228-
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     1229, overruled on other grounds, In re Richard S. (1991) 54 Cal. 3d 857, 866, fn. 5,
2    internal citations omitted, italics in original; In re David D. (1994) 28 Cal.App.4th 941,
3    953; In re Janet T. (2001) 93 Cal.App.4th 377, 390.)
4       215.111. Defendant DCFS offered no evidence to substantiate the claim that
5    MelodyPlaintiff MJR had mental and emotional problems or had failed to take
6    psychotropic medications. There was no medical record or diagnoses presented by a
7    qualified physician to support those claims. Lacking a medical diagnosis, the evidence
8    presented by the department to demonstrate "recognized medical factors"Defendant
9    DCFS to support their claim was listed asa list of an assortment of assertions from a
10   variety of ailment-none of which were substantiated by actual incidents of the behavior
11   being described.non-ailments. Plaintiff MJR today is happily married and has a happy
12   life in North Carolina.
13      216.112. On February 27, 2020, MelodyPlaintiff MJR filed a noticeNotice of
14   intentIntent to file a writ petitionPetition for Writ, challenging the February 20, 2020,
15   ordersCourt Orders.
16      217.113. On June 05, 2020, Niti Gupta, assistant of Mel HatamianDefendant
17   HATAMIAN, filed a letter to the Appeals Court stating shethat Plaintiff MJR could find
18   no reason to file Plaintiff’san appeal.
19      218.114. On June 5, 2020, Plaintiff’sPlaintiff MJR’s Counsel, Mel
20   HatamianDefendant HATAMIAN, advised the courtCourt that he was unable to file a
21   writ petitionPetition for Writ on Plaintiff’s behalf of Plaintiff MJR.
22      219.115. On July 23, 2020, Melody filed Plaintiff MJR, as an in pro per petition for
23   extraordinary writ relieflitigant, filed a Petition for Extraordinary Writ Relief, pursuant to
24   8.452 in the Court of Appeal, seeking to challenge the juvenile court’s jurisdiction and
25   disposition orders at February 20, 2020, adjudication hearing. In part of her brief mother,

26   Plaintiff MJR. argues that there was insufficient evidence to sustain the domestic

27   violence and mental health allegations pursuant to W&IC sectionWIC § 300, subdivision

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     (a) and (b). Mother Plaintiff MJR pointed out that the social workerDefendant DCFS’s
2    Social Workers did not testify and the statements in the reports were hearsay.
3       220.116. On July 30, 2020, the Court of Appeal of the State of California Second
4    Appellate District, Division Three, issued an order to show cause stating our intent to
5    decide the matter on the merits.
6       221.117. On October 21, 2020, the Court of Appeal granted the petition for
7    extraordinary relief and concluded that the juvenile courtCourt violated
8    Plaintiff’sPlaintiff MJR’s right to due processDue Process by denying her the opportunity
9    to cross-examine the dependency investigator and social worker. The Court guaranteed
10   order that “A peremptory writ of mandate shall issue directing the juvenile court to
11   reverse its jurisdictional findings sustaining counts b-1 and b-2, and dispositional orders
12   as to motherPlaintiff MJR only, entered on February 20, 2020. In addition, the court shall
13   vacate any subsequent order terminating parental rights. On remand, the court shall
14   conduct a new jurisdiction and disposition hearing as to motherPlaintiff MJR consistent
15   with the views expressed in this opinion.” Melody R. v. Super. Ct. CA2/3.
16      222.118. On March 11, 2021, DCFS' Director, Bobby D. Cagle,Defendant CAGLE
17   and DCFSDefendant DCFS’s Social Workers, Marcal Maye-Henderson and Aliana
18   Darted, submitted a report with the same fabricated evidence against Plaintiff MJR,
19   stating that “Pursuant to WIC §361.5(b)(10), the Department Defendant DCFS
20   recommends NONo Reunification Services for Mother Melody RodgersPlaintiff MJR, as
21   the Court Terminatedterminated Family Reunification Services for children's half-
22   siblings and no subsequent effort to treat problems that led to the removal of those
23   children.” The report presented the same original false allegations against Plaintiff MJR.
24      223.119. On December 12, 2021, DCFS' Director, Bobby D. Cagle,Defendant
25   CAGLE and DCFSDefendant DCFS’s Social Workers, Regina Minor and Darryllisha

26   Burch-Parker continued, with malicious and fraudulent intent, their practice of fabricating

27   evidence and omitting exculpatory evidence in their reports. In addition to the previous

28   false and inaccurate allegations against Melody, the departmentPlaintiff MJR Defendant
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     DCFS’s Social Worker reports that Caregiver, “Ms. C.Clark stated that, when
2    motherPlaintiff MJR, calls the child, Symphony’s behaviorschildren, Plaintiff SB’s
3    behavior noticeably changes and the calls cause “more harm, then good.” However, Ms.
4    Clark, is ready to testify that she never made such a statement.
5       224.120. On June 9, 2022, “the Court finds there is no full .26 Report and no In and
6    Out for father. The .26 Hearing is continued to 08/17/2022 for receipt of a full .26 report
7    and for an In and Out for father to be transported to court.”
8       225.121. On June 2022, Plaintiff presentedMJR filed an appeal on the order to
9    continuance.
10      226.        2022, Dae Yae Sun assistant county counsel Joseph S. Lee prevented Melody
11          from obtaining court records for review of case status.
12      227.122. Defendants’ conduct, as set forth herein, is a substantial factor in causing      Formatted: Left, Indent: Left: 0", First line: 0.25"

13   Plaintiffs harm, which constitutes gross negligence such that Defendants are liable and
14   Plaintiffs are entitled to Punitive damages, and Attorney’s cost and expenses for which
15   Plaintiffs seeks judgment of this Court.
16      228.123. Plaintiffs intend to show that the factors the jury may consider in
17   determining the amount of punitive damages, which should be awarded include:
18      a. The nature of the wrong committed by Defendants;
19      b. The character of Defendants’ conduct;
20      c. The degree of culpability of Defendants;
21      d. The situation and sensibilities of the parties concerned; and
22      e. The extent to which Defendants’ conduct offends a public sense of justice and
23          propriety.
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                                                                                                   paragraphs of the same style, Line spacing: 1.5 lines, No
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25                             V.    BACKGROUND STATEMENT

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28                             V.     RELEVANT INFORMATION
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1       A. Customs, Policy and Practices Adopted by California’s Foster System to                    Formatted: Underline

2          Snatch Children from their Birth Parents in violation of civil rightstheir Civil
           Rights
3          A.                                                                                        Formatted: Underline

4       229.124. This suit addresses the unlawful practices pursued by the Governor and              Formatted: Left, Indent: Left: 0.5", Line spacing: single,
                                                                                                     No bullets or numbering

5    those subordinates of his, who operate the foster care system, letting the operators of the     Formatted: Indent: Left: 0", First line: 0.25"


6
     system essentially have their choice of the minor children placed into the state’s foster

7
     custody, interfering with the children’s relationships with their families, contrary to law

8
     and seeks injunctive relief against the foster system personnel that conspired using the

9
     foster care system to take children from biological parents.

10
        230.125. Plaintiff MJR also seeks declaratory reliefInjunctive Relief condemning the

11
     unlawful child-snatching practices thethat Defendants have been practicing.
        231.126. Defendants developed, implemented, enforced, encouraged, and sanctioned
12
     de facto policies, practices, and/or customs exhibiting deliberate indifference to the
13
     Plaintiffs'Plaintiff MJR's constitutional rights which caused the violation of such rights.
14
     Specifically, Plaintiff contends that these policies, practices, or customs were willfully
15
     implemented with the specific intent to deprive Plaintiff's rights under the Fourteenth
16
     Amendment of the Constitution, by, but not limited to:
17
               a) The policy of removing a child from the care, custody, and control of her
18
                   parent without good cause;
19
               b) The policy of using trickery, duress, fabrication and/or false testimony
20
                   and/or evidence, and in failing to disclose exculpatory evidence, in
21
                   preparing and presenting reports and court documents to the court, causing
22
                   an interference with Plaintiff's rights, including those as to familial
23
                   relations;
24
               c) By acting with deliberate indifference in implementing a policy of
25
                   inadequate training, and/or by failing to train its officers, agents, employees
26
                   and state actors, in providing the constitutional protections guaranteed to
27

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                  individuals, including those under the Fourteenth Amendment, when
2                 performing actions related to child abuse and dependency type proceedings;
3             d) The policy of setting forth allegations in Juvenile Dependency Petitions
4                 against parents claiming they suffer from psychological disorders and/or are
5                 influencing the minor child to make false reports of sexual abuse, regardless
6                 of whether or not reasonable and articulable evidence exists at the time to
7                 support the claims set out in the petition or reports under penalty of perjury;
8             e) The policy, practice, or custom of making knowingly false allegations of
9                 misconduct in juvenile dependency petitions and/or reports as a means of
10                intimidating parents, by coercion, into accepting the wrongful
11                recommendations and orders based on falsified evidence, whether justified
12                by extant evidence or not, thereby enabling the county to keep the family in
13                the juvenile dependency system and record the case as a positive outcome
14                for purposes of statistical analysis related to funding by the State and
15                Federal governments;
16            f) The custom, policy, and or practice of fraudulently accusing parents of
17                making false allegations where no evidentiary basis exists.
18

19                (This list is not exhaustive due to the pending nature of discovery and the       Formatted: List Paragraph, Indent: Left: 0.99", Don't add
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20                privileged and protected records of investigative and juvenile dependency
21                type proceedings. Plaintiff MJR reserves the right to amend this pleading
22                as more information becomes available.)
23      232.127. Defendants, including through their respective entities, breached their            Formatted: Indent: Left: 0.06", First line: 0.19"


24   duties and obligations to Plaintiff MJR including, but not limited to, failing to establish,
25   implement and follow well known and clearly established, “bright line” Constitutional

26   policies, procedures, customs and practices.

27      233.128. By failing to properly select, supervise, train, control, and review its agents

28   and employees as to their compliance with Constitutional safeguards; and by permitting
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1
     theDefendant LA COUNTY Police officersOfficers and social workers,Defendant
2    DCFS’s Social Worker‘s to engage in the unlawful and unconstitutional conduct as
3    herein alleged.
4       234.129. Biological parents have a clearly established due process right under the
5    Fourteenth Amendment to be free from the deliberate use of perjured testimony and
6    fabricated evidence during juvenile dependency proceedings. See, e.g., Hardwick v.
7    County of Orange, 844 F.3d 1112, 1116–17 (9th Cir. 2017); see also Greene v. Camreta,
8    588 F.3d 1011, 1035 (9th Cir. 2009) (holding that “the ‘constitutional right to be free
9    from the knowing presentation of false or perjured evidence’ is clearly established”
10   (quoting Devereaux v. Perez, 218 F.3d 1045, 1055–56 (9th Cir. 2000))).
11      235.130. Defendants knew, or should have known, that by breaching the above-
12   mentioned duties and obligations it was foreseeable that they would, and did, cause
13   Plaintiff MJR to be injured and damaged by their wrongful policies, or deliberate lack
14   thereof or deliberate indifference to the need for such policies and/or training, and other
15   acts as alleged herein, and that such breaches occurred in contravention of public policy
16   and their legal duties and obligations to Plaintiff MJR; and that such policies would
17   subject them to injunctive reliefInjunctive Relief which Plaintiff asserts herein.
18                                                                                                 Formatted: Left


19      B. California’s Foster System Increasingly Serves as a Child Snatching/”
20          “Internal Diversion” System Taking Children from Families and Relatives
21          and Letting Foster System Connected Staff Take Them
22          236.131.      This suit also addresses the failure of the Defendants to follow the     Formatted: Left, Indent: Left: 0", First line: 0.5"


23   laws relating to the minor children in California foster careFoster Care System and their
24   biological relatives entitled to participate with those children, as provided by California
25   and federal laws prioritizing the placement and permanency rights of biological and other

26   family members.

27          237.132.      To operate the system for internal diversion of children, Defendants

28   executing their responsibilities [including Defendant DCFS, and DCF’sDefendant
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     DCFS’s contracted lead agencies] use a number of artifices and devices, and other
2    outright unlawful actions, including, but not limited to:
3              a. Not providing the dependency court, or Birth Parents and their attorneys,        Formatted: Left

4                  with pertinent exculpatory information;
5              b. Taking advantage of many dependency judges’ lack of knowledge of the
6                  foster system and the resulting inappropriate reliance on the Foster System
7                  Operators;
8              c. Playing “hide the ball” with information needed by family members,
9                  blocking family members from access to hearings and information about
10                 how the system works, and what the case plans for permanency for the
11                 child are;
12             d. Fabricating “evidence” against relatives and obstructing access to key
13                 information relating to parents and children needed by the dependency
14                 court for a fair and impartial hearing;
15             e. Failing to conduct the requisite diligent searches for biological relatives of
16                 the child when a child is sheltered and then again throughout the case, and
17                 again, as required after a TPR judgementjudgment;
18             f. Choosing a nonrelative system-connected person for placement of a child
19                 instead of complying with the law and placing the child with relatives;
20             g. Having the lead agency [and, at times, a subcontracted case management
21                 agency] work with DCFS to divert children to favored non-relatives, rather
22                 than conducting the required diligent searches for relatives;
23             h. Willfully disregarding safety statutes and time limitations in the Rules of
24                 Juvenile Procedure in order to intentionally inflict further emotional stress
25                 on families ;

26             i. Tampering with witnesses and preventing them from testifying in court;

27

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               j. Intentionally writing misleading statements in order to create a false record
2                  that will allow agencies to collect federal and state funds by taking children
3                  who do not fit the WIC definition of abused or neglected
4              k. Ignoring frequently [if not as often as possible] the due process rights of
5                  Birth Parents and other Relatives to be present with advance notice of
6                  judicial review proceedings and blocking Relatives from being heard in
7                  dependency court proceedings by their misuse of the “Participant/Party”
8                  Rule of Juvenile Procedure and related California's statutory definitions.
9              l. Compromising the ethical obligations of the attorneys for Birth Parents by
10                 paying the attorney for system-connected services inconsistent with the
11                 attorney’s obligations to his or her clients;
12             m. Fabricating false reports of abuse attributed to a relative to justify failing to
13                 approve a relative for placement while attempting to place a child with a
14                 non-relative.
15      238.133. When relatives who realized how their related youngsters had been                    Formatted: Indent: Left: 0", First line: 0.25"


16   essentially kidnapped, snatched, or internally diverted, complained to Defendant
17   Governor directly or through the Inspector General for one or more of the Departments,
18   the Governor and his minionssubordinates, including the supposedly
19   independentIndependent Inspector General, took no independent action other than to
20   redirect the complaints to Defendant DCFS to handle, with no accountability or redress
21   for the relatives of the snatched, diverted children.
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23                                     CAUSES OF ACTION
24
      FIRST CAUSE OF ACTION FOR VIOLATION OF 42 USC § 1983 against ALL
25                            DEFENDANTS
26                         (Against all Defendants)
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        239.134. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as     Formatted: Indent: Left: 0", First line: 0.25"

2    though fully set forth herein.
3       240.135. To state a Section 1983 claim, the plaintiff is required to allege that (1) the
4    conduct complained of was committed by a person acting under the color of state law;
5    and (2) the conduct deprived the plaintiff of a constitutional right.
6       136.       Plaintiff MJR complied with Defendant DCFS’s Court Ordered plan; yet,
7    her children were removed without good cause by individuals who are/were employed for
8    the government, acting under color of color, ignoring statutory law and refusing to adhere
9    to Court orders.
10      137.       Judge, social work, court appointed did wrong, she filed a Writ.
11      138.       Plaintiff MJR took every legal remedy in the State of California to protect
12   herself and her children from Kernell, Plaintiffs SB and PB’s father, whom is violent,
13   January 2017, they moved to North Carolina far away from him.
14      139.       On July 30, 2020, the Court of Appeal of the State of California, Second
15   Appellate District, Division Three issued an order to show cause RE Intent to Decide the
16   Matter on its Merits.
17      140.       On October 21, 2020, the Court of Appeal granted Plaintiff MJR’s Petition
18   for Extraordinary Relief and ruled that the Court violated Plaintiff MJR’s rights to Due
19   Process by denying her the opportunity to cross-examine the DIs and Defendant DCFS’s
20   Social Workers.
21      241.       On or about Feb. 29, 2016, several Social Workers and Police Officers who
22          were sent by defendants entered Plaintiff’s home without a warrant with LAPD
23          when the kids were in no eminent danger.
24      242.141. On or about Feb. 29, 2016, defendantsDefendants made comments about               Formatted: Indent: Left: 0", First line: 0.25"


25   race and socioeconomic status-that "black women are supposed to be strong "Defendants

26   stated "That plaintiffs should have gone to school and got married before having kids".

27      243.       Carvin Hall denied children financial support. Plaintiff’s oldest daughter

28          was physically abused in foster care and Carvin Hall attempted to suppress this
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            information Sonia Valiente misrepresented who she was and covered up child
2           abuse that was inflicted by the County,Defendant DCFS’s Social Workers and by
3           Foster parents as well Mary Theresa Meza and Sonia Valientes.
4       244.142. Social Workers falsified their Detention reportReports and Jurisdictional         Formatted: Indent: Left: 0", First line: 0.25"

5    Reports and made unreasonable searched in plaintiff’s home, without a warrant, and
6    without justified cause. Sonia also embellished her reports, left out pertinent information
7    regarding the children’s fatherKernell in order to favorreflect him, in a positive light,
8    detained Plaintiff MJR and her children without good cause, lied to plaintiff about
9    howPlaintiff MJR and recommend therapy to get myher children back by recommending
10   a specific mental health facility to go to. She did not attempt to , never attempted to
11   reunify plaintiff with the children as she hadPlaintiff MJR and her children, suppressed
12   material evidence including evidence of physical abused against Plaintiff MR, and made
13   unreasonable searches in Plaintiff MJR’s home without a warrant and without justified
14   cause. Defendant DCFS’s Social Workers never attempted to reunify Plaintiff MJR with
15   her children as they promised.
16      245.       She conspired with the child's father and encouraged him to lie about
17          plaintiff, by telling him he could get custody and be relieved of child support
18          obligation. Defendants further covered up evidence that the children was abused
19          while in foster care.
20      246.143. ON OR 02/29/16,Commencing February 29, 2016, (WHO?) the Superior                  Formatted: Indent: Left: 0", First line: 0.25"


21   Court of California for the County of Los AngelesDefendant LA COUNTY, Juvenile
22   Dependency Court ORDEREDordered that theDefendant DCFS be AUTHORIZED TO
23   DETAIN PLAINTIFF’S CHILDRENauthorized to detain Plaintiff MJR’s children
24   without a valid cause. JERRY BROWN is the Governor of California and owes The
25   aforementioned government agencies owed a duty of care to Plaintiff MJR to

26   ascertainensure that the stateDefendant State of California does not MAKE NOR

27   ENFORCE ANY LAW THAT ABRIDGES THE RIGHTS OF THE CITIZENS.make

28   nor enforce any laws that abridges the rights of the citizens.
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        247.144. However, Defendants did endorse, contribute, and enforce the statutes
2    within Welfare & Institutions Code §§ 300-378, which involve “one-sided” and
3    unconstitutional Juvenile Dependency Laws that allow Social Workers to take a parents
4    children without a warrant, that allow warrants to be issued without probable cause, that
5    allow the quartering of Soldiers or Social Workers in the homes of families, and allow the
6    violation of the Due Process Right of a Parentparent to Bringbring up a child without
7    governmental interference.
8       248.145. Commencing Feb. 29, 2016During the same time, Defendants made false
9    statements to the public in regards to plaintiff’sPlaintiff MJR’s criminal history, as means
10   in preventing plaintiffPlaintiff MJR from obtaining gainful employment. Additionally,
11   Defendants prevented Plaintiff fromMJR adequate visits with her children (PC § 278.5)
12   and never allowed “reunification services” as normally provided under Welfare &
13   Institutions Code § 300 et. seq. On or about Feb. 29, 2016, Michel H. Eisner, the other
14   defendants seq. Defendants filed a Falsefalse Juvenile Dependency Petition against
15   Plaintiff MJR and her children. 18. The restrained, CHILDREN and PLAINTIFF were
16   denied due process and were denied the , which resulted in them being denied their right
17   to present evidence on their behalf; denied their Due Process.
18      249.       The Los Angeles County DCFS’s basis for their petition for Juvenile
19          Dependency against the restrained, CHILDREN,Defendant MARPET was based
20          on an allegation that the parents were not good parents.
21      250.       re.: Lonisha T - withheld minute orders when I request them from her and
22          said she didn't have them - hired social worker investigator but the investigator
23          was never available, out sick, then out on vacation, did not return emails; I have a
24          voicemail proving that she purposely did not call me back until the morning of my
25          court case which was too late to ask me for what evidence I wanted to present -

26          said she got the date mixed up - was unavailable via phone and denied case

27          information requests sent via email

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        251.146. re.: Carvin Hall - told me that a therapist letter would be sufficient but then     Formatted: Indent: Left: 0", First line: 0.25"

2    denied it as evidence when I have it to him - refused to give me minute orders after
3    agreeing to email them to me. Ignored about 4 email requests for them - lied about
4    turning in paperwork so my kids would have funding whilepartial judge, in foster care.
5    Kids were without resources for four months - Claimed to be powerless in the case and
6    often said he was just doing what he was told when in actuality he had the power to
7    approve overnight visits for me with my children and to even encourage the case to be
8    dismissed based on his frequent interactions with me - was trying to put my kids up for
9    adoption behind my back and therefore was not putting forth effort to reunify me with my
10   family -essentially withholding evidence of my good character which would have worked
11   in my favor re.: Superior of Defendant DCFS’s Officers of the Court of California -
12   Commissioner Stephen Marpet - he is not impartial and favors DCFS - day. Day one in
13   his courtroom he yelled at mePlaintiff MJR and told meher to take medication without
14   even hearing my side of the story - does not allow me to speak in court - does not listen to
15   evidence or even seek evidence from my side and tries to silence me by not allowing me
16   to represent myself. He keeps assigning me public defendersPlaintiff MJR’s testimony;
17   she was denied her right to be heard and denied her right to present her case until she
18   agreed to Defendant HATAMIAN, as her counsel. Defendant MARPET repeatedly
19   assigned Public Defenders to Plaintiff MJR, who refuserefused to present myPlaintiff
20   MJR’s material evidence.
21      252.147. Defendants participated with all other defendantsDefendants and acted in
22   concert, and denied plaintiff due process in the court, and Denied plaintiffPlaintiff MJR
23   her Due Process, and denied Plaintiff MJR her right to bring up his childher children
24   without governmental interference. All of the defendants caused the results of the
25   constitutional rights violationsDefendants violated Plaintiffs Constitutional Rights and

26   each participated in the acts, while acting under color of law. Plaintiffs hereby allege that

27   EACH DEFENDANT “CAUSED” and “PARTICIPATED IN”each Defendant caused

28   and participated the acts or omissions regarding the facts herein alleged either by “direct
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     conduct, neglect or conspiracy”. (See Monell v. Department of Soc. Servs. (1978) 436 US         Formatted: Font: Italic

2    658, 56 L Ed 2d 611, 98 S Ct 2018; Pmerantz v County of Los Angeles (9th Cir 1982)              Formatted: Font: Italic

3    674 F2d 1288, 1291.
4       148.       TO ESTABLISH PERSONAL LIABILITYTo establish personal liability,
5    it is enough to show that an official, acting under color of state law, caused deprivation of
6    federal right. (See Kentucky v. Graham (1985) 473 US 159, 165, 87 L Ed 2d 114, 121,             Formatted: Font: Italic

7    105 S Ct 3099. Local governments, municipal corporations, and their agents acting under
8    color of “state” law (which may encompass implementation or enforcement of a
9    municipal, local law, regulation, POLICYpolicy, or custom, ARE “PERSONSare
10   “persons” subject to liability under 42 USC § 1983. See Monell v. Department of Soc.            Formatted: Font: Italic, Font color: Red

11   Servs. (1978) 436 US 658, 56 L Ed 2d 611, 98 S Ct 2018. See Monell v. Department of             Formatted: Font: Italic, Font color: Red

12   Soc. Servs. (1978) 436 US 658, 56 L Ed 2d 611, 98 S Ct 2018. California
13   COUNTIEScounties have been treated as municipalities for § 1983 purposes. See Moor              Formatted: Font: Italic

14   v. County of Alameda (1973) 411 US 693, 36 L Ed 2d 596, 93 S Ct 1785. Also, see                 Formatted: Font: Italic


15   Hernandez v. County of San Bernardino (2004) 117 CA4th 1055, 12 CR3d 452
16   (erroneous wage garnishment against plaintiff by county’s family support division may
17   render county liable under § 1983 if family support division is determined to be the
18   policymaker for the county.
19      253.149. Additionally, a PUBLIC ENTITYpublic entity may be held liable for a                 Formatted: Indent: Left: 0", First line: 0.25"


20   constitutional violation caused by a POLICY, CUSTOM, OR PRACTICEpolicy, custom,
21   or practice of the public entity. See Monell v. Department of Soc. Servs. 436 US at 690,        Formatted: Font: Italic


22   56 L Ed 2d at 635. Plaintiffs hereby allege that each defendant participated, caused,
23   conspired and acted under “color of law” to deprive plaintiffs of their constitutional
24   rightsConstitutional Rights based on the policies, customs and practices of the entities
25   sued as public entities, in addition to “malice” and intentional fraud” based on hatred

26   towards the race, creed and religion of plaintiffsPlaintiffs.

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        254.      The illegality of the restraint, custody or confinement, violation of
2          constitutional rights and conspiracy against plaintiff’s rights consists in the
3          following STATEMENT OF FACTS:
4       255.      A Juvenile detention hearing for the restrained, CHILDREN was held
5          recently at the CHILDREN’S Court in the County of Los Angeles.
6       256.      To sustain an action under Sec. 1983, a plaintiff must show (1) that the
7          conduct complained of was committed by a person acting under color of state law;
8          and (2) that the conduct deprived the plaintiff of a constitutional right. Rinker v.
9          Napa County, 831 F.2d 829, 831 (9th Cir.1987) (citing Parratt v. Taylor, 451 U.S.
10         527, 535, 101 S.Ct. 1908, 1912, 68 L.Ed.2d 420 (1981)). Plaintiff would review de
11         novo the district court's dismissal of plaintiff’s complaint under Rule 12(b)(6).
12         Shah v. County of Los Angeles, 797 F.2d 743, 745 (9th Cir.1986). A complaint           Formatted: Font: Italic

13         should not be dismissed under Rule 12(b)(6) "unless it appears beyond doubt that
14         the plaintiff can prove no set of acts in support of his claim which would entitle
15         him to relief." Conley v. Gibson, 355 U.S. 41, 45-46, 78 S.Ct. 99, 101-02, 2
16         L.Ed.2d 80 (1957). Dismissal can be based on the lack of a cognizable legal theory
17         or the absence of sufficient facts alleged under a cognizable legal theory.
18         Robertson v. Dean Witter Reynolds, Inc., 749 F.2d 530, 533-34 (9th Cir.1984). On       Formatted: Font: Italic


19         a motion to dismiss, the court accepts the facts alleged in the complaint as true.
20         Shah, 797 F.2d at 745. Plaintiffs claim that defendants breached a duty to protect
21         the children and her parental rights imposed by the due process and equal
22         protection clauses of the Fourteenth Amendment, and further claims a violation by
23         defendants of his right to have a thorough investigation by the defendant County
24         of Los Angeles employees. At all times mentioned defendants had a “special
25         relationship” with plaintiff in that they owed plaintiff a duty and each of them

26         breached their duty owed to plaintiff by preventing, dissuading, and conspiring

27         against the constitutional rights of plaintiff and her daughter. Summarily

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            defendants conspired “in concert” to deprive the plaintiff parents of their
2           constitutional right to bringing up her children and her parental rights.
3       257.150. The heart of Plaintiff, plaintiffs’ civil rightsPlaintiffs’ Civil Rights claim is    Formatted: Indent: Left: 0", First line: 0.25"

4    that the DefendantDefendants, directors, supervisors, and employees for the County of
5    Los Angeles DCFSDefendant LA COUNTY conspired against plaintiffs to
6    “WRONGFULLY SEPARATE THE FAMILY WITHOUT THAT STANDARD
7    CAUSE OR PROCESS OF LAW,wrongfully separate the family without a standard of
8    care or process of law”, which is an abuseAbuse of process.Process. There is, in general,
9    no constitutional duty of state officials to protect members of the public at large from
10   crime and child neglect. See Martinez v. California, 444 U.S. 277, 284-85, 100 S.Ct. 553,        Formatted: Font: Italic

11   558-59, 62 L.Ed.2d 481 (1980); Ketchum, 811 F.2d 1243, 1247 (9th Cir.1987); Bowers v.            Formatted: Font: Italic
                                                                                                      Formatted: Font: Italic
12   DeVito, 686 F.2d 616, 618 (7th Cir.1982). However, such a duty may arise by virtue of a
13   "special relationship" between state officials and a particular member of the public.
14   Ketchum, 811 F.2d at 1247; Escamilla v. Santa Ana, 796 F.2d 266, 269 (9th Cir.1986).             Formatted: Font: Italic
                                                                                                      Formatted: Font: Italic
15   Several courts have held that, to determine whether a "special relationship" exists, a court
16   may look to a number of factors, including (1) whether the state created or assumed a
17   custodial relationship toward the plaintiff; (2) whether the state affirmatively placed the
18   plaintiff in a position of danger; (3) whether the state was aware of a specific risk of harm
19   to the plaintiff; or (4) whether the state affirmatively committed itself to the protection of
20   the plaintiff. See Ketchum, 811 F.2d at 1247; Escamilla, 796 F.2d at 269-70; Jensen v.           Formatted: Font: Italic
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21   Conrad, 747 F.2d 185, 194 (4th Cir.1984).                                                        Formatted: Font: Italic

22      258.151. In this particular circumstance, Defendants violated Plaintiff’sPlaintiffs’
23   rights to equal privileges and protection of the laws in that Defendants failed to provide a
24   Fair Trialfair trial for Plaintiff MJR, prevented Plaintiff MJR from presenting evidence in
25   the trial. Thereafter, defendantsDefendants placed Plaintiff’s childPlaintiff MJR’s

26   children in a home with convicted criminals, knowing that they were likely to endanger

27   Plaintiff’s child.Plaintiff MJR’s children.

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        259.152. Additionally, Defendants prevented Plaintiff MJR from having adequate
2    visits with her childchildren (PC § 278.5) and never allowed “reunification services” as
3    normally provided under Welfare & Institutions Code § 300 et. seq..
4       260.153. In the recent case of DeShaney v. Winnebago County of Department of                 Formatted: Font: Italic

5    Social Services, 489 U.S. 189, 109 S.Ct. 998, 103 L.Ed.2d 249 (1989), however, the
6    Supreme Court limited the circumstances giving rise to "a special relationship." Joshua
7    DeShaney fell into a life-threatening coma after he was severely beaten by his father.
8    Prior to this beating, the social services agency recorded multiple incidents indicating that
9    someone in the DeShaney household was physically abusing Joshua and temporarily
10   placed Joshua in the custody of the juvenile court. In the course of explaining its holding
11   that Joshua DeShaney and his mother failed to make out an actionable Sec. 1983 claim,
12   the Court explained that its previous decisions recognizing "affirmative [constitutional]
13   duties of care and protection.... stand only for the proposition that when the State takes a
14   person into its custody and hold him there against his will, the Constitution imposes upon
15   it a corresponding duty to assume some responsibility for his safety and general
16   wellbeing.... The affirmative duty to protect arises not from the State's knowledge of the
17   individual's predicament or from its expressions of intent to help him, but from the
18   limitation which it has imposed on his freedom to act on his own behalf." Id. 109 S.Ct. at      Formatted: Font: Italic


19   1005-06. We conclude that the state'sState's knowledge of DeShaney's plight and its
20   expressions of intent to help him were no greater than its knowledge of Balistreri's plight
21   and its expressions of intent to help her. See id. at 1010-11 (Brennan, J., dissenting)         Formatted: Font: Italic
                                                                                                     Formatted: Font: Italic
22   ("Wisconsin law invites--indeed, directs--citizens and other governmental entities to
23   depend on local departments of social services such as respondent to protect children
24   from abuse.... Through its child-protection program, the State actively intervened in
25   Joshua's life and, by virtue of this intervention, acquired ever more certain knowledge

26   that Joshua was in grave danger.").

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5    SECOND CAUSE VIOLATION OF 42 U.S.C. 1985(3) against ALL DEFENDANTS
6
                          (Against all Defendant)
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                                                                                                    of the same style, Line spacing: single
7       261.154. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as
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8    though fully set forth herein.
9       155.        Section 1985, (1)Preventing officer from performing duties:
10          If two or more persons in pertinent part, prohibits conspiracies eitherany State or
11   Territory conspire to prevent, by force, intimidation, or threat, any person from accepting
12   or holding any office, trust, or place of confidence under the United States, or from
13   discharging any duties thereof; or to induce by like means any officer of the United States
14   to leave any State, district, or place, where his duties as an officer are required to be
15   performed, or to injure him in his person or property on account of his lawful discharge
16   of the duties of his office, or while engaged in the lawful discharge thereof, or to injure
17   his property so as to molest, interrupt, hinder, or impede him in the discharge of his
18   official duties;
19          156.    (2)Obstructing justice; intimidating party, witness, or juror:
20          262.    If two or more persons in any State or Territory conspire to deter, by force,   Formatted: Indent: First line: 0.5", No bullets or
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21   threat, or intimidation, or threat, any party or witness in any court of the United States
22   from attending such court, or from testifying to any matter pending therein, freely, fully,
23   and truthfully in a federal court, or to injure anysuch party or witness in his person or
24   property because heon account of his having so attended or testified in federal court., or
25   to influence the verdict, presentment, or indictment of any grand or petit juror in any such

26   court, or to injure such juror in his person or property on account of any verdict,

27   presentment, or indictment lawfully assented to by him, or of his being or having been

28   such juror; or if two or more persons conspire for the purpose of impeding, hindering,
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     obstructing, or defeating, in any manner, the due course of justice in any State or
2    Territory, with intent to deny to any citizen the equal protection of the laws, or to injure
3    him or his property for lawfully enforcing, or attempting to enforce, the right of any
4    person, or class of persons, to the equal protection of the laws;                               Formatted: Font: Not Bold

5           157.   Finally, by virtue (3)Depriving persons of 42 U.S.C. § 1985(3)rights or
6           privileges:
7       263.       If two or more persons are said to have conspired to deprive a third
8           person’s rights or privileges if such personsin any State or Territory conspire to:
9       264.       or go in disguise on the highway or on the premises of another, for the
10          purpose of depriving, either directly or indirectly, any person or class of persons of
11          the equal protection of the laws, or theof equal privileges and immunities provided
12          under the laws;
13      265.       under the laws; or for the purpose of preventing or hindering the constituted
14          authorities of any State or Territory from giving or securing to all persons within
15          such State or Territory the equal protection of the laws; or if two or more persons
16          conspire to prevent by force, intimidation, or threat, any citizen who is lawfully
17          entitled to vote as an elector in, from giving his support or advocacy in a legal
18          manner, toward or in favor of the election of any lawfully qualified person as an
19          elector for President or Vice- President, or membersas a Member of Congress;
20          266.   injure any citizen in person or property on account of support or advocacy        Formatted: Indent: First line: 0.5", No bullets or
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21   rendered to voters in the election of President or Vice-President, or members of Congress
22   of the United States; or to injure any citizen in person or property on account of such
23   support or advocacy; in any case of conspiracy set forth in this section, if one or more
24   persons engaged therein do, or cause to be done, any act in furtherance of the object of
25   such conspiracy, whereby another is injured in his person or property, or deprived of

26   having and exercising any right or privilege of a citizen of the United States, the party so

27   injured or deprived may have an action for the recovery of damages occasioned by such

28   injury or deprivation, against any one or more of the conspirators.                             Formatted: Font: Not Bold

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        267.158. If as a result of the conspiracy, one or more persons are injured in person or     Formatted: Indent: Left: 0", First line: 0.25"

2    property, or is deprived of any of their rights or privileges, the party so injured or
3    deprived may have an action for the recovery of damages, against the conspirators.
4    However, it is necessary that a plaintiff suing under 42 U.S.C. § 1985 should show the
5    existence of a conspiracy. The existence of a conspiracy may also be inferred from the
6    surrounding circumstances.                                                                     Formatted: Font: Not Bold

7       268.159. State limitation periods apply to actions brought pursuant to 42 U.S.C. §
8    1985. The plaintiff must plead facts with specificity and particularity. Nominal,
9    compensatory, and punitive damages are available to successful § 1985
10   plaintiffsPlaintiffs.                                                                          Formatted: Font: Not Bold

11      269.160. The above-listed defendantsDefendants have a policy, custom, and pattern
12   of practice, and act under color of law in their capacities as employees for local, county
13   and state public entities, and on a daily basis falsify reports, to engage in acts of
14   abuseAbuse of process, toProcess, defraud the general public by filing false reports in the
15   juvenile courts for the CountyJuvenile Dependency Court to justify excessive
16   expenditures of taxpayers’ money and to fail to notify the courts as to the truth of matters
17   and circumstances as their informed. Defendants conspired to deprive plaintiffsPlaintiff
18   MJR of their constitutional righther Constitutional Right to bring up her childchildren
19   without governmental interference and her right to bring her child in general..
20   Defendants and each of them, knowingly and willfully conspired, “acted in concert” and
21   agreed among themselves to damage the plaintiff beharm Plaintiff MJR by depriving
22   himher of the privileges and rights within the Constitution of the United States of
23   America, because she belongs to a protected class and because of HERher religious
24   beliefs and creed. On or about Feb. 29, 2016, defendants made comments about race and
25   socioeconomic status-that "black women are supposed to be strong "Defendants stated

26   "That plaintiff should have gone to school and got married before having kids".                Formatted: Font: Not Bold


27      270.        Carvin Hall denied children financial support. Plaintiff’s oldest daughter

28          was physically abused in foster care and Carvin Hall attempted to suppress this
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            information Sonia Valiente misrepresented who she was and covered up child
2           abuse that was inflicted by the County, Social Workers and by Foster parents as
3           well Mary Theresa Meza and Sonia Valientes.
4       161.       On or about Feb. 29, 2016, Defendants made comments about race and
5    socioeconomic status "black women are supposed to be strong "Defendants stated "That
6    plaintiffs should have gone to school and got married before having kids".
7       271.162. Defendant DCFS’s Social Workers falsified their Detention reportReports            Formatted: Indent: Left: 0", First line: 0.25"

8    and Jurisdictional Reports and made unreasonable searched in plaintiff’s home, without a
9    warrant, and without justified cause. Sonia also embellished her reports, left out pertinent
10   information regarding the children’s fatherKernell in order to favorreflect him, and in a
11   positive light, lied to plaintiff about how to get my children back byPlaintiff MJR
12   recommending a specific mental health facility to go to.therapy to get her children back,
13   never attempted to reunify Plaintiff MJR and her children, and made unreasonable
14   searches in Plaintiff MJR’s home, without a warrant, and without justified cause. She did
15   not attempt to reunify plaintiff with the children as she had promised.                        Formatted: Font: Not Bold


16      272.       She conspired with the child's father and encouraged him to lie about
17          plaintiff, by telling him he could get custody and be relieved of child support
18          obligation. Defendants further covered up evidence that the children was abused
19          while in foster care.
20      273.       ON OR 02/29/16, the Superior Court of California for the County of Los
21          Angeles, Juvenile Court ORDERED that the DCFS be AUTHORIZED TO
22          DETAIN PLAINTIFF’S CHILDREN without a valid cause. The Governor of
23          California and owes a duty to Plaintiff to ascertain that the state does not MAKE
24          NOR ENFORCE ANY LAW THAT ABRIDGES THE RIGHTS OF THE
25          CITIZENS. However, The Governor did endorse, contribute, and enforce the

26          statutes within Welfare & Institutions Code §§ 300-378, which involve “one-

27          sided” and unconstitutional Juvenile Dependency Laws that allow Social Workers

28          to take a parents children without a warrant, that allow warrants to be issued
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           without probable cause, that allow the quartering of Soldiers or Social Workers in
2          the homes of families, and allow the violation of the Due Process Right of a Parent
3          to Bring up a child without governmental interference.
4       274.      re.: Lonisha T - withheld minute orders when I request them from her and
5          said she didn't have them - hired social worker investigator but the investigator
6          was never available, out sick, then out on vacation, did not return emails; I have a
7          voicemail proving that she purposely did not call me back until the morning of my
8          court case which was too late to ask me for what evidence I wanted to present -
9          said she got the date mixed up - was unavailable via phone and denied case
10         information requests sent via email re.: Carvin Hall - told me that a therapist letter
11         would be sufficient but then denied it as evidence when I have it to him - refused
12         to give me minute orders after agreeing to email them to me. Ignored about 4
13         email requests for them - lied about turning in paperwork so my kids would have
14         funding while in foster care. Kids were without resources for four months -
15         Claimed to be powerless in the case and often said he was just doing what he was
16         told when in actuality he had the power to approve overnight visits for me with my
17         children and to even encourage the case to be dismissed based on his frequent
18         interactions with me - was trying to put my kids up for adoption behind my back
19         and therefore was not putting forth effort to reunify me with my family -
20         essentially withholding evidence of my good character which would have worked
21         in my favor re.: Superior Court of California - Commissioner Stephen Marpet - he
22         is not impartial and favors DCFS - day one in his courtroom he yelled at me and
23         told me to take medication without even hearing my side of the story - does not
24         allow me to speak in court - does not listen to evidence or even seek evidence
25         from my side and tries to silence me by not allowing me to represent myself. He

26         keeps assigning me public defenders who refuse to present my evidence.

27      163.      Commencing Feb. 29, 2016, Commencing February 29, 2016, the Superior

28   Court of California for Defendant LA COUNTY, Juvenile Dependency Court ordered
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     that Defendant DCFS be authorized to detain Plaintiff MJR’s children without a valid
2    cause. The aforementioned government agencies owed a duty of care to Plaintiff MJR to
3    ensure that Defendant State of California does not make nor enforce any laws that
4    abridges the rights of the citizens.
5       275.       During the same time, Defendants made false statements to the public in
6           regards to plaintiff’sPlaintiff MJR’s criminal history, as means in preventing
7           plaintiffPlaintiff MJR from obtaining gainful employment.
8       276.         Additionally, Defendants prevented Plaintiff fromMJR adequate visits
9           with her children (PC § 278.5) and never allowed “reunification services” as
10          normally provided under Welfare & Institutions Code § 300 et. seq. On or about
11          Feb. 29, 2016, Defendant Michel H. Eisner, the other defendantsseq. Defendants
12          filed a Falsefalse Juvenile Dependency Petition against Plaintiff MJR and her
13          children.
14      277.164. The restrained, CHILDREN and PLAINTIFF were denied due process and               Formatted: Indent: Left: 0", First line: 0.25"


15   were denied the , which resulted in them being denied their right to present evidence on
16   their behalf. ; denied their Due Process.                                                    Formatted: Font: Not Bold


17      278.       The Los Angeles County DCFS’s basis for their petition for Juvenile
18          Dependency against the restrained, CHILDREN, was based on an allegation that
19          the parents were not good parents.
20      165.       Defendant MARPET was a partial judge, in favor of Defendant DCFS’s
21   Officers of the Court. Day one in his courtroom he yelled at Plaintiff MJR and told her to
22   take medication without even hearing Plaintiff MJR’s testimony; she was denied her right
23   to be heard and denied her right to present her case until she agreed to Defendant
24   HATAMIAN, as her counsel. Defendant MARPET repeatedly assigned Public
25   Defenders to Plaintiff MJR, who refused to present Plaintiff MJR’s material evidence.

26      279.166. Defendants participated with all other defendantsDefendants and acted in         Formatted: Indent: Left: 0", First line: 0.25"


27   concert, and denied plaintiff due process in the court, and Denied plaintiffPlaintiff MJR

28   her Due Process, and denied Plaintiff MJR her right to bring up his childher children
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     without governmental interference. All of the defendants caused the results of the
2    constitutional rights violationsDefendants violated Plaintiffs Constitutional Rights and
3    each participated in the acts, while acting under color of law.                                  Formatted: Font: Not Bold

4       167.       Plaintiffs hereby allege that EACH DEFENDANT “CAUSED” and
5    “PARTICIPATED IN”each Defendant caused and participated the acts or omissions
6    regarding the facts herein alleged either by “direct conduct, neglect or conspiracy”. (See
7    Monell v. Department of Soc. Servs. (1978) 436 US 658, 56 L Ed 2d 611, 98 S Ct 2018;             Formatted: Font: Italic

8    Pmerantz v County of Los Angeles (9th Cir 1982) 674 F2d 1288, 1291. TO ESTABLISH                 Formatted: Font: Italic

9    PERSONAL LIABILITY
10      280.168. To establish personal liability, it is enough to show that an official, acting       Formatted: Indent: Left: 0", First line: 0.25"

11   under color of state law, caused deprivation of federal right. (See Kentucky v. Graham           Formatted: Font: Italic

12   (1985) 473 US 159, 165, 87 L Ed 2d 114, 121, 105 S Ct 3099. Local governments,                   Formatted: Font: 9 pt

13   municipal corporations, and their agents acting under color of “state” law (which may
14   encompass implementation or enforcement of a municipal, local law, regulation,
15   POLICYpolicy, or custom, ARE “PERSONSare “persons” subject to liability under 42
16   USC § 1983. See Monell v. Department of Soc. Servs. (1978) 436 US 658, 56 L Ed 2d                Formatted: Font: Italic


17   611, 98 S Ct 2018. California COUNTIEScounties have been treated as municipalities for           Formatted: Font: 9 pt


18   § 1983 purposes. See Moor v. County of Alameda (1973) 411 US 693, 36 L Ed 2d 596,                Formatted: Font: Italic


19   93 S Ct 1785. Also, see Hernandez v. County of San Bernardino (2004) 117 CA4th 1055,             Formatted: Font: Italic


20   12 CR3d 452 (erroneous wage garnishment against plaintiff by county’s family support
21   division may render county liable under § 1983 if family support division is determined          Formatted: Font: 13 pt


22   to be the policymaker for the county.                                                            Formatted: Font: Not Bold


23      281.169. Defendants, and each of them, maintain, and at all times relevant to this            Formatted: Font color: Auto


24   Complaint maintained, customs and practices which were the driving force behind their
25   conspiracy to interfere with Plaintiff'sPlaintiff MJR’s civil rights in violation of 42 U.S.C.   Formatted: Font color: Auto


26   section 1985. Such customs and practices include unlawful removal of minor children;             Formatted: Font color: Auto


27   and the procuring of false testimony, fabrication of evidence, and refusal to disclose

28   exculpatory evidence in preparing and presenting reports and documents to the court in
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     relation to dependency proceedingsCourt, all in violation of the right to familial              Formatted: Font color: Auto

2    association under the Due Process Clause of the Fourteenth Amendment.                           Formatted: Font: Not Bold

3       282.170. Defendants and each of them, have, and at all times relevant to this                Formatted: Font color: Auto

4    complaint had, knowledge of the customs and practices that led to the conspiracy to
5    interfere with Plaintiff's civil rights. [ All named defendants]Defendants knew that the        Formatted: Font color: Auto
                                                                                                     Formatted: Font color: Auto
6    other individual defendants were conspiring to commit theCo-Defendants’ wrongs noted            Formatted: Font color: Auto
7    above,to be committed and that they were going to commit them.                                  Formatted: Font color: Auto
                                                                                                     Formatted: Font color: Auto
8       283.171. Defendants, and each of them, had the power to prevent the commission of            Formatted: Font: Not Bold
9    these wrongs, through the notification of the proper superiors and authorities, and/or          Formatted: Font color: Auto

10   through the implementation of policies, procedures, and training programs that would
11   educate and enlighten employees as to the civil rights of the citizens of the United States
12   and the State of California.                                                                    Formatted: Font: Not Bold

13      284.172. Despite their knowledge, Defendants, and each of them, refused or                   Formatted: Font color: Auto

14   neglected to prevent the remaining Defendants from committing these wrongs in
15   violation of 42 U.S.C. section 1985.                                                            Formatted: Font: Not Bold


16      285.173. Defendants, and each of them, engaged in said conspiracies for the purpose          Formatted: Left, Indent: Left: 0", First line: 0.25", Add
                                                                                                     space between paragraphs of the same style, Don't
                                                                                                     hyphenate, Adjust space between Latin and Asian text, Adjust
17   of depriving Plaintiffs of equal protection of the laws of the State of California and of the   space between Asian text and numbers

18   United States and depriving them of their rights under the Constitutions of the United
19   States and the State of California.
20      286.174. Defendants, and each of them, acting under color of state law, conspired to
21   deprive and did deprive, PlaintiffPlaintiffs of her rights under the laws of the United
22   States. Specifically, Defendants conspired to, and did act, agree and/or conspire to
23   unlawfully examine, investigate, threaten, and make false reports resulting in the removal
24   of the minor child from the custody of Plaintiff. MJR. In addition, Defendants, and each
25   of them, conspired to use trickery, duress, fabrication and/or false testimony or evidence

26   and failed to disclose exculpatory evidence in preparing and presenting reports and court

27   documents to the court.

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         287.175. Defendants, and each of them, took several acts in furtherance of the
2    conspiracy, including but not limited to, acting, agreeing and/or conspiring to unlawfully
3    examine, investigate, threaten, and make false reports resulting in the removal of the
4    minor child from the custody of Plaintiff MJR; and by procuring false testimony,
5    fabricating evidence, suppress evidence, and failing to disclose exculpatory evidence in
6    preparing and presenting reports and court documents to the court in relation to [minor
7    child's] dependency proceedings.
8        288.176. Children’s Attorney of Los Angeles has conspired with the Attorney for
9    the County and the Department of Children and Family Services to suppress evidence
10   that the children have suffered no harm and want to come home and have continually
11   expressed their desire to return home to mother. Despite lacking any evidence of harm,
12   children are still being detained.
13       289.177. Defendants acted with malice and with the intent to cause injury to
14   PlaintiffPlaintiffs or acted with a willful and conscious disregard to the rights of
15   PlaintiffPlaintiffs in a despicable, vile, and contemptible manner.
16       290.178. Plaintiff'sPlaintiffs’ injuries were the direct and proximate result of the           Formatted: Font color: Auto


17   actions of [Defendants], which could have, through reasonable diligence, been prevented.           Formatted: Font color: Auto
                                                                                                        Formatted: Font color: Auto
18       291.179. As the direct and proximate result of the Defendants' actions, Plaintiff              Formatted: Font color: Auto

19   hasPlaintiffs have suffered and will continue to suffer, physical, mental, and emotional
20   injury, all to an extent and in an amount subject to proof at trial.. Plaintiff has also
21   incurred and will continue to incur, attorneys' fees, costs and expenses, including those
22   authorized by 42 U.S.C. section 1988, to an extent and in an amount subject to proof at
23   trial..
24             292.180.      As a result, Plaintiff isPlaintiffs are entitled to an award of punitive   Formatted: Left


25             damages for the purpose of punishing Defendants and to deter them and others in

26             the future.

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1     THIRD CAUSE OF ACTION FOR VIOLATION OF 42 U.S.C. 1986 against ALL                              Formatted: Centered, Don't add space between paragraphs
                                                                                                     of the same style, Line spacing: single
2                                       DEFENDANTS
                                   (Against All Defendants)
3      293.181. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as        Formatted: Indent: Left: 0", First line: 0.25"

4    though fully set forth herein.
5       294.182. Every person who, having knowledge that any of the wrongs conspired to
6    be done, and mentioned in section 1985 of this title, are about to be committed, and
7    having power to prevent or aid in preventing the commission of the same, neglects or
8    refuses so to do, if such wrongful act be committed, shall be liable to the party injured, or
9    his legal representatives, for all damages caused by such wrongful act, which such person
10   by reasonable diligence could have prevented; and such damages may be recovered in an
11   action on the case; and any number of persons guilty of such wrongful neglect or refusal
12   may be joined as defendants in the action; and if the death of any party be caused by any
13   such wrongful act and neglect, the legal representatives of the deceased shall have such
14   action therefortherefore, and may recover not exceeding $5,000 damages therein, for the
15   benefit of the widow of the deceased, if there be one, and if there be no widow, then for
16   the benefit of the next of kin of the deceased. But no action under the provisions of this
17   section shall be sustained which is not commenced within one year after the cause of
18   action has accrued.
19      183.       The following Defendants had the power by reasonbale diligence to prevent
20   the wrongdoings or to stop the wrongdoing; yet, the wrongdoing was ignored, or they
21   neglected and/or refused to prevent the wrongdoing:
22      184.       Defendant SUN, Judge of the Superior Court of Los Angeles County,
23   Juvenile Dependency Court, acting under color of law, was to determine issues such as
24   whether certain facts are true, whether the children should be removed from Plaintiff
25   MJR, what types of services should be offered to the family and whether the child should

26   be returned to the family and the community or placed permanently in another setting.

27   Defendant SUN could have prevented the wrongfuldoing, as soon as, it was determined

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     that the Court did not have subject matter jurisdiction; yet, Defendant SUN failed to
2    dismiss and allowed the wrongdoing against Plaintiff to cointinue on.
3       185.       Defendant MARPET, Commissioner of the Superior Court of Los Angeles
4    County, Juvenile Dependency Court, acting under color of law, is an attorney selected by
5    the judges of the court to perform various judicial functions as prescribed by law and
6    given powers to hear and make decisions concerning certain legal matters, including
7    family and juvenile court cases… However, in Plaintiff MJR and her children’s Juvenile
8    Dependency Case, Defendant MARPET had a disregard for applying statutory law in the
9    interest of the children when making a ruling, which contributed to the ongoing
10   wrongdoing of Defendants.
11      186.       Defendant SANDATE, an employee of Defendant LAPD, acting under
12   color of law, failed to acknowledge and enforce a Restraining Order to protect Plaintiff
13   MJR and her children against children’s father (“Kernell”), properly investigate, falsely
14   imprisoned Plaintiff MJR, unlawfully detained Plaintiff MJR’s children, falsified a
15   report, and committed perjury on the stand, which resulted in Plaintiff MJR’s children
16   being removed from her home to present.
17      187.       Defendant CAGLE was the Director of the Los Angeles County Defendant
18   DCFS, acting under color of law and at all times relevant to Plaintiff MJR and her
19   children’s Juvenile Dependency Case, Defendant CAGLE was a government employee
20   for Defendant LA COUNTY, that had a duty to protect Plaintiffs and to ensure that
21   Plaintiffs’ constitutional rights were not violated. Also, Plaintiff CAGLE was Defendant
22   LA COUNTY’s Foster Care System official, responsible for the proper operation of the
23   Foster Care System and to ensure that the system operated in accordance with Federal
24   and State laws, for which the federal government provides annual funding to operate the
25   system.

26      188.       Defendant HATAMIAN, Plaintiff MJR’s Court Appointed Attorney, by

27   Defendant MARPET, acting under color of law, and represented Plaintiff MJR at all

28   times relevant to the Juvenile Dependency Case involving Plaintiffs SB and PB.
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     Defendant HATAMIAN suppressed evidence, denied Plaintiff MJR’s right to be heard;
2    moreover, denied Plaintiff MJR a fair trial.
3       189.       As a proximate result of Defendants’ actions, Plaintiffs have suffered
4    severe anguish, stress, anxiety and general damages.
5       190.       Plaintiffs allege that such severe emotional distress has included without
6    limitations embarrassment, anger, chagrin, disappointment, shame, worry, nausea and
7    other forms of mental and emotional anguish.
8       191.       As a direct and proximate result of the aforementioned conduct of
9    Defendants, Plaintiffs have suffered economic, psychological, emotional, and physical
10   damages.
11      192.       Pursuant to California Civil Code §3294 “where is it proven by clear and
12   convincing evidence that Defendants are guilty of oppression, fraud, or malice, Plaintiffs,
13   in addition to the actual damages, may recover damages for the sake of example and by
14   way of punishing Defendants.”
15      193.       Defendants’ conduct intentionally and recklessly caused extreme emotional
16   distress to Plaintiffs and have been intentional, malicious and oppressive, thereby
17   entitling Plaintiffs to recover punitive damages.
18      194.       Plaintiffs are obligated to retain legal counsel and to expend or incur
19   liability for costs of suit, attorney’s fees, and related expenses.
20                                                                                                 Formatted: Indent: First line: 0"


21      FOURTH CAUSE OF ACTION FOR MONELL RELATED CLAIMS (LAW
        ENFORCEMENT EXCESSIVE FORCE/FALSE IMPRISONMENT/SOCIAL
22
        WORKER MISCONDUCT/PROSECUTORY MISCONDUCT) against ALL
23                            DEFENDANTS
                          (Against All Defendants)
24                                                                                                 Formatted: Centered, Don't add space between paragraphs
                                                                                                   of the same style, Line spacing: single
25      295.195. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as
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26   though fully set forth herein.

27      296.196. Monell claims are aimed at the government entity as the employer,

28   supervisor and policymaker. To successfully sue under the Monell doctrine and hold the
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     city (or other government entity) liable for an officer's actions, the plaintiff must first
2    show the officer violated a clearly established constitutional right.Constitutional Right.
3    Defendants denied Plaintiff MJR Due Process, under the fifth and fourteenth
4    Amendments to the United States Constitution.
5       297.197. The Monell decision allows plaintiffs a method to sue municipalities for
6    unconstitutional policies and practices that led to an incident that harmed an individual or
7    group. • Employees may be sued individually for misconduct.
8       298.198. The agency failed to investigate and used the same old “recycled copy and
9    pastedpaste “allegations which were unsubstantiated in an old case. They carried over old
10   lies from a previous case to a recent case with Symhony BPlaintiffs SB and Preston BPB.
11   At every hearing the prosecution failsfailed to present any evidence or present evidence
12   that children are in danger. They just show up for court late, and wink at the judge, while
13   they grant them anything that they can dream up.
14      199.       Plaintiff MJR and her children became homeless due to financial hardship.
15      200.       On February 2016, Plaintiff MJR told her therapist; Defendant DCFS, ER
16   Social Worker, Monica Rosenblum (“Rosenblum”), that she has been doing poorly in
17   school and had wanted to drop her class. Rosenblum falsely reported to Defendant DCFS
18   that Plaintiff MJR had expressed or implied that she planned on harming her kids.
19      201.       On February 23, 2016, Plaintiff MJR was referred to Kedren Community
20   Health Center. On or about February 29, 2016, Michel H. Eisner, Deputy County
21   Counsel, collectively with Co-Defendants filed a false Juvenile Dependency Petition
22   against Plaintiff MJR and her children.
23      202.       On or about February 29, 2016, Defendant MARPET announced false
24   statements to the public regarding Plaintiff MJR’s criminal history, as means of
25   preventing Plaintiff MJR from obtaining gainful employment. Additionally, Defendant

26   DCFS prevented Plaintiff MJR from adequate visits with her children and never allowed

27   "reunification services."

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        203.       On March 22, 2016, despite the many letters from Plaintiff MJR’s
2    Psychologist stating that she was fit to care for her children, Juvenile Dependency Court
3    unlawfully found that Plaintiffs MR and HR were children described by section 300,
4    subdivision (b)(l) without a valid cause. The sustained Section 300 Petition documented
5    that Plaintiff MJR suffered from mental and emotional problems that rendered her
6    incapable of providing regular care for Plaintiff MR and HR.
7       204.       On March 27, 2016, after Plaintiff MR informed her mother, Plaintiff MJR,
8    that her Foster Parent spanked her, the police and Defendant DCFS’s Social Worker
9    stated that they found no evidence of abuse and returned Plaintiff MJR’s children to that
10   Foster Parent. However, the next month, April 06, 2016, Plaintiff MJR’s children were
11   placed with their maternal grandmother, Plaintiff JR. Plaintiff MJR continued with
12   therapy and despite the reports of Plaintiff MJR’s compliance and good mental health, on
13   September 20, 2017, Defendant DCFS recommended terminating family reunification
14   services.
15      205.       Based on a misunderstanding, which escalated to a phsycial altercation with
16   Plaintiff MJR and her grandmother, on November 15, 2017, Defendant DCFS filed an
17   Ex-Parte Application pursuant to section 385 to modify Plaintiff MJR’s visitations from
18   unmonitored to monitored. On February 13, 2018, Plaintiff MJR’s family reunification
19   services were terminated. In May 2019, the Court ordered legal guardianship for
20   Plaintiffs MR and HR with Plaintiff JR.
21      206.       2016 Plaintiff MJR began a relationship with Kernell, who eventually
22   became very abusive; she was a victim of domestic violence. Plaintiff MJR called the
23   Police on several occasions and Kernell was never taken to jail. Plaintiff MJR was
24   working two (2) jobs, preparing to leave Kernell. Kernell was suspecting that she was
25   planning to leave him and he began accusing her of cheating and the abusive escalated.

26   On September 19, 2018, during an argument, Kernell began hitting Plaintiff MJR with his

27   baseball bat, stripped her naked and threw her outside, where neigbor came to her rescue.

28   Kernell was finally arrested.
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        207.       On October 20, 2018, Plaintiff MJR had to call the police to get Kernell’s
2    adult daughter to leave the home after Kernell gave her the keys to enter Plaintiff MJR’s
3    home. On October 26, 2018, Plaintiff MJR was granted a Restraining Order against
4    Kernell and his adult daugther, as well as, sole physical custody of minor children,
5    Plaintiffs SB and PB. On December 23, 2018, Kernell and his daughter came back to
6    Plaintiff MJR 's home, despite the Restraining Order, to abuse Plaintiff MJR forcing her
7    to use a deadly weapon, acting in self-defense. Kernell and his daughter called the police
8    and Defendant SANDATE arrested Plaintiff MJR, the Domestic Violence victim, and
9    ignored the fact the Kernell and his daugther violated their Restraining Order. Defendant
10   SANDATE also refused to take neigbors testimonies.
11      208.       On December 23, 2018, Defendant DCFS received a referral alleging that
12   Plaintiffs SB and PB were victims of emotional abuse, due to a reported altercation
13   between mother and father, falsely stating that mother attempted to attack father with a
14   butcher knife and she was arrested.
15      209.       On January 2019, Defendant DCFS’s Social Worker reported after an
16   unannounced visit at Plaintiff MJR’s home and found that Plaintiff MJR and her two
17   minor children, Plaintiff SB and PB, were no longer in the home. In an effort to protect
18   Plaintiff MJR and her minor children from Kernell, Plaintiff MJR moved to North
19   Carolina, her home state.
20      210.       On February 14, 2019, Defendant DCFS filed a Section 300 Petition on
21   behalf of Plaintiff MJR’s children, Plaintiffs SB and PB. The Petition falsely alleged that
22   the children “were at substantial risk of suffering serious physical harm based on the
23   violent physical and verbal altercation between mother and father…” Plaintiff MJR and
24   children were safely living in North Carolina.
25      211.       On February 15, 2019, neither parent, Plaintiff MJR nor Kernell, appeared

26   for the Detention Hearing due to never receiving a Notice. Defendant DCFS did not

27   exercise due diligence in attempting to locate Plaintiff MJR. The Court made an order to

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     detain the children, Plaintiffs SB and PB, issued protective custody warrants for the
2    children, and a no-bail arrest warrant for Plaintiff MJR.
3       212.       On July 31, 2019, Plaintiff MJR was in Los Angeles, California to address
4    criminal charges pending against her; Plaintiff MJR was exonerated of all charges by an
5    impartial jury who decided that Plaintiff MJR was acting in self-defense in her own
6    home. At the trial, Defendant SANDATE committed perjury during his testimony.
7       213.       After trial, Plaintiff MJR returned for her children at Kernell’s sister’s
8    residence, Kernell had taken them, Plaintiff MJR went to Kernell residence to retreive her
9    children, where Kernell forcibly locked her inside his bathroom. Defendant MARPET
10   sent law Enforcement Officer, Defendant SANDATE and Defendant DCFS’s Social
11   Workers to Kernell’s home who refused to let them in without a warrant. That evening,
12   Defendant MARPET granted Defendant DCFS requests for an expedited removal
13   order…, which was without probable cause and they both knew that Plaintiff MJR was a
14   victim of domestic violence. Defendant DCFS’s Social Worker prepared a false report,
15   stating that Plaintiff MJR and Kernell were actively concealing the children. Plaintiff
16   MJR had sole custody and she and her children lived in North Carolina, where they are
17   safe against Kernell. Plaintiff MJR did not pose any threat to her children based on
18   actions taken in self-defense and charges dismissed. Defendant DCFS’s Social Workers
19   detained the children and Defendant SANDATE arrested Plaintiff MJR pursuant to the
20   no-bail arrest warrant. As a result, Plaintiff MJR and her children never returned to
21   North Carolina together again.
22      214.       On August 2, 2019, forty-eight (48) hours after the children were detained,
23   the Detention Hearing was continued without reason; therefore, Defendant MARPET,
24   after issuing a warrant to arrest Plaintiff MJR on a non-arrestable offense, held Plaintiff
25   MJR in prison longer than the forty-eight (48) hour, depriving her of substantive and

26   procedural Due Process Rights.

27      215.       On August 5, 2019, Defendant MARPET exacted cruel and unusual

28   punishment upon Plaintiff MJR, when he refused to allow her to return to the location
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     that contained her clothing and personal property. Defendant MARPET released Plaintiff
2    MJR from jail, where she had to wear a black paper suit as clothing. As a result of this
3    suit, Plaintiff MJR faced public shame and humiliation and was regarded as a criminal
4    although she never committed any crime.
5       216.       On August 23, 2019, Defendant DCFS filed an Amended Section 300
6    Petition on behalf of the children. The Amended Petition contained false allegations
7    against Plaintiff MJR. On December 17, 2019, the Court, along with its Officers of the
8    Court, conspired together to prevent the Court from receiving evidence in Plaintiff MJR's
9    favor. Defendant SUN denied Plaintiff MJR’s request to proceed pro se and refused to
10   hear her case until Plaintiff MJR agreed to Court-Appointed Attorney, Defendant
11   HATAMIAN, to represent her. Defendant SUN suppressed Plaintiff MJR's right to
12   present evidence and denied Plaintiff MJR’s her right to have a fair and unbiased hearing;
13   Plaintiff MJR was not allowed witnesses to present before the Court to testify on her
14   behalf. Moreover, Defendant SUN continued the case beyond the statutory limits, which
15   was to the convenience of the opposing side and to the detriment of Plaintiff MJR and her
16   children.
17      217.       On February 15, 2020, Defendant DCFS’s Social Worker Investigator,
18   Allen, provided a report with knowingly false statements and intentional omissions of
19   exculpatory evidence in order to obtain a court judgment against Plaintiff MJR.
20   Specifically, Defendant DCFS’s Social Worker falsely asserted that in December 2018,
21   Plaintiff MJR struck father’s back and chased him while holding a butcher knife and was
22   arrested for assault with a deadly weapon…
23      218.       Defendants maliciously omitted to inform the Court that Plaintiff MJR had
24   already obtained a Retraining Order against Kernell at the time of the incident and that
25   Plaintiff MJR has been relocated to North Carolina, far away from the aggressor, to

26   protect her and her children.

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        219.       Defendant CAGLE, signed the aforementioned reports that did not contain
2    any actual child abuse or neglect allegations to support a Petition under the Welfare and
3    Institutions Code of California.
4       220.       Defendant MARPET held a hearing for a continuance on his own motion,
5    January 2021, more than 18 months past the children’s detention on July 31, 2019.
6       221.       Defendant MATAMIAN did not present exculpatory evidence, he did not
7    cross-examine, he just merely denied Plaintiff MJR a fair trial and the Court agreed with
8    his decisions. As a result, the Court declared the children Dependents of the Court and
9    made an order to remove them from both parents’ custody. The Court ordered “no Family
10   Reunification Services for Plaintiff MJR.
11      222.       At the same hearing, although Plaintiff MJR was exonerated from all
12   charges due to self-defense, Defendant DCFS’s Social Workers committed perjury in
13   open Court and announced that Plaintiff MJR had been convicted of lesser charges.
14      223.       Also, Defendant MARPET assisted Defendant DCFS’s Social Workers
15   make their arguments by suggesting they re-word phrases in such a way as to make it
16   appear as if Plaintiff MJR was physically violent.
17      224.       At each hearing and trial, Plaintiff MJR requested in open Court that her
18   children be placed with their grandmother, Plaintiff JR and siblings, because it would be
19   in the best interest of the children to be with family and her request was denied.
20      225.       On February 27, 2020, Plaintiff MJR filed a Notice of Intent to file a
21   Petition for Writ, challenging the February 20, 2020, Court Orders.
22      226.       On June 05, 2020, Niti Gupta, assistant of Defendant HATAMIAN, filed a
23   letter to the Appeals Court stating that Plaintiff MJR could find no reason to file an
24   appeal.
25      227.       On June 5, 2020, Plaintiff MJR’s Counsel, Defendant HATAMIAN,

26   advised the Court that he was unable to file a Petition for Writ on behalf of Plaintiff MJR.

27      228.       On July 23, 2020, Plaintiff MJR, as an in pro per litigant, filed a Petition for

28   Extraordinary Writ Relief, pursuant to 8.452 in the Court of Appeal, seeking to challenge
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     the juvenile court’s jurisdiction and disposition orders at February 20, 2020, adjudication
2    hearing. In part of her brief, Plaintiff MJR. argues that there was insufficient evidence to
3    sustain the domestic violence and mental health allegations pursuant to WIC § 300,
4    subdivision (a) and (b). Plaintiff MJR pointed out that Defendant DCFS’s Social
5    Workers did not testify and the statements in the reports were hearsay.
6       299.       On October 21, 2020, the Court of Appeal granted Plaintiff MJR’s Petition
7           for Extraordinary Relief and concluded that the Court violated Plaintiff MJR’s
8           right to Due Process by denying her the opportunity to cross-examine the
9           Dependency Investigator and Social Workers. The Court guaranteed order that “A
10          peremptory writ of mandate shall issue directing the juvenile court to reverse its
11          jurisdictional findings sustaining counts b-1 and b-2, and dispositional orders as to
12          Plaintiff MJR only, entered on February 20, 2020. In addition, the court shall
13          vacate any subsequent order terminating parental rights. On remand, the court
14          shall conduct a new jurisdiction and disposition hearing as to Plaintiff MJR
15          consistent with the views expressed in this opinion.” Melody R. v. Super. Ct. The       Formatted: Font: Italic


16          court relies on old rehearsed hearsay evidence and lies from individuals whose
17          sole purpose is to keep mother stuck in a cycle of domestic violence.
18      229.       In both cases it has been proven that mother was attacked and defended her
19   but the department took the Side of the perpetuators of the violence because of their
20   malice toward mother for standing up for herself and not allowing the abuse to continue.
21   CA2/3.
22      230.       On March 11, 2021, Defendant CAGLE and Defendant DCFS’s Social
23   Workers, Marcal Maye-Henderson and Aliana Darted, submitted a report with the same
24   fabricated evidence against Plaintiff MJR and ignored the order made by the Court of
25   Appeal on October 21, 2020.

26      300.231. It is apparent that many of the officials of the court are covert abusers and      Formatted: Indent: Left: 0", First line: 0.25"


27   whenever they see a mother suffering from domestic violence they punish the mother for         Formatted: Font: Times New Roman


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     speaking out against it by taking her children. They are trying to silence abuse victims
2    with their Strategic Lawsuits against Public Participation.
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4
               FIFTH CAUSE OF ACTION FOR MALICIOUS PROSECUTION/
5                    ABUSE OF PROCESS against ALL DEFENDANTS
6
                               (Against All Defendants)
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7       301.232. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as
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8    though fully set forth herein.
9       302.         On or about Feb. 29, 2016, defendants made comments about race and
10          socioeconomic status- that "black women are supposed to be strong "Defendants
11          stated that “plaintiffs should have gone to school and got married before having
12          kids".
13      303.         Carvin Hall denied children financial support. Plaintiff’s oldest daughter
14          was physically abused in foster care and Carvin Hall attempted to suppress this
15          information Sonia Valiente misrepresented who she was and covered up child
16          abuse that was inflicted by the County, Social Workers and by Foster parents as
17          well Mary Theresa Meza and Sonia Valientes.
18      304.         The Social Workers from DCFS and the County of Los Angeles falsified
19          their Detention report and Jurisdictional Reports and made unreasonable searched
20          in plaintiff’s home, without a warrant, and without justified cause. Sonia also
21          embellished her reports, left out pertinent information regarding the children’s
22          father in order to favor him, and lied to plaintiff about how to get my children
23          back by recommending a specific mental health facility to go to. She did not
24          attempt to reunify plaintiff with the children as she had promised.
25      305.         She conspired with the child's father and encouraged him to lie about

26          plaintiff, by telling him he could get custody and be relieved of child support

27          obligation. Defendants further covered up evidence that the children was abused

28          while in foster care. 20. On or about 02/29/16, the Superior Court of California for
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            the County of Los Angeles, Juvenile Court ORDERED that the DCFS be
2           AUTHORIZED TO DETAIN PLAINTIFF’S CHILDREN without a valid cause.
3           The Governor of California and owes a duty to Plaintiff to ascertain that the state
4           does not MAKE NOR ENFORCE ANY LAW THAT ABRIDGES THE RIGHTS
5           OF THE CITIZENS. However, the Governor did endorse, contribute, and enforce
6           the statutes within Welfare & Institutions Code §§ 300-378, which involve “one-
7           sided” and unconstitutional Juvenile Dependency Laws that allow Social Workers
8           to take a parents children without a warrant, that allow warrants to be issued
9           without probable cause, that allow the quartering of Soldiers or Social Workers in
10          the homes of families, and allow the violation of the Due Process Right of a Parent
11          to Bring up a child without governmental interference.
12      233.       On or about Feb. 29, 2016, Defendants made false statements to the public
13   in regards to plaintiff’s criminal history, as means in preventing plaintiff from obtaining
14   gainful employment. Additionally, Defendants prevented Plaintiff from adequate visits
15   with her children (PC § 278.5) and never allowed “reunification services” as normally
16   provided under Welfare & Institutions Code § 300 et. seq. Defendants filed frivolous
17   claims againt Plaintiff MJR, not based on merits of the claim, rather some ulterior
18   purpose and Plaintiff MJR suffered damages, as a result.
19      234.       On February 2016, Melody told her therapist; Defendant DCFS, ER Social
20   Worker, Monica Rosenblum (“Rosenblum”), that she has been doing poorly in school
21   and had wanted to drop her class. Rosenblum falsely reported to Defendant DCFS that
22   Plaintiff MJR had expressed or implied that she planned on harming her kids.
23      235.       On February 23, 2016, Plaintiff MJR was referred to Kedren Community
24   Health Center. On or about February 29, 2016, Michel H. Eisner, Deputy County
25   Counsel, collectively with Co-Defendants filed a false Juvenile Dependency Petition

26   against Plaintiff MJR and her children.

27      236.       On March 22, 2016, despite the many letters from Plaintiff MJR’s

28   Psychologist stating that she was fit to care for her children, Juvenile Dependency Court
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     unlawfully found that Plaintiffs MR and HR were children described by section 300,
2    subdivision (b)(l) without a valid cause. The sustained section 300 Petition documented
3    that Plaintiff MJR suffered from mental and emotional problems that rendered her
4    incapable of providing regular care for Plaintiff MR and HR.
5       237.       On November 15, 2017, Defendant DCFS filed an Ex-Parte Application
6    pursuant to section 385 to modify Plaintiff MJR’s visitations from unmonitored to
7    monitored.
8       238.       On December 23, 2018, Defendant DCFS received a referral alleging that
9    Plaintiffs SB and PB were victims of emotional abuse, due to a reported altercation
10   between mother and father, falsely stating that mother attempted to attack father with a
11   butcher knife and she was arrested.
12      239.       On February 14, 2019, Defendant DCFS filed a Section 300 Petition on
13   behalf of Plaintiff MJR’s children, Plaintiffs SB and PB. The Petition falsely alleged that
14   the children “were at substantial risk of suffering serious physical harm based on the
15   violent physical and verbal altercation between mother and father…” Plaintiff MJR and
16   children were safely living in North Carolina.
17      240.       On February 15, 2019, neither parent, Plaintiff MJR nor Kernell, appeared
18   for the Detention Hearing due to never receiving a Notice. Defendant DCFS did not
19   exercise due diligence in attempting to locate Plaintiff MJR. The Court made an order to
20   detain the children, Plaintiffs SB and PB, issued protective custody warrants for the
21   children, and a no-bail arrest warrant for Plaintiff MJR and arrested Plaintiff MJR and
22   detained the children on July 31, 2019.
23      241.       Defendant DCFS’s Social Worker prepared a false report, stating that
24   Plaintiff MJR and Kernell were actively concealing the children. Plaintiff MJR had sole
25   custody and she and her children lived in North Carolina, where they are safe against

26   Kernell. As a result, Plaintiff MJR and her children never returned to North Carolina

27   together again.

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        242.       On August 23, 2019, Defendant DCFS filed an Amended Section 300
2    Petition on behalf of the children. The Amended Petition contained false allegations
3    against Plaintiff MJR.
4       243.       On February 15, 2020, Defendant DCFS’s Social Worker Investigator,
5    Allen, provided a report with knowingly false statements and intentional omissions of
6    exculpatory evidence in order to obtain a court judgment against Plaintiff MJR.
7    Specifically, Defendant DCFS’s Social Worker falsely asserted that in December 2018,
8    Plaintiff MJR struck father’s back and chased him while holding a butcher knife and was
9    arrested for assault with a deadly weapon…
10      244.       Defendant MATAMIAN did not present exculpatory evidence, he did not
11   cross-examine, he just merely denied Plaintiff MJR a fair trial and the Court agreed with
12   his decisions. As a result, the Court declared the children Dependents of the Court and
13   made an order to remove them from both parents’ custody.
14      245.       On March 11, 2021, Defendant CAGLE and Defendant DCFS’s Social
15   Workers, Marcal Maye-Henderson and Aliana Darted, submitted a report with the same
16   fabricated evidence against Plaintiff MJR and ignored the order made by the Court of
17   Appeal on October 21, 2020.
18      306.       On or about Feb. 29, 2016, Michel H. Eisner, the other defendants filed a
19          False Juvenile Dependency Petition against Plaintiff and her children.
20      307.       The restrained, CHILDREN and PLAINTIFF were denied due process and
21          were denied the right to present evidence on their behalf.
22      308.       The Los Angeles County DCFS’s basis for their petition for Juvenile
23          Dependency against the restrained, CHILDREN, was based on an allegation that
24          the parents were not good parents.
25      309.246. Defendants participated with all other defendantsDefendants and acted in        Formatted: Indent: Left: 0", First line: 0.25"


26   concert, and denied plaintiff due process in the court, and Denied plaintiffPlaintiff MJR   Formatted: Font: 13 pt


27   her Due Process, and denied Plaintiff MJR her right to bring up his childher children

28   without governmental interference. All of the defendants caused the results of the
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                   FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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1
     constitutional rights violationsDefendants violated Plaintiffs Constitutional Rights and
2    each participated in the acts, while acting under color of law.
3       247.       Plaintiffs hereby allege that EACH DEFENDANT “CAUSED” and
4    “PARTICIPATED IN” the acts or omissions regarding the facts herein alleged either by
5    “direct conduct, neglect or conspiracy”. (See Monell v. Department of Soc. Servs. (1978)
6    436 US 658, 56 L Ed 2d 611, 98 S Ct 2018; Pmerantz v County of Los Angeles (9th Cir
7    1982) 674 F2d 1288, 1291. TO ESTABLISH PERSONAL LIABILITYThe above-listed
8    Defendants have a policy, custom, and pattern of practice, and act under color of law in
9    their capacities as employees for local, county and state public entities, and on a daily
10   basis falsify reports, engage in acts of Abuse of Process, defraud the general public by
11   filing false reports in the Juvenile Dependency Court to justify excessive expenditures of
12   taxpayers’ money and fail to notify the courts as to the truth of matters and circumstances
13   as their informed. Defendants conspired to deprive Plaintiff MJR of her Constitutional
14   Right to bring up her children without governmental interference. Defendants and each
15   of them, knowingly and willfully conspired, “acted in concert” and agreed among
16   themselves to harm Plaintiff MJR by depriving her of the privileges and rights within the
17   Constitution of the United States of America, because she belongs to a protected class
18   and because of her religious beliefs and creed.
19      310.248. To establish personal liability, it is enough to show that an official, acting    Formatted: Indent: Left: 0", First line: 0.25"


20   under color of state law, caused deprivation of federal right. (See Kentucky v. Graham        Formatted: Font: Italic


21   (1985) 473 US 159, 165, 87 L Ed 2d 114, 121, 105 S Ct 3099. Local governments,                Formatted: Font: 9 pt


22   municipal corporations, and their agents acting under color of “state” law (which may         Formatted: Font: 13 pt


23   encompass implementation or enforcement of a municipal, local law, regulation,
24   POLICYpolicy, or custom, ARE “PERSONSare “persons” subject to liability under 42
25   USC § 1983. See Monell v. Department of Soc. Servs. (1978) 436 US 658, 56 L Ed 2d             Formatted: Font: Italic


26   611, 98 S Ct 2018. California COUNTIEScounties have been treated as municipalities for        Formatted: Font: 9 pt


27   § 1983 purposes. See Moor v. County of Alameda (1973) 411 US 693, 36 L Ed 2d 596,             Formatted: Font: Italic


28   93 S Ct 1785. Also, see Hernandez v. County of San Bernardino (2004) 117 CA4th 1055,          Formatted: Font: Italic

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     12 CR3d 452 (erroneous wage garnishment against plaintiff by county’s family support
2    division may render county liable under § 1983 if family support division is determined
3    to be the policymaker for the county.
4       249.       The aforesaid acts that defendants committed, as alleged in the foregoing
5    paragraphs were done to justify the inheritance of tax dollars, without any true basis, by
6    fraud. In addition to the above-stated facts, employees employed by the County of Los
7    Angeles, illegally ran criminal background checks on all plaintiffs and disseminated the
8    findings in the criminal history reports to individuals “outside of the juvenile courts”.
9    [See California Penal Code § 13303] Any person authorized by law to receive a record or
10   information obtained from a record who knowingly furnishes the record or information to
11   a person who is not authorized by law to receive the record or information is guilty of a
12   misdemeanor. Penal Code § 13304. Any person, except those specifically referred to in
13   Section1070Section 1070 of the Evidence Code, who, knowing he is not authorized by
14   law to receive a record or information obtained from a record, knowingly buys, receives,
15   or possesses the record or information is guilty of a misdemeanor. (A criminal record
16   report is defined in Penal Code § 13300.)]
17      250.       These defendantsDefendants have a custom, policy and normal practice of
18   obtaining criminal records to all family members who are a party or family member of a
19   minor child involved in a juvenile dependency caseJuvenile Dependency Case and
20   thereafter disseminate the record and its contents to “third parties” who are not entitled to
21   receive such information. In fact, any record of criminal conviction to a potential
22   caregiver toof a child who is a party to a juvenile dependency caseJuvenile Dependency
23   Case, should not even be subjected to having “irrelevant” convictions reported to any
24   person, including the courtCourt, that would not bar that person from being a good
25   candidate as a caregiver for the child. Worst of all, Defendants and each of them Abused

26   Process, because they falsified information to the Superior Court by stating that Plaintiff

27   was

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        251.       As a proximate result of the actions of all Defendants have damaged all
2    Plaintiffs in this action and have been damaged generally by loss of property, time,
3    money, costs incurred, loss of liberty and damage to their emotional health.
4       252.       At all times mentioned herein, all Defendants acted willfully with the
5    wrongful intention of injuring and from an improper or evil motive amounting to malice
6    in that Defendants willfully and intentionally conspired to defraud and injure Plaintiffs.
7

8                     SIXTH CAUSE OF ACTION FOR INTENTIONAL
9
                         INFLICTION OF EMOTIONAL DISTRESS
                                 (Against All Defendants)
10                                                                                                  Formatted: List Paragraph, Centered, Don't add space
                                                                                                    between paragraphs of the same style, Line spacing: single
11
        253.       Plaintiffs re-allege and incorporate by reference all preceding paragraphs as
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     though fully set forth herein.
12
        254.       Criminal.“The elements of the tort of intentional infliction of emotional
13
     distress are: (1) extreme and outrageous conduct by the defendant with the intention of
14
     causing, or reckless disregard of the probability of causing, emotional distress; (2) the
15
     plaintiff's suffering severe or extreme emotional distress; and (3) actual and proximate
16
     causation of the emotional distress by the defendant's outrageous conduct....
17
        255.       Conduct to be outrageous must be so extreme as to exceed all bounds of
18
     that usually tolerated in a civilized community. It is not enough that the conduct be
19
     intentional and outrageous. It must be conduct directed at the plaintiff, or occur in the
20
     presence of a plaintiff of whom the defendant is aware.
21
        256.       On or about Feb. 29, 2016, Defendants made comments about race and
22
     socioeconomic status- that "black women are supposed to be strong "Defendants stated
23
     that “Plaintiffs should have gone to school and got married before having kids".
24
        257.       Defendant DCFS’s Social Workers falsified their Detention Reports and
25
     Jurisdictional Reports, left out pertinent information regarding Kernell in order to reflect
26
     him in a positive light, detained Plaintiff MJR and her children without good cause, lied
27
     to Plaintiff MJR and recommend therapy to get her children back, never attempted to
28
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                   FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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     reunify Plaintiff MJR and her children, suppressed material evidence including evidence
2    of physical abused against Plaintiff MR, and made unreasonable searches in Plaintiff
3    MJR’s home without a warrant and without justified cause. Defendant DCFS’s Social
4    Workers never attempted to reunify Plaintiff MJR with her children as they promised.
5       258.       Commencing February 29, 2016, the Superior Court of California for
6    Defendant LA COUNTY, Juvenile Dependency Court ordered that Defendant DCFS be
7    authorized to detain Plaintiff MJR’s children without a valid cause. The aforementioned
8    government agencies owed a duty of care to Plaintiff MJR to ensure that Defendant State
9    of California does not make nor enforce any laws that abridges the rights of the citizens.
10      259.       During the same time, Defendants made false statements to the public in
11   regards to plaintiff’sPlaintiff MJR’s criminal history, as means in preventing
12   plaintiffPlaintiff MJR from obtaining gainful employment. Additionally, Defendants
13   prevented Plaintiff MJR adequate visits with her children (PC § 278.5) and never allowed
14   “reunification services” as normally provided under Welfare & Institutions Code § 300
15   et. seq. Defendants filed a false Juvenile Dependency Petition against Plaintiff MJR and
16   her children, which resulted in them being denied their right to present evidence on their
17   behalf; denied their Due Process.
18      260.       Defendant DCFS’s basis for its Juvenile Dependency Petition against
19   Plaintiff MJR and her children, was based on an allegation that the parents were not good
20   parents.
21      261.       Defendants participated with all other Defendants and acted in concert, and
22   denied Plaintiff MJR her Due Process, and denied Plaintiff MJR her right to bring up her
23   children without governmental interference. All of the Defendants violated Plaintiffs
24   Constitutional Rights and each participated in the acts, while acting under color of law.
25      262.       These Defendants have a custom, policy and normal practice of obtaining

26   criminal records to family members who are a party or family member of a minor child

27   involved in a Juvenile Dependency Case and thereafter disseminate the record and its

28   contents to “third parties” who are not entitled to receive such information. In fact, any
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     record of criminal conviction to a potential caregiver of a child who is a party to a
2    Juvenile Dependency Case, should not even be subjected to having “irrelevant”
3    convictions reported to any person, including the Court, that would not bar that person
4    from being a good candidate as a caregiver for the child.
5       311.263. Worst of all, Defendants and each of them Abused Process, because they             Formatted: Indent: Left: 0", First line: 0.25"

6    falsified information to the Superior Court by stating that Plaintiff MJR was a criminal.
7    Defendants made false statements to the public in regards to Plaintiff MJR’s criminal
8    history, as means in preventing Plaintiff MJR from obtaining gainful employment.
9    Additionally, Defendants prevented Plaintiff from adequate visits with her child (PC §
10   278.5) and never allowed “reunification services” as normally provided under Welfare &
11   Institutions Code § 300 et. seq. On or about Feb. 29, 2016, Michel H. Eisner, the other
12   defendants filed a False Juvenile Dependency Petition against Plaintiff and her children.
13      264.       On or about Feb. 29, 2016, Michel H. This useEisner, Deputy County
14   Counsel, collective with Co-Defendants filed a false Juvenile Dependency Petition
15   against Plaintiff MJR and her children.
16      312.       The conduct of the processDefendants and each of them as alleged herein
17          was not authorized in the regular course and was not the outrageous, reckless, and
18          intended purpose for juvenile dependency statutes when enacted into legislature.
19      313.       The ulterior purpose and motivation of defendants in so misusing the
20          process in the above-described manner was to obtain the following collateral
21          advantage over the defendants so they can help the local public entities build value
22          in their proposals to the state and federal government in their requests for
23          additional funds at the end of next year’s, budget assessment.
24      314.       As a proximate result of the actions of all defendants, all plaintiffs in this
25          action have been damaged generally by loss of time, money, costs incurred, loss of

26          liberty and damage to their emotional health.

27      315.       At all times mentioned herein, all defendants acted willfully with the

28          wrongful intention of injuring cross-complainants and from an improper or evil
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1
            motive amounting to malice in that defendants willfully and intentionally
2           conspired to defraud and injure plaintiffs.
3

4    did cause SIXTH CAUSE OF ACTION FOR INTENTIONAL INFLICTION OF
5    EMOTIONAL DISTRESS Against ALL DEFENDANTS
6       316.265. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as     Formatted: Indent: Left: 0", First line: 0.25"

7    though fully set forth hereinsevere emotional distress.
8       317.266. On or about the above-mentioned dates, defendantsDefendants, and each of
9    them, did each of their acts to intentionally inflict emotional distress upon
10   plaintiffPlaintiffs, which resulted in “OUTRAGEOUS CONDUCT”.outrageous
11   conduct.” Wherefore, PlaintiffPlaintiffs did or does seek medical attention to sooth the
12   anguish and mental suffering caused by defendantsDefendants.
13      318.267. As a proximate result of defendants’Defendants’ actions, plaintiff
14   hasPlaintiffs have suffered severe anguish, stress, anxiety and general damages in an
15   amount according to proof.
16      319.         WHEREFORE, plaintiffs pray for judgment against defendants regarding
17          the all causes of action in his complaint for damages in an amount according to
18          proof.
19

20      268.         Plaintiffs allege that such severe emotional distress has included without
21   limitations embarrassment, anger, chagrin, disappointment, shame, worry, nausea and
22   other forms of mental and emotional anguish.
23      269.         As a direct and proximate result of the aforementioned conduct of
24   Defendants, Plaintiffs have suffered economic, psychological, emotional, and physical
25   damages.

26      270.         Pursuant to California Civil Code §3294 “where is it proven by clear and

27   convincing evidence that Defendants are guilty of oppression, fraud, or malice, Plaintiffs,

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     in addition to the actual damages, may recover damages for the sake of example and by
2    way of punishing Defendants.”
3       271.       Defendants’ conduct intentionally and recklessly caused extreme emotional
4    distress to Plaintiffs and have been intentional, malicious and oppressive, thereby
5    entitling Plaintiffs to recover punitive damages.
6       272.       Plaintiffs are obligated to retain legal counsel and to expend or incur
7    liability for costs of suit, attorney’s fees, and related expenses.
8

9     SEVENTH CAUSE OF ACTION FOR SLANDER (Defamation) DEFAMATION
10
                            OF CHARACTER (Slander and Libel)
                                   (Against All Defendants)                                     Formatted: Centered, Don't add space between paragraphs
                                                                                                of the same style, Line spacing: single
11                                    ALL DEFENDANTS
       320.273. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as   Formatted: Indent: Left: 0", First line: 0.25"
12
     though fully set forth herein.
13
        321.       On or about Feb. 29, 2016, Michel Eisner stated that plaintiff was a bad
14
            parent to many people. On or about Feb. 29, 2016 Monica Rosenblum falsely
15
            stated to DCFS that plaintiff had expressed or implied that she wanted to kill
16
            herself.
17
        322.       On or about Feb. 29, 2016, Philip Browning stated that plaintiff was a bad
18
            parent to many people.
19
        323.       On or about Feb. 29, 2016, Mary T. Meza stated that plaintiff was a bad
20
            parent to many people.
21
        324.       On or about Feb. 29, 2016, DCFS stated that plaintiff was a bad parent to
22
            many people.
23
        325.       On or about Feb. 29, 2016, County of Los Angeles stated that plaintiff was
24
            a bad parent to many people.
25
        326.       On or about Feb. 29, 2016, Superior Court of California for the County of
26
            Los Angeles stated that plaintiff was a bad parent to many people.
27

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        327.      On or about Feb. 29, 2016, Carvin Hall stated that plaintiff was a bad
2          parent to many people.
3       328.      On or about Feb. 29, 2016, Theresa T. Meza stated that plaintiff was a bad
4          parent to many people.
5       329.      On or about Feb. 29, 2016, Sonia Valiente stated that plaintiff was a bad
6          parent to many people.
7       330.      On or about Feb. 29, 2016, PHILIP L. BROWNING; COUNTY OF LOS
8          ANGELES; Los Angeles Department of Children and Family Services; Superior
9          Court of California for the County of Los Angeles; MARY THERESA MEZA;
10         CARVIN HALL; SONIA VALIENTE knowingly and willfully made false
11         statements orally and in writing to the Superior Court of California for the County
12         and to friends of plaintiff with intent to defame, humiliate and damage the
13         reputation of plaintiffs. These statements included, but are not limited to“The
14         parents of the minor children in the underlying juvenile dependency case
15         committed acts constituting neglect and abuse”. Defendants further falsely stated
16         that “PLAINTIFF is not a good PARENT and is a danger to CHILDREN”. None
17         of these statements were true and defendants knew them to be false when they
18         made them. Whereas plaintiff suffered damages by these false statements by
19         defendants, by the damage to her health, damage to her emotional state, loss of
20         reputation, loss of her job, loss of income. Additionally, plaintiff suffered
21         pecuniary losses including, but not limited to the companionship, comfort,
22         affection, society, solace and moral support of her friends, family and son, based
23         on the false allegations that the defendants intentionally disseminated to the
24         general public.
25      331.      The false statements made by defendants were not protected rights of

26         speech because they were false facts concerning Juvenile Dependency Issues.

27      332.      Juvenile Dependency Issues concerning a child are not a public issue, and

28         are confidential by law. Therefore defendants are precluded from any defense
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1
     under a Anti-Slapp Motion.
2

3       274.       The elements of a California Defamation case: An intentional publication
4    of a statement of fact; that is false; that is unprivileged; that has a natural tendency to
5    injure or causes “special damage;” and, the defendant's fault in publishing the statement
6    amounted to at least negligence.
7       275.       On December 12, 2021, Defendant CAGLE and Defendant DCFS’s Social
8    Workers Regina Minor and Darryllisha Burch-Parker continued with malicious and
9    fraudulent intent, their practice of fabricating evidence and omitting exculpatory evidence
10   in their reports. In addition to the previous false and inaccurate allegations against
11   Plaintiff MJR, Defendant DCFS’s Social Worker reports that Clark stated that, when
12   Plaintiff MJR calls the children, Plaintiff SB’s behavior noticeably changes and the calls
13   cause “more harm, then good.” However, Ms. Clark, is ready to testify that she never
14   made such a statement.
15      276.       December 17, 2021, Defendant DCFS’s Social Workers wrote
16   Dehumanizing, embarrassing reports about Plaintiff MJR, which they knew were untrue
17   and phrased it in a way to cast Plaintiff MJR in a false light. As a result Plaintiff MJR
18   has suffered and continues to suffer emotional harm. One of the most hurtful things they
19   continued to say is that Plaintiff MJR is depressed, anxious, delusional among other
20   things. The legal abuse that Plaintiff MJR has been put through has caused her to
21   experience emotional harm; yet, they are making it seem like she has a mental disease
22   that is incurable and putting forth ideas that she may harm her children as a result.
23      277.       The Court worked together with Defendants to deliberately and
24   intentionally prevent without exculpatory evidence from ever making it into the Court
25   Record. There is evidence that Plaintiff MJR has been evaluated by several mental health

26   professionals, including going to therapy and Defendant DCFS’s professional of choice.

27   These doctors and nurses provided reports that Plaintiff MJR was completely sane and fit

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     to care for her children, but Defendants collectively kept these documents from making it
2    into the Court Record.
3

4       EIGHTH CAUSE OF ACTION FOR BREACH OF FIDUCIARY against ALL                                  Formatted: Centered, Don't add space between paragraphs
                                                                                                    of the same style, Line spacing: single
                                         DEFENDANTS
5                                   (Against All Defendants)
6
        333.278. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as      Formatted: Indent: Left: 0", First line: 0.25"


7
     though fully set forth herein.

8
        334.279. Breach of Fiduciary Duty Law and Legal Definition. A fiduciary duty is an

9
     obligation to act in the best interest of another party. ... A person acting in a fiduciary

10
     capacity is held to a high standard of honesty and full disclosure in regard to the client

11
     and must not obtain a personal benefit at the expense of the client ...
        335.280. A fiduciary duty is the highest standard of care. The person who has a
12
     fiduciary duty is called the fiduciary, and the person to whom he owes the duty, is
13
     typically referred to as the principal or the beneficiary.
14
        336.281. To state a cause of action for a breach of fiduciary duty, a plaintiff must
15
     allege (1) the existence of a fiduciary duty relationship, (2) misconduct by the defendant,
16
     and (3) damages directly caused by the defendant's misconduct.
17
            4 Elements of a Breach of Fiduciary Duty Claim; The defendant was acting as a
18
            fiduciary of the plaintiff; The defendant breached a fiduciary duty to the plaintiff;
19
            The plaintiff suffered damages as a result of the breach; and the defendant's breach
20
            of fiduciary duty caused the plaintiff's damages.
21
        337.282. “A fiduciary relationship is ‘ “ ‘any relation existing between parties to         Formatted: Indent: Left: 0", First line: 0.25"
22
     atransactiona transaction wherein one of the parties is in duty bound to act with the
23
     utmostgood faith for the benefit of the other party. Such a relation ordinarily
24
     ariseswherearises where a confidence is reposed by one person in the integrity of another,
25
     and insuch a relation the party in whom the confidence is reposed, if he
26
     voluntarilyaccepts or assumes to accept the confidence, can take no advantage from his
27
     actsrelatingacts relating to the interest of the other party without the latter’s knowledge
28
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                    FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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     orconsent. . . .’ ” ’ ” (Wolf v. Superior Court (2003) 107 Cal.App.4th 25, 29                Formatted: Font: Italic

2    [130Cal.Rptr.2d 860], internal citations omitted.)• “Whether a fiduciary duty exists is
3    generally a question of law. Whether thedefendantthe defendant breached that duty
4    towards the plaintiff is a question of fact.” (Marzecv. Public Employees’ Retirement         Formatted: Font: Italic

5    System (2015) 236 Cal.App.4th 889, 915 [187Cal.Rptr.3d 452], internal citation omitted.)
6       283.       The following Defendants had a special relationship with Plaintiff MJR and
7    her children to protect them and to ensure that Plaintiffs’ constitutional rights were not
8    violated. Plaintiff MJR and her children should have been able to trust them with the
9    utmostgood faith for the benefit and interest of she and her children:
10      284.       Defendant SUN, Judge of the Superior Court of Los Angeles County,
11   Juvenile Dependency Court, acting under color of law, was to determine issues such as
12   whether certain facts are true, whether the children should be removed from Plaintiff
13   MJR, what types of services should be offered to the family and whether the child should
14   be returned to the family and the community or placed permanently in another setting.
15   Defendant SUN could have prevented the wrongfuldoing, as soon as, it was determined
16   that the Court did not have subject matter jurisdiction; yet, Defendant SUN failed to
17   dismiss and allowed the wrongdoing against Plaintiff to cointinue on.
18      285.       Defendant MARPET, Commissioner of the Superior Court of Los Angeles
19   County, Juvenile Dependency Court, acting under color of law, is an attorney selected by
20   the judges of the court to perform various judicial functions as prescribed by law and
21   given powers to hear and make decisions concerning certain legal matters, including
22   family and juvenile court cases… However, in Plaintiff MJR and her children’s Juvenile
23   Dependency Case, Defendant MARPET had a disregard for applying statutory law in the
24   interest of the children when making a ruling, which contributed to the ongoing
25   wrongdoing of Defendants.

26      286.       Defendant SANDATE, an employee of Defendant LAPD, acting under

27   color of law, failed to acknowledge and enforce a Restraining Order to protect Plaintiff

28   MJR and her children against children’s father (“Kernell”), properly investigate, falsely
     ______________________________________________________________________________
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     imprisoned Plaintiff MJR, unlawfully detained Plaintiff MJR’s children, falsified a
2    report, and committed perjury on the stand, which resulted in Plaintiff MJR’s children
3    being removed from her home to present.
4       287.       Defendant CAGLE was the Director of the Los Angeles County Defendant
5    DCFS, acting under color of law and at all times relevant to Plaintiff MJR and her
6    children’s Juvenile Dependency Case, Defendant CAGLE was a government employee
7    for Defendant LA COUNTY, that had a duty to protect Plaintiffs and to ensure that
8    Plaintiffs’ constitutional rights were not violated. Also, Plaintiff CAGLE was Defendant
9    LA COUNTY’s Foster Care System official, responsible for the proper operation of the
10   Foster Care System and to ensure that the system operated in accordance with Federal
11   and State laws, for which the federal government provides annual funding to operate the
12   system.
13      288.       Defendant HATAMIAN, Plaintiff MJR’s Court Appointed Attorney, by
14   Defendant MARPET, acting under color of law, and represented Plaintiff MJR at all
15   times relevant to the Juvenile Dependency Case involving Plaintiffs SB and PB.
16   Defendant HATAMIAN suppressed evidence, denied Plaintiff MJR’s right to be heard;
17   moreover, denied Plaintiff MJR a fair trial.
18      338.289. Three Potential Consequences of Breach of Fiduciary Duty: Compensatory           Formatted: Indent: Left: 0", First line: 0.25"


19   Damages. If an alleged breach of fiduciary duties leads to litigation then one of the most
20   common outcomes is for the victim to receive compensatory damages. ...
21      290.       Punitive Damages. ... Professional Consequences. Defendants’ acts were         Formatted: Indent: Left: 0", First line: 0.25", Numbered +
                                                                                                  Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
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22   intentional, malicious and oppressive, thereby entitling Plaintiffs to recover punitive
23   damages.
24      339.       DEFENDANTS’ acts were intentional, malicious and oppressive, thereby
25          entitling Plaintiffs to recover punitive damages.

26      340.291. As a direct and proximate result of the aforementioned conduct of                Formatted: List Paragraph, Indent: First line: 0.25", Right:
                                                                                                  0", Add space between paragraphs of the same style,
                                                                                                  Hyphenate, Adjust space between Asian text and numbers
27   DEFENDANTS, PLAINTIFFSDefendants, Plaintiffs have suffered economical,

28   psychological, emotional, and physical damages.
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                   FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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        341.292. As a further direct and proximate result of the aforementioned conduct of          Formatted: Indent: Left: 0", First line: 0.25"

2    DEFENDANTS, PLAINTIFFSDefendants, Plaintiffs are obligated to retain legal counsel
3    and to expend or incur liability for costs of suit, attorney’s fees, and related expenses in
4    an amount not yet fully ascertained, but which will be submitted at time of trial for
5    recovery by PLAINTIFFSPlaintiffs.
6                                                                                                   Formatted: Centered, Don't add space between paragraphs
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7
        NINTH CAUSE OF ACTION FOR BREACH OF IMPLIED COVENANT OF
               GOOD FAITH & FAIR DEALING against ALL DEFENDANTS
8       342.1.   Plaintiffs re-allege and incorporate by reference all preceding paragraphs as      Formatted: Indent: Left: 0", First line: 0.25"

9    though fully set forth herein.
10      343.       Plaintiff re-alleges and incorporates by reference all preceding paragraphs
11          as though fully set forth herein.
12      344.       In order to sufficiently plead a bad-faith cause of action generally,
13          PLAINTIFFS must plead that: ELEMENT 1: Valid Contract;
14          An action for breach of the implied covenant of good faith and fair dealing
15          requires an underlying agreement of some sort (contract, letter of intent,
16          preliminary agreement to use best efforts to agree, etc.). (Racine v. Laramie, Ltd.
17          v. Department of Parks & Recreation (1992) 11 Cal.App.4th 1026.) ; ELEMENT
18          2: Duty of Good Faith and Fair Dealing; The covenant imposes on each party to
19          the contract the duty to refrain from doing anything which would render
20          performance of the contract impossible by any act of his own, and also the duty to
21          do everything that the contract presupposes that each party will do to accomplish
22          its purpose. (Lueras v. BAC Home Loans Servicing, LP (2013) 221 Cal.App.4th
23          49.); ELEMENT 3: Breach of Implied Covenant; A party to a contract breaches
24          the implied covenant of good faith and fair dealing by interfering with or failing to
25          cooperate with the plaintiff in the performance of the contract. (L. Johnson, Inc. v.

26          America West Airlines, Inc. (2003) Cal.App.Unpub. LEXIS 11455 (citing

27          Sutherland v. Barclays American/Mortgage Corp. (1997) 53 Cal.App.4th                    Formatted: Font: Courier New, Italic


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            299).); and ELEMENT 4: Causation and Damage; The breaching party is liable
2           for all damages proximately resulting from the conduct. (PPG Industries, Inc. v.
3           Transamerica Ins. Co. (1999) 20 Cal.4th 310.).
4       345.       REMEDIES: Compensatory Damages:
5           Damages for breach of implied covenant of good faith and fair dealing are limited
6           to damages which might reasonably be foreseen by the parties and exclude
7           punitive damages, pain and suffering and/or medical damages. (Quigley v. Pet
8           (1984) 162 Cal.App.3d 877.)
9

10       TENTH CAUSE OF ACTION FOR LEGAL MALPRACTICE against ALL                                   Formatted: Centered

11                                         DEFENDANTS
12                                    (Against All Defendants)
13      346.293. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as     Formatted: Indent: Left: 0", First line: 0.25"

14   though fully set forth herein.
15      347.294. To prove legal malpractice you must establish the following four elements:
16   (1) duty, (2) breach, (3) causation, and (4) harm. These are the basic elements for most
17   torts in California, as demonstrated herein.
18      348.       Mel Hatamian breached a fiduciary owed to mother Melody Rodgers which
19          obliged her to advocate for mother’s interest. Mel Hatamian actively worked
20          against mother because she is part of the conspiracy to deprive mother a 1 nd
21          children and their right to be together.
22      295.       Mel Hatamian’s role was to throw the case by not providing effective legal
23   counsel by way of legal research,Duty: Defendant CLC, acting under color of law, bears
24   responsibility, in whole or in part, for the acts complained of in this Complaint, provides
25   legal representation for children and youth under the jurisdiction of the dependency court.

26   “Every staff member at CLC contributes to infusing every proceeding and decision that’s

27   made with the premise that kids should be with their parents whenever possible.”

28   Defendant CLC owed Plaintiffs a duty to examine the matter and uncover the truth; yet,
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     it stuck its head in the sand while Plaintiff MJR children were being removed without
2    probable cause and Plaintiff MJR was victimized; denied her right to be heard and denied
3    her right to a fair trial.
4        296.        Defendants had a duty to protect Plaintiffs and to ensure that Plaintiffs’
5    constitutional rights were not violated.
6        297.        Defendant HATAMIAN, Plaintiff MJR’s Court Appointed Attorney, by
7    Defendant MARPET, acting under color of law, and represented Plaintiff MJR at all
8    times relevant to the Juvenile Dependency Case involving Plaintiffs SB and PB.
9    Defendant HATAMIAN suppressed evidence, denied Plaintiff MJR’s right to be heard;
10   moreover, denied Plaintiff MJR a fair trial.
11       298.        Breach of Duty: Defendants CLC and HATAMIAN breached it duty to
12   Plaintiff MJR and children, when it conspired with Co-Defendants and falsified reports,
13   ignored statutory laws, and denied Plaintiff MJR a fair trial. Defendant CLC was charged
14   to advocate for Plaintiff MJR’s children, but instead it failed to adhere to statutory law
15   and denied the children of a fair hearing/trial, resulting in their removal from their
16   mother. Defendant CLC did the opposite of its mission.
17       349.        Defendant HATAMIAN owed Plaintiff MJR a duty to advocate in her
18           interest; instead, Defendant HATAMIAN actively worked against Plaintiff MJR in
19           his legal writings, presentation of evidence, and objectingrefused to object to
20           untrue hearsay evidence.
21       350.299. Mel Hatamian Defendant HATAMIAN refused to assist in providing                  Formatted: Indent: Left: 0", First line: 0.25"


22   arguments for Plaintiff MJR’s appeal for mother, refuses to object to hearsay evidence,
23   and refusesand refused to obtain court documents for the mother to Plaintiff MJR’s
24   review. This dereliction and deviation from the standard of care and a failure to exercise
25   reasonable care in fulfilling herhis duties has resulted in tremendous loss to

26   motherPlaintiff MJR by way of not having custody of her children, and the financial

27   consequences of fighting a court case in other state Pro Per.

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        300.       Causation: But for Defendants ignoring statutory laws, denying Plaintiff
2    MJR fair hearings and trial, Plaintiff MJR’s children would have never been removed
3    from her, away from their mother and family since July 31, 2019, more than three (3)
4    years ago.
5       301.       Harm: As a direct and proximate result of the aforementioned conduct of
6    Defendants, Plaintiffs have suffered economical, psychological, emotional, and physical
7    damages.
8       302.       Punitive Damages. ... Professional Consequences. Defendants’ acts were
9    intentional, malicious and oppressive, thereby entitling Plaintiffs to recover punitive
10   damages.
11      303.       As a further direct and proximate result of the aforementioned conduct of
12   Defendants, Plaintiffs are obligated to retain legal counsel and to expend or incur liability
13   for costs of suit, attorney’s fees, and related expenses in an amount not yet fully
14   ascertained, but which will be submitted at time of trial for recovery by Plaintiffs.
15

16   TENTH
17          ELEVENTH CAUSE OF ACTION FOR FRAUD UPON THE COURT
18                        (Against ALL DEFENDANTSAll Defendants)                                     Formatted: Centered


19      351.304. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as       Formatted: Indent: Left: 0", First line: 0.25"


20   though fully set forth herein.
21      352.305. Fraud upon the court" makes void the orders and judgments of that court. It
22   is also clear and well-settled California law that any attempt to commit "fraud upon the
23   court" vitiates the entire proceeding.
24      353.306. The court workCourt worked together with Defendants to deliberately and
25   intentional without intentionally prevent exculpatory evidence from ever making it tointo

26   the court record.Court Record. There is evidence that I havePlaintiff MJR has been

27   evaluated by several mental health professionals, including going to therapy and

28   theirDefendant DCFS’s professional of choice. These doctors and nurses provided reports
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                   FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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     that IPlaintiff MJR was completely sane and fit to care for myher children, but the
2    prosecution and Judge are working overtime to keepDefendants collectively kept these
3    documents from making it into the Court Record. The Court and Defendants committed
4    Fraud Upon the court recordCourt, in an effort to remove Plaintiff MJR’s children from
5    her on July 31, 2019, without probable cause.
6       354.307. CHILDREN’S LAW CENTER OF LOS ANGELES deliberatelyDefendant
7    CLC’s Attorney, Bashor lied to the courtCourt in order to mislead the courtCourt by
8    stating for the record on December 17, 2021 that the children and foster momFoster
9    Mom, Clark, were not present to testify in court, when indeed 1 they were present in
10   courtCourt and wanted to testify. The children’s appointed attorney Bashor had in fact
11   told them to leave and come back later when she called. Shecalls. Bashor, never called
12   them to come back. When motherPlaintiff MJR called the foster mom during court,
13   Nakeya Clark, she told her that she was still waiting to testify, but was told to come back
14   later. Mother managed to get Ms. Clark admitted to court although her device was
15   muted.
16      308.       The department of children and family servicesDefendant DCFS’s Social
17   Workers wrote Dehumanizing, embarrassing reports about motherPlaintiff MJR, which
18   they knew were untrue and phrased it in a way to case mothercast Plaintiff MJR in a false
19   light. As a result mother, Plaintiff MJR has suffered and is continuingcontinues to suffer
20   emotional harm. One of the most hurtful things they continuecontinued to say is that I        Formatted: Font: Times New Roman


21   amPlaintiff MJR is depressed, anxious, delusional among other things. The legal abuse
22   that motherPlaintiff MJR has been put through has caused her to experience emotional
23   harm; yet, they are making it seem like she has a mental disease that is incurable and
24   putting forth ideas that she may harm her children as a result. MotherPlaintiff MJR is
25   happy and will continue to be happy when her children are returned and justice is served.

26      355.309. In Fernandez v. Bailey, Finally, concealment is a factor that may be taken        Formatted: Font: Italic
                                                                                                   Formatted: Indent: Left: 0", First line: 0.25"
27   into account because concealment tactics, including frequent relocations, the use of

28   aliases, and abstaining from school or community activities to avoid detection, may
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     preclude a child from forming stable attachments. Lozano, 134 S. Ct. at 1236 (Alito, J.,          Formatted: Font: Italic
                                                                                                       Formatted: Font: Italic
2    concurring). Thus, although analysis of the concealment factor examines the removing
3    parent's behavior, the focus remains on the child's connections to their new environment.
4       356.310. In Heartland Academy Community Church v. Waddle, Furthermore,                         Formatted: Font: Italic

5    Plaintiffs allege in this case that Mr. Waddle procured the orders through
6    misrepresentations and material omissions, actions which are not protected by absolute
7    immunity. "[I]t [is] clearly established law that government officials ' procurement
8    `through distortion, misrepresentation and omission,'. . . of a court order to seize a child is
9    a violation of the Fourth Amendment." Malik, (internal citation omitted). See also                Formatted: Font: Italic

10   Brokaw, 235 F.3d at 1012 (noting "to the extent the defendants [a social worker and other         Formatted: Font: Italic

11   government officers] knew the allegations of child neglect were false, or withheld
12   material information, and nonetheless caused, or conspired to cause, [the juvenile's ]
13   removal from his home, they violated the Fourth Amendment."). "The fact that the order
14   was allegedly obtained by omissions, rather than affirmative misstatements, is irrelevant,
15   so long as the `omissions are so probative they would vitiate probable                            Formatted: Font: Times New Roman


16   cause.'"Malik191Malik 191 F.3d at 1316, (quoting DeLoach v. Bevers31Bevers 31, Thus,              Formatted: Font: Italic


17   because Mr. Waddle did not merely execute the Juvenile Court's orders to seize the
18   children from Heartland, but instead actually petitioned the court for such orders, as well
19   as misstating material facts to the Juvenile Court Judge and omitting known material
20   facts from his papers presented to the Juvenile Judge, the Court finds that his actions are
21   not protected by the absolute immunity doctrine. As such, the Court will now address the
22   issue of whether he violated the Plaintiffs' Fourth Amendment rights in procuring the
23   orders for removal.
24      357.311. Whenever any officer of the court commits fraud during a proceeding in the
25   court, he/she is engaged in "fraud upon the court". In Bulloch v. United States, 763 F.2d         Formatted: Font: Italic


26   1115, 1121 (10th Cir. 1985), the court stated "Fraud upon the court is fraud which is

27   directed to the judicial machinery itself. It is where the court or a member is corrupted or

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     influenced or influence is attempted or where the judge has not performed his judicial
2    function --- thus where the impartial functions of the court have been directly corrupted."
3       312.       Punitive Damages. ... Professional Consequences. Defendants’ acts were
4    intentional, malicious and oppressive, thereby entitling Plaintiffs to recover punitive
5    damages.
6       313.       As a direct and proximate result of the aforementioned conduct of
7    Defendants, Plaintiffs have suffered economical, psychological, emotional, and physical
8    damages.
9       314.       As a further direct and proximate result of the aforementioned conduct of
10   Defendants, Plaintiffs are obligated to retain legal counsel and to expend or incur liability
11   for costs of suit, attorney’s fees, and related expenses in an amount not yet fully
12   ascertained, but which will be submitted at time of trial for recovery by Plaintiffs.
13

14          ELEVENTH
15

16

17

18

19                                                                                                   Formatted: Font: Bold
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20       TWELFTH CAUSE OF ACTION FOR ULTRA VIRES ACTS against ALL
                               DEFENDANTS
21
                           (Against All Defendants)
                                                                                                     Formatted: Centered, Don't add space between paragraphs
22
                                                                                                     of the same style, Line spacing: single
        358.315. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as
23                                                                                                   Formatted: Indent: Left: 0", First line: 0.25"
     though fully set forth herein.
24
        359.316. An "ultra vires" act is one performed without legal authority; something
25
     done which is beyond the scope of a corporation's authority. Board Actions. Associations
26
     that act outside their authority may have their actions reversed by the courts.
27

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        360.317. Ultra vires acts are any acts that lie beyond the authority of a corporation to
2    perform. Ultra vires acts fall outside the powers that are specifically listed in a corporate
3    charter or law. This can also refer to any action that is specifically prohibited by the
4    corporate charter.
5       318.        Defendants did not have legal authority to perform the acts or practices
6    detailed herein; acts performed lie beyond their authority:
7       319.        Defendant CALIF, acting under color of law, bears responsibility, in whole
8    or in part, for the acts complained of in this Complaint, failed to oversee official(s) to
9    properly operate the Foster Care System, including the portions of the system operated by
10   Defendant DCFS, relating to dependency cases, foster care, and termination of parental
11   rights, inter alia, pursuant to the Adoption and Safe Families Act and the Family First
12   Prevention Services Act of 2018.
13      320.        Defendant LAPD, acting under color of law, bears responsibility, in whole
14   or in part, for the acts complained of in this Complaint. Defendant LAPD failed at
15   accomplishing its mission on behalf of Plaintiffs; its mission to safeguard the lives and
16   property of the people they serve, to reduce the incidence and fear of crime, and to
17   enhance public safety while working with the diverse communities to improve their
18   quality of life.
19      321.        Defendant LA COUNTY, acting under color of law, is a government that is
20   defined and authorized under the California Constitution, California law, and the Charter
21   of the County of Los Angeles. The County government provides countywide services
22   such as … law enforcement, jails, and social services. Defendant LA COUNTY bears
23   responsibility, in whole or in part, for the acts complained of in this Complaint. Its
24   government agencies failed Plaintiffs.
25      322.        Defendant DCFS, acting under color of law, bears responsibility, in whole

26   or in part, for the acts complained of in this Complaint, and has a special relationship

27   with Plaintiff MJR and owed a duty to comply with State laws, Federal Laws and the

28   U.S. Constitution. Defendant DCFS's operations involve investigating child welfare and
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     abuse allegations, foster care, and adoption. Defendant DCFS breached its duties owed
2    to Plaintiff MJR by taking Plaintiff MJR’s children and placed them with foster parents
3    or persons other than the biological parents without probable cause. Defendant DCFS’s
4    Deputy County Counsel, Dependency Investigators, and Social Workers falsified reports
5    and suppressed material evidence.
6        323.        Defendant CLC, acting under color of law, bears responsibility, in whole or
7    in part, for the acts complained of in this Complaint, provides legal representation for
8    children and youth under the jurisdiction of the dependency court. “Every staff member
9    at CLC contributes to infusing every proceeding and decision that’s made with the
10   premise that kids should be with their parents whenever possible”; yet, Plaintiff MJR
11   children were removed and she was victimized; denied her right to be heard and denied
12   her right to a fair trial.
13       324.        Punitive Damages. ... Professional Consequences. Defendants’ acts were
14   intentional, malicious and oppressive, thereby entitling Plaintiffs to recover punitive
15   damages.
16       325.        As a direct and proximate result of the aforementioned conduct of
17   Defendants, Plaintiffs have suffered economical, psychological, emotional, and physical
18   damages.
19       326.        As a further direct and proximate result of the aforementioned conduct of
20   Defendants, Plaintiffs are obligated to retain legal counsel and to expend or incur liability
21   for costs of suit, attorney’s fees, and related expenses in an amount not yet fully
22   ascertained, but which will be submitted at time of trial for recovery by Plaintiffs.
                                                                                                     Formatted: Font: Bold
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                                                                                                     Formatted: Indent: Left: 0"
24   TWELFTH
25          THIRTEENTH CAUSE OF ACTION FOR DECLARATORY RELIEF
                            (Against All Defendants)
26                                                                                                   Formatted: Centered, Don't add space between paragraphs
                                                                                                     of the same style, Line spacing: single
27       327.        Plaintiffs re-allege and incorporate by reference all preceding paragraphs as
                                                                                                     Formatted: Indent: Left: 0", First line: 0.25"

28   though fully set forth herein.
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                     FIRSTSECOND AMENDED COMPLAINT FOR DAMAGES
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1                                          ALL DEFENDANTS                                             Formatted: Centered, Don't add space between paragraphs
                                                                                                      of the same style, Line spacing: single
2       361.1.       Plaintiffs re-allege and incorporate by reference all preceding paragraphs as
                                                                                                      Formatted: Indent: Left: 0", First line: 0.25"

3    though fully set forth herein.

4       328.         The Declaratory Judgement Act states that “[i]n a case of actual

5    controversy within its jurisdiction . . . any court of the United States . . . may declare the

6
     rights and other legal relations of any interested party seeking such declaration.” 28

7
     U.S.C. § 2201(a).

8
        362.         In order to award declaratory relief, the Court must first determine whether

9
              there is “a case of actual controversy.” Id.; see also Wickland Oil Terminals v.

10
              Asarco, Inc., 792 F.2d 887, 893 (9th Cir. 1986). This requirement is “identical to

11
              the Article III’s Constitutional Case or Controversy Requirement.” Am. States Ins.
              Co. v. Kearns, 15 F.3d 142, 143 (9th Cir. 1994) (citing Societe de                      Formatted: Font: Italic
12
              Conditionnement en Aluminum v. Hunter Eng’g Co., 655 F.2d 938, 942 (9th Cir.
13
              1981)). “[D]eclaratory relief is designed in a large part as a practical means of
14
              resolving controversies, so that parties can conform their conduct to the law and
15
              prevent future litigation.” Meyer v. Sprint Spectrum L.P., (2009) 45 Cal.4th 634,
16
              648.
17
        329.         Because standing “pertain[s] to a federal court’s subject-matter jurisdiction
18
     under Article III, [it is] properly raised in a motion to dismiss under Federal Rule of Civil
19
     Procedure 12(b)(1), not Rule 12(b)(6).” White v. Lee, 227 F.3d 1214, 1242 (9th Cir.
20
     2000).
21
        330.         A plaintiff has the burden of establishing the elements required for standing
22
     . . . .” Takhar v. Kessler, 76 F.3d 995, 1000 (9th Cir. 1996); see also In re Dynamic
23
     Random Access Memory (DRAM) Antitrust Litig., 546 F.3d 981, 984 (9th Cir. 2008)
24
     (“The party asserting jurisdiction bears the burden of establishing subject matter
25
     jurisdiction on a motion to dismiss for lack of subject matter jurisdiction.”). Rule
26
     12(b)(1) motions may challenge jurisdiction facially or factually. Safe Air for Everyone v.
27
     Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). “In a facial attack, the challenger asserts that
28
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     the allegations contained in a complaint are insufficient on their face to invoke federal
2    jurisdiction. By contrast, in a factual attack, the challenger disputes the truth of the
3    allegations that, by themselves, would otherwise invoke federal jurisdiction.” Id.
4       363.331. An actual controversy has arisen and now exists between Plaintiffs and             Formatted: List Paragraph, Indent: First line: 0.25", Don't
                                                                                                    add space between paragraphs of the same style,
                                                                                                    Widow/Orphan control, Tab stops: Not at 0"
5    Defendants concerning respective rights and duties under the provisions of Dependency
6    Court.Federal and State Laws.                                                                  Formatted: Font: Not Bold

7       364.       Plaintiff respectfully asks the court to adjudicate or make an opinion on this
8           Federal question of law: “Are the current juvenile dependency laws under
9           California state statutes unconstitutional?” [ See Troxel v. Granville (2000) 530
10          US 57, 147 L. Ed 2d 49, 120 S. Ct. 2054]
11      332.       In determining whether there is a case or controversy, the test is whether
12   the alleged facts demonstrate there is a substantial controversy between parties, with
13   adverse legal interests, of such immediacy and existence so to warrant a declaratory
14   judgment.
15      365.333. An actual LEGAL CONTROVERSYlegal controversay and DISPUTE                          Formatted: Indent: Left: 0", First line: 0.25", Don't add
                                                                                                    space between paragraphs of the same style
16   existsdispute exist between plaintiffs against the defendant, State of CaliforniaPlaintiffs
17   and Defendants as to the unconstitutionality conduct of Defendants, resulting in Plaintiff
18   MJR being arrested and her children detained and placed in the Foster Care System, away
19   from their family since July 31, 2019, more than three (3) years, without probable cause,
20   violating their right to Due Process, the Fourteenth Amendment of the Juvenile
21   Dependency Laws in CaliforniaUnited States Constitution, which reflect a VIOLATION
22   OF a PARENT’S RIGHT TO DUE PROCESS which entitle entitles a parent to bring up
23   his or her child without governmental interference.                                            Formatted: Font: 13 pt


24      334.       (1) Issue a declaratory judgment that arresting Plaintiff MJR and detaining
25   her children on July 31, 2019 was arbitrary and capricious, not in accordance with law,

26   and Defendants acted in excess of statutory authority; (2) Issue an order vacating and

27   setting aside all orders and judgment(s) against Plaintiff MJR and return her children

28   home forthwith; (3) Issue a declaratory judgment that all Defendants violated Plaintiff
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     MJR and her children’s United States Constitutional Rights, Due Process Clause; (4)
2    Issue an order enjoining Defendants to stop all prosecutory misconduct; otherwise,
3    unlawful conduct, against Plaintiffs and children.
4

5       366.       THIRTEENTHCalifornia statutes, Welfare and Institutions Codes §§ 300
6           et. seq. entitle a county, a county employee and social worker to “illegally search
7           and seize”, interrogate a child without being in the presence of his or her parent,
8           and without having the “right to have counsel present”, and without having the
9           right to retain counsel of choice, and subsequently allows a child to be detained as
10          if “incarcerated” for a crime duly committed without committing a crime, “without
11          having the right to bail”, and to be indefinitely “detained or incarcerated” in a
12          foster home or foster care facility “up until the age of 21”, and entitles the County
13          and Social Services to use the sole basis of “hearsay evidence” of a child, without
14          the parents having the right to confront and cross-examine the child, as a legal
15          grounds to TAKE A PARENT’S CHILD FROM THE PARENT’S CUSTODY
16          AND as a legal basis to terminate a parent’s parental rights. These Juvenile
17          Dependency laws are controversial because they violate the “parent’s right of
18          DUE PROCESS” in their right to bring up their children without governmental
19          interference.
20      367.       Additionally, another controversy arises, as to the County employees’ and
21          Social Workers’ motives and corrupt customs, policies and unethical practices, as
22          their intent is to JUSTIFY the entity for which employs them in the
23          INHERITANCE and AWARDS of government funds and allocation of federal tax
24          dollars to fund their corrupt system and secure their jobs.
25      368.       The abolishment or modification of these juvenile dependency laws and a

26          declaratory finding in this dispute and controversy could resolve the current state

27          budget deficit and re-allocate funds for areas that would better serve the best

28          interests of children in this state.
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1

2       FOURTEENTH CAUSE OF ACTION FOR TEMPORARY RESTRAINING                                       Formatted: Centered, Don't add space between paragraphs
                                                                                                   of the same style, Line spacing: single
3       ORDER, PRELIMINARY AND PERMANENT INJUNCTION Against ALL
                              DEFENDANTS
4                         (Against All Defendants)
                                                                                                   Formatted: Centered, Don't add space between paragraphs
5                                                                                                  of the same style, Line spacing: single
        335.       Plaintiffs re-allege and incorporate by reference all preceding paragraphs as
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6
     though fully set forth herein.
7
        336.       Injunctive relief is generally only granted in extreme circumstances. The
8
     party seeking a preliminary injunctive relief must demonstrate: (1) irreparable injury in
9
     the absence of such an order; (2) that the threatened injury to the moving party outweighs
10
     the harm to the opposing party resulting from the order; (3) that the injunction is not
11
     adverse to public interest; and (4) that the moving party has a substantial likelihood of
12
     success on the merits. In considering these factors, courts have been described to apply a
13
     "sliding scale" approach where the more likely a movant will succeed on the merits, the
14
     less irreparable harm (to the movant) needs to be shown in granting the injunction. There
15
     is no mathematical means of balancing these factors, therefore, the "sliding scale"
16
     approach is based on a court's intuitive judgement. It is worth noting that courts will not
17
     find irreparable harm where the damages sustained are calculable. New York has held
18
     that in such situations, monetary damages serve as an adequate remedy.
19
        337.       Pursuant to Federal Rules of Civil Procedure 65, (b)(3): …the motion for a
20
     preliminary injunction must be set for hearing at the earliest possible time, taking
21
     precedence over all other matters except hearings on older matters of the same character.
22
     At the hearing, the party who obtained the order must proceed with the motion; if the
23
     party does not, the court must dissolve the order.
24
        338.       Plaintiff MJR will be irreparably harmed if a Preliminary Injunction is not
25   issued, because her children was removed from her July 31, 2019 and placed in the Foster
26   Care System, away from family, for over three (3) years.
27

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        339.       A temporary injunction differs from a temporary restraining order, in terms
2    of the duration of the restraint granted by a trial court's interlocutory order. Unlike a
3    temporary restraining order, which is limited in duration, a temporary injunction is
4    effective for as long as the Plaintiffs’ cause of action remains pending and until final
5    judgment has been entered on the merits of Plaintiffs’ cause of action.
6       340.       Temporary injunctions, unlike temporary restraining orders, cannot be
7    founded simply upon sworn pleadings or affidavits, but require the presentation of
8    evidence. The standard for Temporary Injunction will be satisfied after hearing and
9    presentation of the evidence to the Court.
10      341.       The wrongful conduct of the above specified Defendants, unless restrained
11   and enjoined by an Order of the Court, will continue to cause great and irreparable harm
12   to Plaintiffs. Plaintiffs will not have their right to bring up their children without the
13   interference of the government. Plaintiffs have no other plain, speedy or adequate
14   remedy and the injunctive relief prayed for below is necessary and appropriate at this
15   time to prevent further irreparable damage to Plaintiffs.
16      342.       Plaintiffs have suffered and will continue to suffer in the future unless
17   Defendants’ wrongful conduct is restrained and enjoined and it is impossible for
18   Plaintiffs to determine an amount of damage that they have and will continue to suffer.
19      343.       Plaintiffs have alleged causes of actions against Defendants, as indicated in
20   their Verified Second Amended Complaint for Damages, herein, demonstrating a
21   probable right to relief and likelihood of success on the merits that Plaintiffs will suffer
22   imminent and irreparable harm without Court intervention.
23      344.       Accordingly, Plaintiffs request that the Court provide temporary injunctive
24   relief and a permanent injunction requiring Defendants and all others acting in concert
25   with to:

26              a) Stop, immediately, the current detention and placement of Plaintiff MJR’s

27                 minor children and return them to her forthwith;

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1
              b) operate the Foster Care System in accordance with the State and Federal
2                Laws in effect;
3             c) stop the Foster Care System Operators and affiliates from ignoring the
4                procedural and substantive Due Process Rights of parents, children, and
5                other relatives;
6             d) require the Foster System Operators to immediately and promptly provide
7                Juvenile Dependency Court Judges and birth parents with all exculpatory
8                evidence;
9             e) compel the Foster System Operators to refrain from using perjured
10               testimony in Juvenile Dependency Court proceedings and to notify the local
11               State Attorney of any perjured testimony that has been offered before the
12               Court;
13            f) Prohibit Foster System Operators from fabricating false reports in order to
14               try to disqualify relatives as caregivers;
15            g) require the Foster System Operators to immediately provide any relative
16               disqualified from serving as a relative caregiver the information needed to
17               correct the errors in the reports;
18            h) require Foster System Operators to promptly correct false statements in
19               home studies and to remove those whom they incorrectly listed on the
20               abuse registry, and never use again;
21            i) require all attorneys and social workers on behalf of the California Foster
22               Care System to submit an affidavit of personal knowledge certifying the
23               facts in each case with out-of-state relatives of children in State Foster
24               Care, to timely demonstrate California’s compliance, at the time of shelter
25               and the first hearing after a TPR judgment, with respect to the notice and

26               hearing requirements of California's Uniform Child Custody Jurisdiction

27               Enforcement Act; and

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                j) a Temporary Injunction be issued, after notice to Defendants and an
2                  evidentiary hearing, restraining Defendants from directly or indirectly
3                  engaging in any of the actions discussed above during the pendency of this
4                  case.
5

6       A. The Preliminary Injunction Should be Granted
7           345.   Traditional equitable considerations weigh in favor of granting the
8    preliminary injunction. The evidentiary record demonstrates that: Plaintiffs are likely to
9    succeed on the merits of the claim, Plaintiffs are likely to suffer irreparable harm in the
10   absence of preliminary injunctive relief, the balance of the equities tip in Plaintiffs’ favor,
11   and an injunction is in the public interest.
12          346.   In determining whether to grant a motion for a preliminary injunction,              Formatted: List Paragraph, Indent: First line: 0.5"

13   courts will generally consider the following equitable factors: (a) whether the moving
14   party is likely to succeed on the merits, (b) whether the moving party is likely to suffer
15   irreparable harm in the absence of preliminary relief, (c) whether the balance of equities
16   tips in the moving party’s favor, and (d) whether an injunction is in the public interest.
17   Winter v. Natural Res. Def. Council, Inc., 14 555 U.S. 7, 20 (2008).                              Formatted: Font: Bold, Underline


18                                                                                                     Formatted: Body Text First Indent 24, Don't add space
                                                                                                       between paragraphs of the same style
19      B. Preliminary Injunctive Relief is Necessary to
           Protect Against Further Irreparable Harm
20                                                                                                     Formatted: Underline

21          347.   The requested preliminary injunction is necessary to prevent irreparable            Formatted: List Paragraph, Left, Indent: First line: 0.5",
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22   harm during the pendency of the litigation. Without this relief, the court will be unable to
                                                                                                       Formatted: Indent: First line: 0.5"
23   render a meaningful judgment on the merits.
24

25      369.       Plaintiffs re-allege and incorporate by reference all preceding paragraphs as
26          though fully set forth herein.

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        370.        Beginning on or about Feb. 29, 2016, JERRY BROWN; PHILIP L.
2           BROWNING; COUNTY OF LOS ANGELES; Los Angeles Department of
3           Children and Family Services; Superior Court of California for the County of Los
4           Angeles; MARY THERESA MEZA; CARVIN HALL; SONIA VALIENTE took
5           plaintiff’s children from her possession and control without cause in violation of
6           Plaintiff’s due process right to bring up her children without governmental
7           interference.
8

9         A. PRELIMINARY INJUNCTIVE RELIEF IS NECESSARY TO PROTECT
10          AGAINST IRREPARABLE HARM                                                                Formatted: Underline

11
            371.1. The requested preliminary injunction is necessary to prevent irreparable         Formatted: List Paragraph, Left, Indent: First line: 0.5",
                                                                                                    Don't add space between paragraphs of the same style, Line
                                                                                                    spacing: single
     harm during the pendency of the litigation. Without this relief, the court will be unable to
12                                                                                                  Formatted: Indent: First line: 0.5"
     render a meaningful judgment on the merits.
13

14
        372.C.      The Court Has the Discretion to Grant Preliminary Injunctive Relief.            Formatted: Font: Not Italic, Underline
15
                                                                                                    Formatted: Font: Not Italic, Underline
            348.    Plaintiff’s motionPlaintiffs request for a preliminary injunction is properly   Formatted: Underline
16
     within the Court’s discretion. The preliminary relief requested is of the same character as    Formatted: Numbered + Level: 1 + Numbering Style: A, B,
17                                                                                                  C, … + Start at: 1 + Alignment: Left + Aligned at: 0.25" +
                                                                                                    Indent at: 0.5"
     the final relief sought in the complaint. The court has the discretion to issue the
18                                                                                                  Formatted: Indent: Left: 0", First line: 0.5", Numbered +
     preliminary injunction under Rule 65 of the Federal Rules of Civil Procedure. The              Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
19                                                                                                  Alignment: Left + Aligned at: 0" + Indent at: 0"
     injunctive relief requested does not exceed the court’s jurisdiction or conflict with any
20
     federal law.
21
            349.    Pursuant to Federal Rule of Civil Procedure 65, a federal court has the         Formatted: Indent: First line: 0.5"
22
     authority to issue a preliminary injunction in a case where it has jurisdiction. The court
23
     must have personal jurisdiction over the defendant as well as subject matter jurisdiction
24
     to issue the injunction. Enterprise Intern. v. Corporacion Estatal, 762 F.2d 464, 470 (5th     Formatted: Font: Italic
25
     Cir. 1985); Jones v. Cawley, 10-CV-712, at *2 (N.D.N.Y. June 21, 2010).
26

27

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1
        373.       The Court Has Discretion to Issue the Preliminary Injunction
2           1.     The court has the discretion to issue the preliminary injunction under Rule        Formatted: Indent: Left: 0", First line: 0.5", Numbered +
                                                                                                      Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
3                                                                                                     Alignment: Left + Aligned at: 0" + Indent at: 0"
     65 of the Federal Rules of Civil Procedure. The injunctive relief requested does not
4    exceed the court’s jurisdiction or conflict with any federal law.
5

6           374.1. Pursuant to Federal Rule of Civil Procedure 65, a federal court has the            Formatted: Indent: First line: 0.5"

7    authority to issue a preliminary injunction in a case where it has jurisdiction. The court
8    must have personal jurisdiction over the defendant as well as subject matter jurisdiction
9    to issue the injunction. Enterprise Intern. v. Corporacion Estatal, 762 F.2d 464, 470 (5th       Formatted: Font: Italic

10   Cir. 1985); Jones v. Cawley, 10-CV-712, at *2 (N.D.N.Y. June 21, 2010).
11

12      375.       The Court Has Discretion to Issue the Preliminary Injunction
13       The court has the authority to issue the preliminary injunction under Rule 65 of the
14       Federal Rules of Civil Procedure and state substantive law. The requested injunctive
15       relief does not exceed the court’s jurisdiction, and it is a proper remedy for Plaintiffs’
16       state law claims.
17          376.350.         For cases that are in federal court based on diversity jurisdiction, a   Formatted: Indent: First line: 0.5"


18   court will consider state law in determining the substantive legal issues associated with
19   the parties’ dispute and will apply federal procedural law to determine whether the
20   preliminary injunction should issue. Baker's Aid v. Hussmann Foodservice Co., 830 F.2d
21   13, 15 (2d Cir. 1987); System Operations, Inc. v. Scientific Games Development Corp.,
22   555 F.2d 1131, 1141 (3d Cir. 1977).
23          377.351.         The procedure for obtaining an injunction is governed by federal
24   law. Thus, if an issue pertaining to the preliminary injunction is procedural, federal law
25   controls and overrides any contrary state law. Southern Milk Sales, Inc. v. Martin, 924

26   F.2d 98, 102 (6th Cir. 1991) (holding that Rule 65 of the Federal Rules of Civil

27   Procedure controlled whether a preliminary injunction could issue and rejecting the

28   argument that state law should govern this issue in a diversity case); Curtis 1000, Inc. v.
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     Youngblade, 878 F. Supp. 1224, 1244 (N.D. Iowa 1995) (holding that federal procedure,
2    not state law, governed whether a preliminary injunction should issue).
3

4           Consolidation would Deprive
5

6

7       378.D. Plaintiffs of a Jury Trial onwill Experience Irreparable Harm in the                 Formatted: Font: Not Italic, Underline

8
           Merits Absence of the Preliminary Injunction                                             Formatted: Font: Not Italic, Underline
                                                                                                    Formatted: Add space between paragraphs of the same
                                                                                                    style, Line spacing: single, Numbered + Level: 1 +
9           1.      The evidentiary record establishes sufficient grounds for granting              Numbering Style: A, B, C, … + Start at: 1 + Alignment: Left +
                                                                                                    Aligned at: 0.25" + Indent at: 0.5"
10   PLAINTIFFS ‘requested preliminary injunction, andevidence demonstrates that Plaintiffs         Formatted: Font: Bold, Underline

11   can present any additional evidence requested by the Court at the hearing. However,            Formatted: Indent: Left: 0", First line: 0.5", Numbered +
                                                                                                    Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
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12   consolidating the hearing on the preliminary injunction with a trial on the merits would
13   be improper, as Plaintiffs have not waived its right to a jury trial.
14

15          379.1. A request for a preliminary injunction that could negate the court’s             Formatted: Indent: First line: 0.5"


16   authority to render a final judgment in the action may be handled by the court as a request
17   for permanent injunctive relief. In such a case, the court has the discretion to consolidate
18   a hearing on a motion for a preliminary injunction with a trial on the merits. Fed. R. Civ.
19   P. 65(a)(2).
20                                                                                                  Formatted: Indent: First line: 0.29"


21      380.        The preliminary injunction should be granted
22       Traditional equitable considerations weigh in favor of granting the preliminary
23       injunction. The evidentiary record demonstrates that: Plaintiffs are likely to succeed
24       on the merits of the claim, Plaintiffs are likely to suffer irreparable harm in the
25       absence of preliminary injunctive relief, the balance of the equities tips in the moving

26       party’s favor, and an injunction is in the public interest.

27

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1
            381.1. In determining whether to grant a motion for a preliminary injunction,         Formatted: List Paragraph, Indent: First line: 0.5"

2    courts will generally consider the following equitable factors: (a) whether the moving
3    party is likely to succeed on the merits, (b) whether the moving party is likely to suffer
4    irreparable harm in the absence of preliminary relief, (c) whether the balance of equities
5    tips in the moving party’s favor, and (d) whether an injunction is in the public interest.
6    Winter v. Natural Res. Def. Council, Inc., 14 555 U.S. 7, 20 (2008).                         Formatted: Font: Bold, Underline

7                                                                                                 Formatted: Body Text First Indent 24, Don't add space
                                                                                                  between paragraphs of the same style
8       382.       PLAINTIFFS will experience irreparable harm in the absence of the
9           preliminary injunction
10          352.   The evidence demonstrates that PLAINTIFFS cannot wait for relief from a        Formatted: Indent: Left: 0", First line: 0.5", Numbered +
                                                                                                  Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
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11   final judgment on the merits. The irreparable injury that PLAINTIFFSPlaintiffs would
12   suffer in the interim would render any final judgment a nullity, and money damages
13   would not be able to compensate Plaintiffs for that harm.
14

15          383.353.       An irreparable injury is an injury for which the court could not       Formatted: Indent: First line: 0.5"


16   compensate the movingPlaintiff if the movingPlaintiff prevailed in the final judgment.
17   Injuries that are generally not considered to be “irreparable” include lost income and
18   other economic losses that 1 are calculable and compensable by monetary damages. Di
19   Biase v. SPX Corp., 872 F.3d 224, 230 (4th Cir. 2017).
20

21             384.1.      An Adequate Remedy at Law is Unavailable for Plaintiffs’ Harms         Formatted: Font: Not Bold, Underline
                                                                                                  Formatted: Indent: Left: 0.75", First line: 0", Numbered +
22                      There is no adequate remedy at law for Plaintiffs’ harms. Any award of    Level: 4 + Numbering Style: 1, 2, 3, … + Start at: 1 +
                                                                                                  Alignment: Left + Aligned at: 2.25" + Indent at: 2.5"
23             damages would not fully compensate Plaintiffs for the harm caused by               Formatted: Indent: Left: 0.75", First line: 0.5"

24             DEFENDANTS’Defendants’ conduct.
25

26                      385.      An adequate remedy at law may be deemed unavailable if          Formatted: Indent: Left: 0.75", First line: 0.5", No bullets
                                                                                                  or numbering

27             legal redress may be obtained only by commencement of multiple actions, such

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                  as when the defendant repeatedly commits the allegedly harmful acts. Ecolab       Formatted: Font: Italic

2                 Inc. v. Paolo, 753 F. Supp. 1100, 1110 (E.D.N.Y. 1991).
3                        386.      Each day that the Defendants delay their compliance with
4                 controlling laws, the children and their Familiesfamilies are further damaged.
5                 There is no plain, adequate, or complete remedy at law, as the ordeals the
6                 Plaintiff FamiliesPlaintiffs and her family have encountered, as courthouse
7                 doors and case remain locked and case information showing the wrongful
8                 deeds of the Foster System remain hidden by the DEFENDANTS’Defendants’
9                 Foster System Operators.
10                                                                                                  Formatted: Indent: Left: 0.75", First line: 0.5"

11               387.2.    The Parties’ Relative Hardships Weigh in Favor of the Preliminary        Formatted: Font: Not Bold, Underline

                    Injunction                                                                      Formatted: Normal, Indent: Left: 0.75", Line spacing:
12                                                                                                  single, Numbered + Level: 4 + Numbering Style: 1, 2, 3, … +
           The evidence demonstrates that the hardship to PLAINTIFFSPlaintiffs from denying         Start at: 1 + Alignment: Left + Aligned at: 2.25" + Indent
13                                                                                                  at: 2.5"
     the
14
                         injunction would outweigh the hardship experienced by                      Formatted: Indent: Left: 0.75", First line: 0.5"

15
                  DEFENDANTSDefendants if the injunction were granted. The preliminary
16
                  injunction is therefore warranted by the parties’ relative hardships.
17

18
           388.      In deciding a motion for a preliminary injunction, the court will assess the
19
              relative
20
                         hardships faced by the parties. This assessment involves balancing the     Formatted: Indent: Left: 0.75", First line: 0.5"

21
                  injury faced by the moving party against the injury that would be sustained by
22
                  the opposing party if the injunction were granted. Winter v. Natural Res. Def.
23
                  Council, Inc., 555 U.S. 7, 24 (2008).
24

25         389.E. The Injunction Should Be Granted, as PLAINTIFFSPlaintiffs are                     Formatted: Font: Not Italic, Underline

26            Likely to Succeed on the Merits                                                       Formatted: Font: Not Italic, Underline
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27                                                                                                  same style, Line spacing: single, Numbered + Level: 1 +
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              354.   The evidence demonstrates that PLAINTFFSPlaintiffs are likely to succeed       Formatted: Indent: Left: 0", First line: 0.5", Numbered +
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2                                                                                                   Alignment: Left + Aligned at: 0" + Indent at: 0"
     on the merits of the underlying claims. At this stage, PLAINTIIFSPlaintiffs do not need
3    to demonstrate absolute certainty of success on its claims, but the evidence demonstrates
4    that PLAINTIFFSPlaintiffs have a strong likelihood of success.
5

6             390.355.     This factor weighs in favor of granting preliminary injunctive relief.   Formatted: Indent: First line: 0.5"

7    In determining whether to grant a motion for a preliminary injunction, a court must assess
8    the likelihood that the moving party will ultimately succeed on the merits. Munaf
9    v.Geren, 553 U.S. 674, 3 (2008) (holding that it is abuse of discretion to grant
10   preliminary injunction without considering merits of underlying claim).
11

12            391.356.     While the moving party must set forth evidence to support a              Formatted: Indent: First line: 0.5"

13   likelihood of success on the merits, this factor is not dispositive in determining whether
14   to grant injunctive relief. The moving party does not need to demonstrate an absolute
15   certainty of success in order to prevail. Wali v. Coughlin, 754 F.2d 1015, 1025 (2d Cir.
16   1985).
17                                                                                                  Formatted: Indent: First line: 0"


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19

20      F. Permanent Injunction Relief
21            357.   “As a general rule, a permanent injunction will be granted when liability
22   has been established and there is a threat of continuing violations.” MAI Sys. Corp. c.        Formatted: Font: Italic


23   Peak Computer, Inc., 991 F.2d 511, 520 (9th Cir. 1993).
24            358.   If Plaintiffs can demonstrate that they would be greatly harmed by the
25   Court’s failure to grant an injunction, then the determination of success on the merits

26   bears much less weight in the determination to grant an injunction. Robbins v. Superior

27   Court, 38 Cal. 3d 199 (1985)

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        G. Consolidation would Deprive Plaintiffs of a Jury Trial on the Merits
2           359.    The evidentiary record establishes sufficient grounds for granting Plaintiffs’   Formatted: Indent: Left: 0", First line: 0.5", Numbered +
                                                                                                     Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
3                                                                                                    Alignment: Left + Aligned at: 0" + Indent at: 0"
     requested preliminary injunction, and Plaintiffs can present any additional evidence
4    requested by the Court at the hearing. However, consolidating the hearing on the
5    preliminary injunction with a trial on the merits would be improper, as Plaintiffs have not
6    waived its right to a jury trial.
7           360.    A request for a preliminary injunction that could negate the court’s             Formatted: Indent: First line: 0.5"

8    authority to render a final judgment in the action may be handled by the court as a request
9    for permanent injunctive relief. In such a case, the court has the discretion to consolidate
10   a hearing on a motion for a preliminary injunction with a trial on the merits. Fed. R. Civ.
11   P. 65(a)(2).
12                                                                                                   Formatted: Indent: First line: 0.29"

13      392.H. Because the Statute Violates the First Amendment, the Injunction                      Formatted: Font: Not Italic, Underline

           Must be Granted.                                                                          Formatted: Line spacing: single, Numbered + Level: 1 +
14                                                                                                   Numbering Style: A, B, C, … + Start at: 1 + Alignment: Left +
           PLAINTIFFS                                                                                Aligned at: 0.25" + Indent at: 0.5"
15         361. Plaintiffs have demonstrated a strong likelihood of success on the merits of         Formatted: Indent: Left: 0", First line: 0.5", Numbered +
                                                                                                     Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
16   its First Amendment claims. Having made this showing, it is DEFENDANTSDefendants                Alignment: Left + Aligned at: 0" + Indent at: 0"

17   burden to demonstrate why an injunction should not issue. Because
18   DEFENDANTS.Defendants cannot justify the statute’sstatute infringement of First
19   Amendment rights, the Preliminary injunction must be granted.
20

21          393.362.        In a First Amendment caseIn Plaintiffs’ Second Amended                   Formatted: Indent: First line: 0.5"


22   Complaint, a showing of a substantial likelihood of success on the merits often also
23   establishes irreparable harm. Thus, a showing of substantial likelihood of success on the
24   merits can be the determining factor that warrants the issuance of a preliminary
25   injunction. Sindicato Puertorriqueño De Trabajadores v. Fortuño, 699 F.3d 1, 10 (1st            Formatted: Font: Italic


26   Cir. 2012); Phelps-Roper v. Nixon, 509 F.3d 480, 485 (8th Cir. 2007).

27

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            394.363.       When thea plaintiff alleges that a statute violates 1 the First        Formatted: Indent: First line: 0.5"

2    Amendment to the United States Constitution and seeks preliminary injunctive relief on
3    that ground, the burden shifts to the government to show why an injunction should not
4    issue. Specifically, the government must demonstrate that the plaintiff is unlikely to
5    succeed on the merits of the First Amendment claim because the statute is constitutional.
6    Ashcroft v. American Civil Liberties Union, 542 U.S. 656, 666 (2004) (government has
7    burden of proving constitutionality of content-based restrictions on speech).
8

9

10      395.I.      The Injunction is Narrowly Tailored to Remedy Specific Harms                  Formatted: Font: Not Italic, Underline
                                                                                                  Formatted: Numbered + Level: 1 + Numbering Style: A, B,
11                                                                                                C, … + Start at: 1 + Alignment: Left + Aligned at: 0.25" +
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12          364.    The requested preliminary injunction is narrowly tailored to enjoin only      Formatted: Indent: Left: 0", First line: 0.5", Numbered +
                                                                                                  Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
13   DEFENDANTSDefendants and to remedy only the specific harms established by                    Alignment: Left + Aligned at: 0" + Indent at: 0"

14   PLAINTIFFSPlaintiffs. It is therefore proper in scope and should be granted.
15

16      396.        A court will grant a preliminary injunction when necessary to protect civil
17          365.    rights. Clemons v. Board of Education of Hillsboro, 228 F.2d 853, 857 (6th    Formatted: Font: Italic
                                                                                                  Formatted: Indent: Left: 0", First line: 0.5", Numbered +
18   Cir. 1956) (injunction will issue to protect and preserve basic civil rights); Cent.         Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
                                                                                                  Alignment: Left + Aligned at: 0" + Indent at: 0"
19   Presbyterian Ch. v. Black Liberation Front, 303 F. Supp. 894, 901 (E.D. Mo. 1969)            Formatted: Font: Italic

20   (preliminary injunction granted to enjoin violation of civil rights laws guaranteeing
21   plaintiffs’ right to use their property for religious services).
22

23          397.366.       Irreparable injury may be presumed in cases involving certain          Formatted: Indent: First line: 0.5"


24   deprivations of civil rights, including deprivation of First Amendment rights. Elrod v.      Formatted: Font: Italic


25   Burns, 427 U.S. 47, 373 (1976).
26

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            398.367.        A court will find that the civil rights plaintiff hasPlaintiffs have     Formatted: Indent: First line: 0.5"

2    established a likelihood of success on the merits when the defendant’sDefendant’s
3    proposed actions will clearly violate constitutionally protected rights. Newsom v. Norris,      Formatted: Font: Italic

4    888 F.2d 371, 378 (6th Cir. 1989) (preliminary injunction was granted when plaintiffs
5    established First Amendment violations); American Federation of Government
6    Employees, Afl-1 Cio, Council 33 v. Meese, 688 F. Supp. 547, 548 (N.D. Cal. 1988)
7    (compulsory drug testing enjoined as violation of Fourth Amendment "unless and until"
8    plaintiff can show that such testing supersedes constitutional rights of employees).            Formatted: Font: Not Italic

9                                                                                                    Formatted: Font: Not Bold, No underline
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10      399.       Plaintiff Families further request the Court to provide temporary injunctive
11          relief and a permanent injunction requiring the Defendants to operate the foster care
12          system in accordance with the state and federal laws in effect and to stop ignoring
13          the procedural and substantive due process rights of Florida’s Children and their
14          Birth Parents and other relatives.
15

16      400.       The injunction must stop, immediately, the current detention and placement
17          of minor children. The injunction should compel Foster System Operators to refrain
18          from using perjured testimony in dependency proceedings and to notify the local
19          state attorney of any perjured testimony that is offered.
20

21      401.       Foster System Operators should be required to immediately and promptly
22          provide dependency judges and Birth Parents with potentially exculpatory evidence
23          not offered at trial.
24

25      402.       Foster System Operators should be prohibited from fabricating false reports

26          in order to try to disqualify relatives as caregivers, and the Foster System Operators

27          should be required to immediately provide any relative disqualified from serving as

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            a relative caregiver the information needed to correct the errors in the system-
2           fabricated reports.
3

4       403.       The injunction should require Foster System Operators to promptly correct
5           false statements in home studies, and to remove those whom they listed on the abuse
6           registry to remove the falsely labeled persons from the registry, and delete, and not
7           use again, the false statements, including those relating to Melody Rodgers.
8

9       404.       The injunction should require all attorneys social workers on behalf of the
10          California foster care system to submit an affidavit of personal knowledge certifying
11          the facts in each case with out-of-state relatives of children in state foster care, to
12          timely demonstrate California’s compliance, at the time of shelter and the first
13          hearing after a TPR judgment, with respect of the notice and hearing requirements
14          of California's Uniform Child Custody Jurisdiction Enforcement Act.
15

16   FIFTEENTH CAUSE OF ACTION FOR CONSPIRACY TO PARTICIPATE                                          Formatted: Underline


17      IN RACKETEERING; VIOLATION OF RICO ACT under 18 USC § 1962 [d]                                Formatted: List Paragraph, Centered, Don't add space
                                                                                                      between paragraphs of the same style, Line spacing: single
                                 Against ALL DEFENDANTS
18
         405.1. Plaintiffs re-allege and incorporate by reference all preceding paragraphs as         Formatted: Indent: Left: 0", First line: 0.25"

19
     though fully set forth herein.
20
        406.       On or about Feb. 29, 2016, defendants engaged in a conspiracy to violate
21
            RICO. This means that plaintiff allege that the defendants conspired to
22
     conduct or participate in the affairs of an enterprise through a pattern of
23
     racketeering activity and conspired to violated Plaintiff’s Civil Rights. See 42 USC §
24
     1985[3].
25      407.       As a result of the acts of defendants, plaintiff suffered damages in an
26          amount of $500,000.
27

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        408.       The circumstances of the violation consisted of the defendants filing of a
2          false Juvenile Dependency Petition, in contrary to legislature’s intent for enacting
3          the laws under Welfare and Institutions Codes § 300, et. seq., with the motive of
4          milking the federal government for Financial Support, based on the false premises
5          that the County and State needed funds to “protect” plaintiff’s minor children.
6       409.       Defendants have a pattern, custom and practice of filing false Juvenile
7          Dependency Petitions, or twisting the meaning of “failure to protect” or
8          “likelihood of emotional or physical harm” as the basis of defrauding the Federal
9          Government and Tax payers of millions of dollars.
10      410.       This custom and policy of Defendants is a violation of the RICO Act.
11         WHEREFORE, plaintiff prays judgment against defendant[s, and each of them,]
12   as follows:
13      411.       For actual damages in the amount of $500,000.00;
14      412.       Plaintiff demands that defendants stop their (threatened) conduct
15         defendants refusal, and resulting necessity for prompt judicial action to protect
16         plaintiff. On or about Feb. 29, 2016, Plaintiff demanded that JERRY BROWN;
17         PHILIP L. BROWNING; COUNTY OF LOS ANGELES; Los Angeles
18         Department of Children and Family Services; Superior Court of California for the
19         County of Los Angeles; MARY THERESA MEZA; CARVIN HALL; SONIA
20         VALIENTE stop their conduct. Defendants, and each of them, have refused and
21         still refuse to refrain from their threatened conduct.
22      413.       Defendants’ [threatened] wrongful conduct, unless and until enjoined and
23         restrained by order of this court, will cause great and irreparable injury to plaintiff.
24      414.       Plaintiff has no adequate remedy at law for the injuries of “threatened
25         forced eviction”.

26      415.       As a proximate result of defendants’ wrongful conduct, plaintiff’s health

27         has been damaged in the sum of “at least” $50,000. Plaintiff will be further

28         damaged in like manner so long as defendants’ conduct continues. The full
     ______________________________________________________________________________
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            amount of this damage is not now known to plaintiff, and plaintiff will amend this
2           complaint to state this amount when it becomes known or on proof of the
3           damages.
4

5

6

7                                             PRAYER
8    WHEREFORE, Plaintiffs pray for judgment against all Defendants, as to all causes of         Formatted: Left

9    action, as follows:
10          1.     A preliminary and permanent injunction against Defendants and its
11          directors, officers, agents, employees and representatives and in and all persons
12          acting in concert with them from engaging in each of the unfair, unlawful, and
13          fraudulent business practices set forth herein;
14          2.     AInjunctive relief, both preliminary and permanent, as allowed by law,
15          (including preliminary injunctive relief to be based upon a separate application);
16          2.3.   A declaratory judgment that the practices complained of in this Complaint     Formatted: Left


17          are unlawful and violate 42 U.S.C. 1988;
18          3.4.   Plaintiff suffered damages as a result of the Violations of Civil Rights by
19          Defendants in the amount of $500,00.00 $1,000,000.                                   Formatted: Strikethrough
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20          4.5.   Plaintiffs pray for a judgment in the amount of $500,000.00 $1000,000.00      Formatted: Strikethrough

21          against each defendantDefendant for this cause of action;                            Formatted: Underline, Font color: Red
                                                                                                 Formatted: Font color: Red
22          5.6.   Plaintiffs suffered damages as a result of the Conspiracy Aagainst            Formatted: Strikethrough

23          Plaintiff’s Rights by Defendants in the amount of $5,000.000.00 $1,000,000.00.       Formatted: Left
                                                                                                 Formatted: Strikethrough
24          6.7.   General damages in the amount of $500,000.00 to be proven for all other
                                                                                                 Formatted: Underline, Font color: Red

25          damages deemed appropriate by the courts and as allowed by statute;                  Formatted: Strikethrough
                                                                                                 Formatted: Underline, Font color: Red
26          8.     Special damages according to proof;
                                                                                                 Formatted: Font color: Red

27          7.9.   Plaintiff demands a jury trial as to the issues so triable;

28          8.1.   Special damages according to proof;
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           9.10. AsPunitive damages as allowed by law, as against only the individual
2          defendantsDefendants and not any municipality, a total of $8,000,000.00;             Formatted: Underline, Font color: Red

3          10.11. Attorneys fees pursuant to 42 U.S.C. § 1988, and any other appropriate
4          statute;
5          11.    Injunctive relief, both preliminary and permanent, as allowed by law,
6          (including preliminary injunctive relief to be based upon a separate application);
7          12.    Costs of suit incurred herein; and                                            Formatted: Left

8          13.    Such other and further relief as the Court deems proper.
9

10   Plaintiff hereby DEMAND FOR JURY TRIAL.
11

12   DATED: July 25, June 15, 2023                     THE LAW OFFICES OF ANGELA                Formatted: Font color: Red

                                                       SWAN, APC
13

14

15
                                                       By:
16                                                           Angela Swan,
17                                                           Attorney for PlaintiffPlaintiffs
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2                                        VERIFICATION
3           I am the Plaintiff in this action. I have read the foregoing VERIFIED SECOND

4    AMENDED CIVIL COMPLAINT FOR DAMAGES, and it is true of my own

5    knowledge, except as to those matters stated on information or belief, and as to those

6
     matters, I believe it to be true.

7
            I declare under penalty of perjury under the laws of the State of California that the

8
     foregoing is true and correct.

9

10
     Executed on ___June 15, 2023, 2023 at Torrance, California.                                    Formatted: Underline, Font color: Red


11

12
                                               BY:__/s/Melody J. Rodgers____________
13
                                               MELODY J. RODGERS, Plaintiff
14

15
                                               BY:__/s/Judy G. Rodgers______________
16                                             JUDY G. RODGERS, Plaintiff
17

18                                             BY:__/s/Lucille D. Gay_______________
                                               LUCILLE D. GAY, Plaintiff
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